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                   IN THE UNITED STATES DISTRICT COURT

                   FOR THE CENTRAL DISTRICT OF ILLINOIS

                              PEORIA DIVISION



ASHOOR RASHO et al.,                        )
                                            )       No. 1:07-CV-1298-MMM-JEH
     Plaintiffs,                            )
                                            )
                                            )       Judge Michael M. Mihm
     vs.                                    )
                                            )       Magistrate Judge Jonathan E.
                                            )       Hawley
DIRECTOR JOHN R. BALDWIN, et al.,           )
                                            )
     Defendants                             )




            MIDYEAR REPORT OF MONITOR PABLO STEWART, MD
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BACKGROUND

        IDOC: IDOC consists of 29 adult correctional facilities. Among these are four maximum
security facilities (including a facility for women), and two additional facilities for women. Four
of the facilities have Reception and Classification units where inmates are received into IDOC.
Three of the facilities, Logan, Joliet and Dixon, have Residential Treatment Units. The Joliet
Treatment Center began receiving offenders on October 4, 2017 and as of November 24, 2018 has
a census of 106. The Amended Settlement Agreement states that the Joliet Treatment Center’s
census should be “at least 360”1 as of October 6, 2018. The RTU at Pontiac is not operating as of
the submission of this report. The Amended Settlement Agreement states that the RTU at Pontiac
is to open no later than July 6, 2018 with a census of 1692. All facilities have crisis care beds as
well as having some form of segregation, including administrative detention, disciplinary
segregation, and investigative status.

       Settlement: The original Settlement Agreement was filed with the Court on January 21,
2016. The Amended Settlement Agreement (“Settlement”) was approved May 23, 2016. It covers
a range of practices affecting inmates with mental illness or serious mental illness:

                •   Policies and procedures
                •   Intake screening
                •   Medication continuity on arrival
                •   Referrals
                •   Mental health evaluations
                •   Crisis Intervention Team
                •   Licensure
                •   Inmate orientation
                •   Treatment plans and updates
                •   Psychiatric evaluations
                •   Follow-up after discharge from specialized treatment settings
                •   Staffing plans and hiring
                •   Bed, programming, and office space for residential treatment units, inpatient
                    facilities, and crisis beds
                •   Administrative staffing
                •   Medication administration, documentation, evaluations, lab work, side effects
                    monitoring, informed consent, non-compliance follow-up
                •   Enforced medication
                •   Housing assignment notice and recommendations
                •   Treatment, housing conditions, and out-of-cell time in segregation and
                    investigative status
                •   Review of segregation terms length
                •   Suicide prevention
                •   Restraints for mental health purposes
                •   Mental health care records and forms

1
    Amended Settlement Agreement, page 12, section X(b)ii(C).
2
    Id page 12, section X(b)ii(B)


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               •   Confidentiality
               •   Change of Seriously Mentally Ill designation
               •   Staff training
               •   Nondiscrimination in program participation
               •   Records and medication continuity on inter-facility transfers
               •   Use of force and verbal abuse
               •   Mental health input into discipline
               •   Continuous quality improvement
               •   Terms of monitoring this Settlement
               •   IDOC reporting

        Deadlines: Deadlines in the Settlement range from immediate to the year 2020; this report
calculates many deadlines from the Amended Settlement Agreement approval date of May 23,
2016. A number of deadlines on critical issues were contingent upon, and calculated from, the state
budget approval date of July 6, 2017. The team reviewed each provision of the Settlement per the
specific deadlines identified in the Settlement. Of note, there are many provisions for which the
deadline is “as agreed upon” between the parties but for which the monitoring team did not receive
a schedule of specific agreed-upon dates. For these particular issues, the assigned compliance
ratings reflect the current status of the issues.

        The following table lists the requirements in order of their deadlines to be accomplished.
Of the 38 items with deadlines on or before November 22, 2018, 22 have reached Substantial
Compliance. Ratings are also indicated for those items to be accomplished “in a reasonable time,”
in the event that it is determined that a reasonable time is now at hand. A more detailed summary
of the compliance status of all Settlement Agreement provisions can be found in the body of the
report.


    Amended Settlement Agreement provision                               Timeline      Substantial
                                                                                       Compliance?

    Crisis Beds are to be outside Control Units (except                  May 2016      No
    Pontiac)
    Regional Director hires                                              June 2016     Yes
    State employee at each facility to supervise State clinical          June 2016     No
    staff, monitor and approve vendor staff
    Architectural plans to Monitor                                       July 2016     Yes
    12 Mental Health Forms in use                                        July 2016     Yes
    Treating mental health professionals3 disclose                       July 2016     Yes
    information to patient
    Medical Records and medication transferred with patient              August 2016   No
    Intergovernmental Agreement with Department of Health                August 2016   Yes
    Services


3
    Referred to throughout the Settlement Agreement and this report as MHP


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Medication delivery, recording, side effects monitoring,      August 2016         Not
lab work, patient informed, non-compliance follow-up                              consistently
Propose any amendment to Staffing Plan                        August 2016         No finding
Any objections to proposed amended Staffing Plan              October 2016        No finding
All policies/procedures/ADs specified in Settlement           November 2016       No
Agreement – drafts to Plaintiffs and Monitor                  (unless otherwise
                                                              specified)
Confidentiality: records, mental health information,          November 2016       No
policies and training
Behavior Treatment Program pilot                              November 2016       No
Quality Improvement Manager hire                              February 2017       Yes
Review Committees for SMI Disciplinary Segregation            February 2017       Yes
terms
Mentally ill Control Unit residents >60 days receive 8        May 2016-May        No
hours out of cell time weekly                                 2017
Inmate Orientation policy and procedure                       May 2017            Yes
Crisis beds at Pontiac moved to protective custody            May 2017            No
Suicide Prevention measures                                   May 2017            No
Physical Restraints measures                                  May 2017            Yes
Staff Training plan and program developed                     May 2017            Yes
Discipline: policies related to self-injury                   May 2017            No
Mental health staff Training plan and program developed       May 2017            Yes
Transfers: consults and notification                          May 2017            No
Mentally ill Control Unit residents >60 days receive 12       May 2017-May        Not
hours out of cell time weekly                                 2018                consistently
Staffing: quarterly hiring reports, meeting targets           Quarterly from      No
                                                              October 2017 on
Mental health referrals and evaluations                       November 2017       No
Staffing to run RTU at Joliet                                 November 2017       No
Central office staff hires for policies and recordkeeping     November 2017       No
RTU Programming and Office Space                              January 2018        No
Staffing hires – Dixon, Pontiac, Logan                        January-July        No
                                                              2018
RTU Bed Space                                                 January-October     No
                                                              2018
Inpatient Bed Space construction                              January-            Yes
                                                              November 2018
Screening conducted with sound privacy                        May 2018            Yes
Training for all State and vendor staff with inmate contact   May 2018            Yes
Mentally ill Control Unit residents >60 days receive 16       June 2018-May       No
hours out of cell time weekly                                 2019
MHP review within 48 hours after Investigative                July 2018           No
Status/Temporary Confinement placement
Inpatient Facility – transfer ownership and expand,           November 2018       No
policies


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 Mentally ill Control Unit residents >60 days receive 20        June 2019-May        Target date
 hours out of cell time weekly                                  2020                 has not
                                                                                     arrived
 Segregation and Temporary Confinement for mentally ill:        May 2020             Target date
 housing decisions, MHP review, treatment and out-of-cell                            has not
 requirements                                                                        arrived
 Develop plans for inpatient care that can be implemented       After IGA is         Yes
 after necessary appropriations                                 signed
 Screening on arrival at reception                              Reasonable time      Yes
 Psychotropic medications continued on arrival, reviewed,       Reasonable time      Not
 and related documentation                                                           consistently
 Inmate Orientation                                             Reasonable time      Yes
 Treatment Plans                                                Reasonable time      No
 Psychiatry Review frequency                                    Reasonable time      No
 Follow-up after Specialized Treatment Settings                 Reasonable time      No
 Enforced Medication                                            Reasonable time      Yes
 SMI Housing Assignment information and consultation            Reasonable time      Yes
 Change of SMI designation only by treatment team (or           Reasonable time      Yes
 treating MHP before teams are operating)
 Mental illness does not prevent access to prison programs      Reasonable time      No finding
 Use of Force and Verbal Abuse                                  Reasonable time      Some
                                                                                     institutions
 Discipline system conforms to AD 05.12.103                     Reasonable time      No
 Discipline in RTU or inpatient is carried out in a mental      Reasonable time      Yes
 health treatment context
 Quality Improvement Program implemented                        Reasonable time      Yes



METHODOLOGY / MONITORING ACTIVITIES

      This report was prepared and submitted by Pablo Stewart, MD, Virginia Morrison, JD,
Reena Kapoor, MD, and Miranda Gibson, MA.

        To accomplish the monitoring obligations, the monitoring team sought information in a
variety of ways. The monitoring team conducted 18 site visits of 14 different IDOC facilities,
where interviews of administrators, staff, and offenders were conducted. While on site, the
monitoring team would meet with the administrative and clinical leadership of the facility and then
tour the facility. The tour would include observing general population units, segregated housing
units, crisis care units, infirmary areas including medical records and restraint rooms, working
spaces for the clinical staff, group therapy areas (if present), as well as any other area associated
with the provision of mental health services. The monitoring team also toured the Residential
Treatment Units at Logan and Joliet. The Monitor personally inspected the Mental Health Unit at
Pontiac on four separate occasions.




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        During the monitoring period, the Monitor was called as a witness by counsel for the
plaintiffs during an Evidentiary Hearing before Judge Mihm and testified on August 30, 2018. The
Court had issued a Temporary Injunction on May 25, 2018 regarding the provision of mental health
care in the following five areas: Mental Health Crisis Watch, Control Unit Housing, Psychotropic
Medication, Psychiatric Services and Treatment Plans. The Monitoring Team made a concerted
effort to focus on these issues prior to the Evidentiary Hearing and to prepare a separate report
detailing its findings. In fact, the Monitoring Team made 11 facility visits consisting of a total of
15 days between June 12 and August 8, 2018. On October 30, 2018, the Court issued a Permanent
Injunction regarding the following areas: Medication Management, Mental Health Treatment in
Segregation, Mental Health Treatment on Crisis Watch, Mental Health Evaluations and Mental
Health Treatment Plans. The Department was further ordered to submit to the Court an action
proposal to address these deficiencies.

        During the course of the most recent Evidentiary Hearing, the Monitor observed the
testimony of the Director, the Chiefs of Mental Health & Psychiatry, Amy Mercer-Elaine Gedman-
William Elliot from Wexford Health, Stateville Mental Health Authority Dr. Mirsky and Jack Yen,
M.D., Telepsychiatrist. Various aspects of their testimonies will be referenced in this midyear
report. The Monitor also met with counsel for the plaintiffs on several occasions. The Monitor
received and considered reports prepared by counsel for the plaintiffs regarding IDOC’s response
to the Settlement Agreement, as well as receiving and considering reports prepared by counsel for
the defendants. The Monitor personally reviewed numerous court filings by various class members
as well as attempting to interview these individuals. Of note, over the course of the monitoring
period, the various members of the monitoring team interviewed and reviewed the medical records
of several hundred offenders. This number of offenders evaluated represents a sufficiently robust
sample of the mental health population of the IDOC. Therefore, the opinions presented in this
monitoring report are based on a substantial-sized clinical sample of offenders.

        In advance of the site visits, a variety of materials were requested. These materials included
policies, procedures, training materials, a variety of clinical data, internal audits and reports,
inmate grievances, incident reports, various logs, and other materials. IDOC was responsive to the
requests of the Monitoring Team. The Monitoring Team has made every effort to include the most
up to date data in this report.

       Monitoring began immediately following the submission of the Second Annual Report on
May 27, 2018. The monitoring team, once again, was purposefully kept small in consideration of
the budgetary issues facing Illinois in general and IDOC in particular. The rates of compensation
were also purposely kept in the lower range.

       The monitoring team made the following site visits during the current reporting period:

   Centralia              Graham                    Illinois River           Joliet

   7/20 Dr. Stewart       7/16-7/17                 7/23 Dr. Kapoor          10/22 Dr. Kapoor
   and Ms. Gibson         Ms. Morrison

   Lawrence               Logan                     Menard                   Pinckneyville



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    7/19 Dr. Stewart           6/27 Dr. Stewart and          6/25 and 10/17                10/16 Dr. Stewart
    and Ms. Gibson             Ms. Gibson                    Dr. Stewart and Ms.           and Ms. Gibson
                                                             Gibson
    Shawnee                    Stateville                    Vienna                        Western

    7/23 Ms. Gibson            6/25-6/26 (proper)            8/6-8/8                       7/18-7/20
                               Dr. Kapoor                    Ms. Morrison                  Ms. Morrison

                          10/11-10/12 (NRC)
                          Ms. Morrison
                                          Pontiac
            6/26 and 10/18 Dr. Stewart 6/12, 9/11, 9/12 Dr. Stewart and Ms. Gibson



EXECUTIVE SUMMARY

        As noted above, there has been a tremendous amount of litigation during this reporting
period. The Monitoring Team found that IDOC was not meeting the requirements of the Court’s
Preliminary Injunction of May 25, 2018. The findings of the Monitoring Team regarding these
areas will be provided in the appropriate subsections of this report. The findings of the Monitoring
Team regarding other areas of the Amended Settlement Agreement will also be detailed below. I
refer the reader to the various subsections of this report for a comprehensive description of IDOC
progress, or lack thereof, towards achieving compliance with the requirements of the Amended
Settlement Agreement.

        The Department is critically understaffed. This includes both clinical an custody staff. This
lack of staff is the main contributing factor to the poor quality of the mental health care4 provided
to the mentally ill offenders within IDOC. There are isolated areas of the mental health care system
that are better than others, such as the Joliet Treatment Center (JTC), the STC at Dixon and the
trauma-informed/gender specific treatment programs at Logan. Although the quality of the care
provided at JTC generally meets the requirements of the Amended Settlement Agreement, the
census of this unit is well under a third of what is currently required. That is, the census as of
November 24th is 106 and not the 360 that is required. In discussions with IDOC leadership why
the census at the JTC is so low, the response is that the staff of JTC needs “protection” (from
having to take on a larger census) or words to that effect. I suspect the actual reason is a lack of
staff. This unacceptably low census at the JTC coupled with a male census of only 10 at Elgin and
the absence of a functional RTU at Pontiac result in the various facilities including, but not limited
to, Menard, Pontiac, Pinckneyville, and Stateville Proper having to house and attempt to treat
exceedingly mentally ill offenders at their facilities. The treatment needs of this particular group
of mentally ill offenders surpass what can be safely provided at these facilities. This is an
exceptionally dangerous situation which puts staff and offenders at life-threatening risk. The
Monitor shared this same concern with the Director on June 26, 2017. The fact that the census at
the JTC is only 106, almost 18 months after my discussion with the Director, is emblematic of the

4
  I use this term to encompass the entirety of services provided to the mentally ill offenders currently housed in
IDOC.


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difficulties that IDOC has had in meeting its responsibilities under the Amended Settlement
Agreement.

         The fact that IDOC is currently capable of only providing a small cohort of seriously
mentally ill offenders with the care they require has a ripple effect throughout the Department.
That is, it contributes to self-injurious behaviors, staff assaults, use of force incidents,
administration of involuntary medication, restraint use and excessively long stays in Crisis where
mentally ill offenders do not receive adequate emergency care. Also, the Monitoring Team has
found that these seriously mentally ill offenders are often just left unattended in segregated housing
units, where they are allowed to “refuse” to participate in out-of-cell activities.5 The net result of
all of this is that the Department, by not providing an appropriate level of care to a large number
of seriously mentally ill offenders, is creating a large cohort of offenders with worsening mental
health symptoms and acting out behaviors. That is, the Department is creating its own problems
which it is currently incapable of addressing. This downward spiral can only be addressed by a
large infusion of clinical and custody staff, the opening of the RTU at Pontiac and bringing JTC
and Elgin up to full capacity.

        Finally, as noted above, the Department demonstrates an inability to provide the majority
of seriously mentally ill offenders an appropriate level of mental health care. That is, seriously
mentally ill offenders are routinely held at facilities that lack the ability to adequately care for
them. The Monitor has regularly observed that this situation contributes to an “us versus them”
mentality. The “us” being custody staff, and at times the mental health staff, and the “them” being
the seriously mentally ill offenders. This phenomenon is most readily observable at Pontiac.
Throughout the first 2 ½ years of the Amended Settlement Agreement, Pontiac has consistently
led the Department in use of force incidents, restraint use, crisis stays and court filings
documenting the regular physical abuse of mentally ill offenders. The Monitor has personally
observed this throughout his tenure.

        As Monitor, I have gained a much deeper appreciation for some of the underlying reasons
for the culture of abuse and retaliation that exists at Pontiac. This appreciation includes the fact
that the custody staff at Pontiac work in a very stressful environment. This constant stress leads to
custody staff suffering from vicarious and secondary trauma.6 These medically recognized
conditions result in acting out behavior on the part of the custody officer toward the offenders as
well as contributing to health, marital and substance-related problems. This appreciation, however,
does not excuse the culture of abuse and retaliation that exists at Pontiac. During the reporting
period, I have had several communications with Chief Lindsay regarding this issue. She has
repeatedly stated that “the Department takes allegations of abuse seriously.” I sincerely believe
that her statement accurately reflects her earnest viewpoint. I firmly believe, however, that Chief
Lindsay and other high ranking Departmental Officials7 do not possess an accurate grasp of the
depth of the culture of abuse and retaliation that currently exists at Pontiac. The current leadership

5
  An Administrative Review was completed by Jamie Chess, Psy.D. on 9/20/18 of a suicide that occurred at Dixon
during the reporting period. Dr. Chess noted “While the offender routinely refused programming, he may have
decided to participate if more diverse programming was offered.”
6
  It remains my recommendation that the staff at Pontiac receive treatment directed at their trauma-related disorders.
7
  Director Baldwin testified at the most recent Evidentiary Hearing “I disagree without reservation of his (Dr.
Stewart’s) opinion of Pontiac. I thought that was inappropriate.” Transcript of the testimony of John Baldwin,
August 27, 2018, page 112, lines 12 &13.


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at Pontiac, including the Deputy Director of the Central District, have not been able to correct this
situation. This situation cannot be solved until such time as Department Leadership admits that
there is a problem. This starts with Director Baldwin. I am available at any time to meet with the
Director to discuss this issue. I also respectfully invite Director Baldwin to tour Pontiac with me
so he can observe this situation from my perspective.

        Unless this situation is addressed in an expeditious manner, there will continue to exist a
considerable risk of serious injury and death to both mentally ill offenders and staff at Pontiac and
other facilities. This includes all facilities that are forced to maintain mentally ill offenders whose
treatment needs exceed that which can be safely provided.

A summary of compliance findings follows:


 Requirement                                                 Compliance Status

 IV: INITIAL (INTAKE) MENTAL HEALTH                          Overall: Substantial compliance
 SERVICES: SCREENING                                         Subfindings supporting overall
                                                             finding:

    (IV)(a), (b),                                            Substantial compliance
    (c),                                                     No rating
    (d), (e)                                                 Substantial compliance
    (IV)(f)                                                  Non-compliant
    (IV)(g)                                                  Non-compliant

                                                             Overall: Non-compliant
 V: MENTAL HEALTH EVALUATION AND                             Subfindings supporting overall
 REFERRALS                                                   finding:
     (V)(a)                                                  Non-compliant
    (V)(b), (c)                                              Substantial compliance
    (V)(d)                                                   No rating
    (V)(e)                                                   Substantial compliance
    (V)(f), (g)                                              Non-compliant
    (V)(h), (i)                                              Substantial compliance
    (V)(j)                                                   Non-compliant


 VI: MENTAL HEALTH SERVICES                                  Overall: Substantial compliance
 ORIENTATION                                                 Subfindings supporting overall
                                                             finding:
    (VI)(a), (b)                                             Substantial compliance


 VII: TREATMENT PLAN AND CONTINUING                          Overall: Non-compliance
 REVIEW                                                      Subfindings supporting overall
                                                             finding:


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Requirement                                   Compliance Status
    (VII)(a), (b), (c), (d)                   Non-compliance
(e)                                           Substantial compliance


VIII: TRANSITION FROM SPECIALIZED             Overall: No rating
TREATMENT SETTINGS                            Subfindings supporting overall
                                              finding:
   (VIII)(a), (b)(i), (b)(ii)                 No rating


IX: ADDITIONAL MENTAL HEALTH STAFF            Overall: Non-compliance
                                              Subfindings supporting overall
                                              finding:
   (IX)(a), (b)                               Non-compliance
   (IX)(c)                                    No rating
   (IX)(d), (e)                               Substantial compliance
   (IX)(f)                                    No rating



X: BED/TREATMENT SPACE                        Overall: Non-compliance
                                              Subfindings supporting overall
                                              finding:
   (X)(a)                                     Substantial compliance
   (X)(b)(i), (ii)                            Non-compliance
   (X)(c)(i), (ii)                            Non-compliance
   (X)(d), (e), (f), (g)                      Non-compliance
   (X)(h)                                     Target date not arrived
   (X)(i)                                     Substantial compliance


XI: ADMINISTRATIVE STAFFING                   Overall: Non compliance
                                              Subfindings supporting overall
                                              finding:

   (XI)(a), (b)                               Substantial compliance
   (XI)(c),                                   Non compliance
   (XI)(d)                                    Substantial compliance


XII: MEDICATION                               Overall: Non-compliance
                                              Subfindings supporting overall
                                              finding:
   (XII)(a)                                   Substantial compliance
   (XII)(b)                                   Non-compliance


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Requirement                                                  Compliance Status
   (XII)(c)(i), (ii), (iii), (iv)                            Non-compliance
(v), (vi)                                                    Substantial compliance

XIII: OFFENDER ENFORCED MEDICATION                           Finding: Previous findings of
                                                             substantial compliance remain for 15
                                                             institutions
                                                             No finding for 14 institutions

XIV: HOUSING ASSIGNMENTS                                     Overall: Substantial compliance
                                                             Subfindings supporting overall
                                                             finding:
   (XIV)(a), (b), (c)                                        Substantial compliance

XV: SEGREGATION                                              Overall: Non-compliance
                                                             Subfindings supporting overall
                                                             finding:
   (XV)(a)(i)                                                Substantial compliance
   (XV)(a)(ii),(iii),(iv),(v),(vi), (vi)(sic)                Non-compliance
   (XV)(a)(vii)                                              Substantial compliance
   (XV)(b)(i),(ii), (iii), (iv) (v), (vi)                    Substantial compliance
   (XV)(c)(i), (ii), (iii), (iv)                             Non-compliance
   (XV)(c)(v)                                                Substantial compliance
   (XV)(c)(sic)                                              Noncompliance
   (XV)(d)                                                   Target date not arrived


XVI: SUICIDE PREVENTION                                      Overall: Non-compliance
                                                             Subfindings supporting overall
                                                             finding:
   (XVI)(a), (b)                                             Non-compliance


XVII: PHYSICAL RESTRAINTS FOR MENTAL                         Overall: No rating
HEALTH PURPOSES                                              Subfindings supporting overall
                                                             finding:

   (XVII)(a)                                                 Insufficient data to arrive at a rating
   (XVII)(b),(c)                                             Substantial compliance
   (XVII)(d)                                                 No rating


XVIII: MEDICAL RECORDS                                       Overall: Non-compliance
                                                             Subfindings supporting overall
                                                             finding:
   (XVIII)(a)                                                Non-compliance


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Requirement                                  Compliance Status
  (XVIII)(b)                                 No rating


XIX: CONFIDENTIALITY                         Overall: Non-compliance
                                             Subfindings supporting overall
                                             finding:
  (XIX)(a)                                   No rating
  (XIX)(b)                                   Non-compliance
  (XIX)(c),(d)                               Non-compliance

                                             Finding: Substantial compliance
XX: CHANGE OF SMI DESIGNATION

XXI: STAFF TRAINING                          Overall: Substantial compliance
                                             Subfindings supporting overall
                                             finding:
  (XXI)(a), (b), (c)                         Substantial compliance


XXII: PARTICIPATION IN PRISON                Finding: Substantial compliance
PROGRAMS



XXIII: TRANSFER OF SERIOUSLY                 Overall: No rating
MENTALLY ILL OFFENDERS FROM                  Subfindings supporting overall
FACILITY TO FACILITY                         finding:
  (XXIII)(a), (b), (c)                       No rating

XXIV: USE OF FORCE AND VERBAL ABUSE          Finding: Non-compliance



XXV: DISCIPLINE OF SERIOUSLY                 Overall: Non-compliance
MENTALLY ILL OFFENDERS                       Subfindings supporting overall
                                             finding:

  (XXV)(a),(b)                               Non-compliance
  (XXV)(c)                                   Substantial compliance
  (XXV)(d)                                   Non-compliance


XXVI: CONTINUOUS QUALITY                     Overall: Substantial compliance
IMPROVEMENT PROGRAM                          Subfindings supporting overall
                                             finding:
   (XXVI)(a), (b)                            Substantial compliance


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 Requirement                                               Compliance Status


 XXVII: MONITORING                                         Finding: Non-compliance



 XXVIII: REPORTING AND RECORDKEEPING                       Finding: Substantial compliance




DETAILED FINDINGS

       This Section details the Monitor’s findings for each provision of the Settlement.

       Overall structure: This Section is organized along the same structure as the Settlement;
each major section below corresponds with a substantive section of the Settlement. That said, the
Settlement includes provisions that appear multiple times across different sections. The Monitor
attempts in this report to address each substantive requirement in that section of the Settlement
where it appears.

        Compliance with specific provisions of policies or law incorporated by reference:
Unlike the Settlement itself, the report lays out the specific provisions of the various
Administrative Directives (“ADs”), administrative code (“Code”), or the Mental Health Standard
Operating Protocol Manual (“Manual” or “SOP Manual”) that are incorporated by reference in the
Settlement. This significantly lengthens the report, but it is critical that the monitoring team
evaluates these substantive requirements, especially given that many of them are central to
providing the kind of treatment, out-of-cell opportunities, conditions, and protection from harm
contemplated in the Settlement. For example, it is in the ADs and the Manual that one finds
detailed requirements on suicide prevention, including crisis placement, crisis intervention teams,
and suicide reviews. However, the team will apply the compliance/non-compliance rating only to
the provision of the Settlement, not to individual provisions of ADs or the Manual or Code
incorporated by reference. In this way, IDOC may be out of compliance with one or two provisions
of the cited AD, for example, but, depending on the severity (including the importance of the
particular provision of the AD) or how widespread that non-compliance is, nonetheless may be in
substantial compliance with the provision of the Settlement.

        Compliance ratings: As discussed above, the team institutes the “Substantial
Compliance” and “Non-compliance” ratings for each provision, as specified in the Settlement. In
actual fact, these may mask true performance. In practice, IDOC has made limited progress on a
number of requirements. These possibly could be more accurately described as “partially
compliant,” but by the terms of the Settlement, those provisions must be found in Non-compliance.

       Section II (t) of the Amended Settlement Agreement defines “Substantial Compliance” as
follows: The Defendants will be in substantial compliance with the terms of this Settlement
Agreement if they perform its essential, material components even in the absence of strict
compliance with the exact terms of the Agreement. Substantial compliance shall refer to instances


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in which any violations are minor or occasional and are neither systemic nor serious. Substantial
compliance can be found for obligations imposed under this Settlement Agreement either IDOC-
wide or at specific facilities. For the purposes of this report, most compliance ratings will be IDOC-
wide. This was done because the changes to the mental health delivery system contemplated in the
Settlement represent a major shift in both the clinical care provided to the offenders and the overall
culture of the IDOC. As the monitor of this seismic shift for IDOC, to date, I felt it more
appropriate to consider system-wide compliance prior to evaluating the compliance of specific
facilities. Two years of reviews have yielded enough data to assess certain practices, and specific
facilities have begun to reach substantial compliance for some requirements. Most Settlement
Agreement provisions are complex with many factors to fulfill, so the substantial compliance
findings are few, but this is an important step forward.

IV: INITIAL (INTAKE) MENTAL HEALTH SERVICES: SCREENING

         Based on previous reviews of all reception centers, and a recent review of the site
         that handles the great majority of intakes, IDOC is in substantial compliance with
         most components of the Screening requirements. There is a good infrastructure in
         place to screen offenders on the date of arrival. Screenings take place in private
         offices, employ the required form covering the required topics, and include
         records review when available. All screeners reportedly have clinical licenses or
         are supervised by the regional administrator.

         NRC psychiatrists tend to go beyond the requirements and conduct a full
         evaluation on the day of arrival for patients with documented psychotropic
         medication orders. For those patients, orders to continue medication are written
         timely and all observed modifications were clinically appropriate with clinical
         notes about discussing with patients the necessary facts. Some orders were filled
         timely, while a few patients experienced a three-day delay in receiving their
         medication.

         These medication practices have been uneven in the reception centers in the
         recent past, so more of a track record is needed to establish substantial
         compliance with this subsection.

         Other areas of concern are some screeners appearing to omit some screening
         questions, the absence of many records from jails or previous IDOC
         incarcerations, and the time to psychiatry review where patients report a recent
         history of medication but do not have documentation. While some of these go
         beyond the letter of the Settlement, the monitoring team encourages improved
         practice as a matter of patient safety and good clinical care.


  (IV)(a): Specific requirement: All persons sentenced to the custody of IDOC shall receive
mental health screening upon admission to the prison system. Absent an emergency which requires
acting sooner, this screening will ordinarily take place within twenty-four (24) hours of reception
(see “Components of Mental Health Services” at pg. 5 in the IDOC Mental Health Protocol Manual


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(incorporated by reference into IDOC Administrative Directive 04.04.101(II)(E)(2)), but in any
event no later than forty-eight (48) hours after reception, as required by IDOC Administrative
Directive 04.04.100 (II)(G)(2)(b) (see also IDOC Administrative Directive 05.07.101).

        Findings: While IDOC operates four reception centers, fully 74% of the intakes take place
at Stateville Northern Reception Center (“NRC”).8 The monitoring team has reviewed all reception
centers in past reporting periods; during this term, the team concentrated on NRC. NRC staff
described the systems to ensure that screenings take place on the date of arrival; have designed an
extensive, efficient physical plant layout to facilitate that; and dedicate the vast majority of their
MHP resources to this responsibility. The monitoring team observed three different MHPs
conducting screenings concurrently and they followed the system, although it was of concern that
two screeners omitted some of the questions. In the monitoring team’s chart reviews, each file
contained the standard screening and it appeared that they were all timely. The amount of recorded
detail varied significantly, but was adequate or better in most cases.

        (IV)(b): Specific requirement: The mental health screening conducted upon admission to
IDOC shall be conducted by a Mental Health Professional [MHP]9 and shall use IDOC Form 0372
(Mental Health Screening). In those instances where a mental health screening is performed by an
unlicensed mental health employee, said mental health employee will be supervised by a licensed
MHP no fewer than four hours per month. This exception for unlicensed mental health employees
applies only to those mental health employees currently working in IDOC and grandfathered in
prior to this Settlement.

        Findings: The monitoring team has observed at all reception centers that the individuals
conducting screening are MHPs and they consistently use the required form. During the current
monitoring period, two of the five MHPs at NRC reportedly do not have clinical licenses and had
been working prior to this Settlement Agreement. The regional administrator, a psychologist,
indicated that he supervises them weekly.

        (IV)(c): Specific requirement: Offenders transferred from a receiving and classification
facility who have been screened and referred for further mental health services shall be
administered the Evaluation of Suicide Potential, IDOC Form 0379, but need not be administered
the mental health screening form again.

        Findings: The monitoring team did not review this requirement during the monitoring
period. In previous periods, the team has observed good practice at a number of IDOC facilities.

        (IV)(d): Specific requirements: In order to encourage full and frank disclosure from
offenders being screened, mental health screening shall take place in the most private space
available at the receiving and classification facilities. Within two (2) years of the approval of this
Settlement Agreement, IDOC will ensure that mental health screening at all receiving and
classification facilities takes place only in spaces that ensure sound confidentiality.

        Findings: The monitoring team previously determined that all reception centers conduct
8
  Data provided by IDOC legal counsel indicate there were 8,987 intakes to IDOC from June through October 2018
and that 6,636 of those were processed at NRC.
9
  The Settlement uses MHP to indicate Mental Health Professional. This report adopts that convention as well.


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screenings with sound confidentiality. By observation of three mental health staff conducting
screenings in offices with the doors closed and no other persons present in the rooms, the team
reconfirmed that this practice continues at NRC.

        (IV)(e): Specific requirement: IDOC shall develop policies and procedures to ensure that
an offender who has a current prescription for psychotropic medication is able to continue
receiving medication without interruption upon transfer to IDOC custody.

        Findings: In the October 2018 Quarterly Report the Department correctly states that they
are in compliance with this requirement due to their having policies and procedures to ensure that
an offender who has a current prescription for psychotropic medication is able to continue
receiving medication without interruption upon transfer to IDOC custody.

        (IV)(f): Specific requirement: Following transfer to IDOC custody, an offender’s
prescription for psychotropic medication shall be reviewed by a licensed physician or psychiatrist
and modified only if deemed clinically appropriate. Any change in psychotropic medication, along
with the reason for the change, shall be documented in the offender’s medical record. The
psychiatrist or other physician, or nurse practitioner acting within the scope of their license, must
also document on the offender’s chart the date and time at which they discussed with the offender
the reason for the change, what the new medication is expected to do, what alternative treatments
are available, and what, in general, are the side effects of the new medication, and answered any
questions the offender had before starting the medication.

       Findings: As noted, IDOC does have this policy in place. NRC psychiatrists have an office
in the same area where other screening functions take place, and psychiatrists review many
offenders on the day of arrival. Reportedly, it is common for psychiatrists to conduct their full
evaluation then, and the monitoring team’s chart review results were consistent with this.

        Among the charts reviewed, about one-third of the caseload patients arrived with a current
psychotropic prescription. Orders to continue medication were issued timely. About half of the
medication orders remained the same. The other half were modified in a clinically appropriate
way, in the view of the Monitor, and the psychiatrists documented the rationale and having
discussed with the patient the items described in this requirement. For some patients, the
medications were also delivered timely, while a few patients experienced a three-day delay before
receiving the medication.

        This is a strong showing by NRC. Since the monitoring team has observed noncompliance
at NRC and other reception centers up through the Second Annual Report, this report will note
NRC’s progress but this does not yet reach the level of a substantial compliance finding. This is
an area where “partially compliant,” would be the most accurate description, but given the findings
options in the Settlement Agreement, the monitoring team must find performance on this
requirement noncompliant.

      While this requirement is limited to patients arriving with a current prescription, it is also
common that patients self-report a recent history of psychotropic medication but do not have
documentation. In this situation, some patients at NRC see psychiatrists quickly and have their
medications restarted, while others in the team’s chart reviews were not seen for four to six weeks.



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The monitoring team encourages IDOC to consider means to shorten this time to psychiatric
review.

        (IV)(g): Specific requirement: Screening will include identifying neurodevelopmental
disabilities, suicidal ideation or intent, current or past self-injurious behavior, the presence or
history of symptoms of mental illness, current or past use of psychotropic medications, or the
presence of conditions that require immediate intervention, in addition to the information required
to be documented on IDOC Form 0372 (Mental Health Screening). The screening process shall
also include review of the records which accompany the offender.

      Findings: The monitoring team has previously verified these components of the screening.
Observed practice at NRC was consistent with past findings.

        By observation during this and previous monitoring periods, mental health staff do review,
as part of the screening, the records that accompany the offenders. Significant problems, however,
continue to negatively affect the Department’s ability to fully comply with this requirement. As
described in previous Monitors’ reports, it is problematic that a substantial number of offenders
arrive without records. For example, in the Assistant Monitor’s chart sample in October, 65% did
not include previous records. NRC and regional staff report significant improvement in the
frequency with which Cook County—one of the largest sources of intakes—now provides health
records. A number of other counties are less successful. When offenders return on a parole
violation, their IDOC records remain at the last facility at which they were housed. While there is
no current practice to seek or transfer those records for reception center staff’s use, IDOC staff
began problem-solving conversations with the monitoring team on point, and IDOC’s quarterly
reports notes internal discussion of options as well.

        The absence of records is problematic not only for screening but because a large proportion
of the mental health caseload remains onsite long enough to need treatment. During the week of
the monitoring visit, for example, 40% of the patients had been on the caseload longer than 30
days,10 the minimum point for psychiatric follow-up

V: MENTAL HEALTH EVALUATION AND REFERRALS


               Summary: The Department has reduced its backlog of mental health evaluations
               to 231 from over 500 at the time of the 2nd Annual Report. This current number
               remains unacceptably elevated. Self-referrals as well as referrals from staff and
               “credible outside sources” are occurring although the required record keeping is
               not being consistently accomplished. Mental health evaluations are generally not
               being performed at NRC, most likely due to staffing problems. There is very
               credible evidence that custody staff continue to insert themselves between the
               mentally ill offenders and the Crisis Intervention Team.




10
     These patients, of course, had been onsite longer than that.


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       (V)(a): Specific requirement: Mental health evaluation, or an appropriate alternative
response in case of emergency, shall be timely provided as required by IDOC Administrative
Directives 04.04.100 and 04.04.101.

        Findings: In the October 2018 Quarterly Report the Department correctly states that the
existence of a backlog of mental health evaluations is better reported in subsection V(f). Due to
the tremendous backlog noted at the time of the 2nd Annual Report, however, it was also reported
in this subsection. The backlog at the time of the 2nd Annual Report was over 500 cases. In the
opinion of the Monitor, this number was indicative of inadequate “mental health evaluation or
response in case of an emergency shall be timely provided.(emphasis added)” The Department has
made great strides in reducing the backlog to 231 as of November 16, 2018. Although 231 is
unacceptable, this smaller backlog suggests that the Department’s timeliness has improved but not
enough to warrant a rating of substantial compliance. This backlog, along with a number of others,
was reduced through use of overtime. This is a commendable short-term effort that puts tasks on
a better footing; it is not indicative, however, that conditions have significantly changed and would
support timely practice in the future.

      (V)(b): Specific requirement: Referral may be made by staff and documented on IDOC
Forms 0387 and 0434 or by self-referral by the offender.

        Findings: The monitoring team did not perform an analysis of self- and staff referrals
during this reporting period, apart from staff referrals generated by reception center screening. In
previous monitoring, the team has found that patients and staff are making referrals and employ
these forms. A rating of substantial compliance will be assigned based on this past performance
coupled with the reception center data.

      (V)(c): Specific requirement: IDOC shall ensure that the referral procedures contained in
IDOC AD 04.04.100, section II (G)(4)(a) and (b) for offender self-referral are created and
implemented in a timely fashion in each facility.

       Section II (G)(4)(a) and (b) provide:

       Referrals for mental health services may be initiated through staff, credible outside sources
       such as family members, other offenders or self-reporting.

   (a) To ensure proper handling of requests from credible outside sources, the Department shall
       ensure mail room staff and facility operators, gatehouse staff and other staff who may come
       in contact with family members, visitors or other interested persons are aware of
       procedures for receiving and addressing inquiries regarding referrals for mental health
       services. Additionally, the contact information and procedures by which outside sources
       may refer offenders for mental health services shall be provided on the Department’s
       website.

       (b)The Chief Administrative Officer of each facility shall ensure a procedure for referring
       offenders for mental health services is established.

           (1) Referrals from staff shall:



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                  (a) Be initiated on the Mental Health Services Referral, DOC 0387;
                  (b) Be submitted to the facility’s Office of Mental Health Management through the
                  chain of command; and
                  (c) Include a copy of the Incident Report, DOC 0434, if applicable.

             (2) The facility Crisis Intervention Team shall be contacted immediately for offenders
             with serious or urgent mental health problems, as evidenced by a sudden or rapid
             change in the offender’s behavior or behavior that may endanger themselves or others,
             if not treated immediately.

         (c) Procedures for self-referrals by offenders for mental health services shall be provided
         in the offender handbook. The offender will be encouraged to submit their requests on the
         Offender Request, DOC 0286.

      Findings: The Department has the required referrals procedures. As reported in the 2nd
Annual Report, as well as prior reports, the aspects that have been monitored are being properly
implemented.

         (V)(d): Specific requirement: In addition to those persons identified by the screening
process described in Section IV, above, any offender who is transferred into the custody of IDOC
with a known previous history of mental illness as reflected in that offender’s medical records or
as self-reported by the offender shall automatically be referred for services which will include a
mental health evaluation and/or referral.

        Findings: The charts reviewed at NRC this monitoring period contained examples of
people with a record of mental health treatment as well as those who self-reported a history but it
was not documented. A referral was issued for each man; the monitoring team did not encounter
examples where referrals were not made.11 The services provided did not include the Mental
Health Evaluation conducted by an MHP. All men were seen by a psychiatrist, who completed
either a full psychiatric evaluation or a detailed progress note. There were, however, timeliness
issues that will be discussed in subsection (f), below.

         Additionally, the Monitoring Team exclusively reviews the records of offenders on the
mental health case load. Due to this fact, the Monitoring Team is unable to accurately report on
this subsection. This would require a comprehensive review of offenders not on the mental health
case load to determine if individuals with a “known previous history of mental illness as reflected
in that offender’s medical records or as self-reported by the offender shall automatically be referred
for services which will include a mental health evaluation or referral.” Given the records that the
Monitoring Team has reviewed, this requirement is generally being met. However, the data
obtained from a review of only those offenders on the mental health case load is inadequate to
correctly answer the question posed by this subsection. The Department will not receive a rating
for this subsection at this time.

       (V)(e): Specific requirement: IDOC shall develop a policy and procedure by which other
sources with credible information (including other offenders or family members) may refer an

11
    As described below, however, this is the nature of the charts reviewed; the sampling did not intentionally select
charts to determine whether any referrals were overlooked.


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offender for a mental health evaluation. The policy and procedure shall include a record-keeping
mechanism for requests, which shall record who made the request and the result of the referral.

       Findings: As reported in the 2nd Annual Report, the Department has developed this policy
and procedure and the monitoring team has observed it being implemented to some extent. A
number of IDOC facilities apparently do not have, or consistently use, a record-keeping
mechanism.

        (V)(f): Specific requirement: Evaluations resulting from a referral for routine mental
health services shall be completed within fourteen (14) days from the date of the referral.

         Findings: Referrals for evaluation can be created at any institution. A substantial portion
of those, of course, occur at reception centers, so the monitoring team concentrated this period’s
review at NRC. The psychiatric caseload database maintained by staff showed that, at best, on the
date of review, only 12% of patients due for a Mental Health Evaluation had received one.12 This
was consistent with the team’s chart review; the team pulled only charts of men onsite one month
or longer, and none contained this type of evaluation. Staff did prioritize more acute cases, and
showed a much higher compliance rate with patients they found to need RTU level of care or to
qualify as SMI. These results are not surprising given the staffing levels at this institution. With
almost half of the MHP positions vacant, staff is taking sensible measures to prioritize, but this is
a clear illustration that it is impossible to meet the mandates with the amount of staffing available.

       All men in the chart sample were seen by a psychiatrist, who completed either a full
psychiatric evaluation or a detailed progress note. A significant number were seen quickly, but
60% of the sampled patients were not seen until four to seven weeks after the referral.

    The Wexford-produced backlog data for the full IDOC system, reporting later, in the week of
November 16, 2018, is 231 for Mental Health Evaluations. Although the majority of the backlog,
136, is in the 1-14 day category, this remains a serious deficiency.

       (V)(g): Specific requirement: As required by IDOC AD 04.04.100, section II
(G)(4)(a)(2), the facility Crisis Intervention Team shall be contacted immediately for offenders
with serious or urgent mental health problems.

         Findings:

       “IDOC 04.04.100 has been updated, with the approval of the Monitor since the original
Settlement Agreement was filed with the Court on January 21, 2016. The pertinent section of AD
04.04.100 which applies to this requirement is II (G)(4)(b)(3). It states “The facility Crisis
Intervention Team shall (emphasis added) be contacted immediately for offenders with serious or



12
  This is a very conservative reading of the data. The date of referral is not captured in the database, so this is
measured not from the date of referral, but from the date the patient was put on the caseload (which could be the
date of referral or a point substantially later than the referral). On the first date of the monitoring visit, 264 patients
had been on the caseload for more than 14 days and only 31 are shown as having evaluations. The monitoring team
spoke with several staff about the possibility of paper trail or data entry delays, but staff most knowledgeable about
those aspects thought the database was an accurate reflection of practice.


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urgent mental health problems, as evidenced by a sudden or rapid change in an offender’s behavior
that may endanger themselves, if not treated immediately.”13

        During the current monitoring period, the monitoring team has continued to receive
complaints from plaintiffs’ counsel and from numerous offenders at a variety of facilities that
custody staff act as gatekeepers for the Crisis Intervention Team. A particular egregious example
occurred at Pontiac on September 12, 2018, when a mentally ill offender asked to speak with a
member of the crisis intervention team who was evaluating someone on the same tier. The crisis
intervention team member ignored the offender’s request and walked away. The offender then
asked custody staff to have this person return because the offender wanted to hurt himself. The
custody staff refused and the offender then cut his left arm and began banging his head which
resulted in a serious laceration above his left eye. A Lieutenant and Major were eventually called
and the offender was evaluated and placed on a crisis watch.

      These complaints have been present throughout the duration of the Settlement Agreement.
As Monitor, my opinion is that these complaints of gatekeeping by the custody staff are
compelling. I once again request that Departmental Leadership address this very serious issue.

        (V)(h): Specific requirement: The results of a mental health evaluation shall be recorded
on IDOC Form 0374 (Mental Health Evaluation). These documents shall be included as part of
the offender’s mental health record as required by IDOC AD 04.04.100, section II (G)(3).

          Findings: This requirement is being met at all of the facilities monitored.

       (V)(i): Specific requirement: Mental health evaluations shall be performed only by
mental health professionals. In those instances where an evaluation is performed by an unlicensed
mental health employee, said mental health employee will have obtained at least a Master’s degree
in Psychology, Counseling, Social Work or similar degree program or have a Ph.D./Psy.D. and
said mental health employee will be supervised by a licensed MHP no fewer than four hours per
month. This exception for unlicensed mental health employees applies only to those mental health
employees currently working in IDOC and grandfathered in prior to this Settlement. Further, a
licensed MHP will review, and if the evaluation is satisfactory, sign off on any evaluation
performed by an unlicensed mental health employee within seven (7) days after the evaluation has
been completed. If the evaluation is not satisfactory, it shall be redone by a licensed MHP.

         Findings: The Monitor Team has found that this requirement is being met at all of the
facilities monitored.

        (V)(j): Specific requirements: The provisions of this Section shall be fully implemented
no later than eighteen (18) months after the approval of this Settlement Agreement.

        Findings: The deadline for fully implementing the requirements of this section of the
Amended Settlement Agreement was November 22, 2017. The Department has made progress in
meeting these requirements but remains short of this goal due in large part to the backlog of mental
health evaluations present at the time of this report.


13
     2nd Annual Report, pages 23 & 24.


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VI: MENTAL HEALTH SERVICES ORIENTATION

      Summary: As previously reported, IDOC continues to fulfill the requirements of
      this section of the Settlement. The required policy has been in place since at least
      2013. Each facility has produced its own orientation manual which satisfy this
      requirement. A comprehensive orientation program was present at each facility
      monitored.


        (VI)(a): Specific requirement: In addition to information regarding self-referrals to be
included in the offender handbook as required by IDOC AD 04.04.100, § II (G)(4)(b), information
regarding access to mental health care shall be incorporated as part of every offender’s initial
reception and orientation to IDOC facilities. The basic objective of such orientation is to describe
the available mental health services and how an offender may obtain access to such services.

       Findings: IDOC does not utilize a department-wide orientation manual. Each facility has
produced its own orientation manual. The Monitor has previously reviewed the orientation manual
from each facility and found them to fulfill the requirements of this section.

       (VI)(b): Specific requirement: IDOC shall develop and implement a written policy and
procedure concerning such orientation no later than one (1) year after approval of this Settlement
Agreement.

        Findings: AD 04.01.105, Facility Orientation, effective 7/1/13, governs facility
orientation. This AD states “The Department shall establish a comprehensive orientation program
for incoming offenders at all correctional facilities that shall include the distribution of an
orientation manual prepared in a format consistent throughout the Department.” A comprehensive
orientation was present at each facility monitored.

VII: TREATMENT PLAN AND CONTINUING REVIEW


Summary: The Department is not meeting its requirements regarding treatment planning for
outpatient, crisis watch or segregation status offenders. Even at the JTC, the practice is for the
psychiatrist to complete the initial treatment plan with the monthly updates completed by the
multidisciplinary treatment team. Treatment planning forms are not being completely filled out.

The Department is also not meeting its requirements regarding the timely follow up of mentally
ill offenders who are prescribed psychotropic medications except at the JTC. Telepsychiatry is
not being utilized in an evidence-based manner. Additionally, Telepsychiatric providers are not
operating under a protocol or an Administrative Directive.

After 30 months of the Amended Settlement Agreement, the Department still clings to an
erroneous notion regarding the meaning of the word “collectively.”


       (VII)(a): Specific requirement: As required by IDOC AD 04.04.101, section


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(II)(F)(2)(c)(4), any offender requiring on-going outpatient, inpatient or residential mental health
services shall have a mental health treatment plan. Such plans will be prepared collectively by the
offender’s treating mental health team.

        Findings: The monitoring team, in preparation of the August 2018 Evidentiary Hearing,
reviewed over 100 treatment plans of class members and found that these plans were often
completed by a MHP or a psychiatric provider. The plans prepared by psychiatric providers
typically only addressed medication. Similarly, those plans prepared by the MHP did not
incorporate the offenders’ psychotropic medication needs.

        Subsequent to the Evidentiary Hearing, the Monitoring team conducted numerous site
visits and found:
        • Pontiac: Little to no evidence of treatment plans being prepared “collectively by the
            offender’s treating mental health team.” For example, plans were prepared by a MHP
            with the psychiatric provider signing off on these plans days to over a month later.
        • Menard: None of the treatment plans reviewed showed evidence of multidisciplinary
            collaboration. Either the MHP or psychiatric provider completed the plan. In those
            cases where the psychiatric provider did sign off on the plans created by a MHP, it was
            accomplished several days after initial completion.
        • Pinckneyville: Similar to Menard, treatment plans did not demonstrate evidence of
            multidisciplinary collaboration. Again, they were completed by either a MHP or a
            psychiatric provider.
        • Stateville-NRC: initial crisis watch plans were created solely by MHPs, while general
            population plans were created solely by psychiatry; the disciplines did not sign off on
            each other’s plans. On the other hand, a slight majority of plans were reasonably well-
            tailored to the individual, an improvement over the trend of generic plans seen in the
            system.

       The Wexford-produced data from the week of November 16, 2018 found that there was a
backlog of 390 treatment plans throughout the Department. Almost half of the total backlogged
treatment plans is at Pontiac with 188.

        A large part of the discussion regarding this subsection found in the October 2018
Quarterly Report revolves around the meaning of the word “collectively.” Throughout my tenure
as Monitor, I have made it exceedingly clear that “collectively” means that all of the staff involved
with the mental health care of a given offender meet together to discuss the treatment needs of the
offender in question. As I reported in the 2nd Annual Report, my opinion regarding why the
Department continues to fight this universally accepted meaning of the word “collectively” as it
applies to treatment planning is due to the high volume of mentally ill offenders and severely
inadequate numbers of staff to treat them. The Court in its Permanent Injunction Order of October
30, 2018 stated in part: “The evidence at the preliminary injunction hearing makes it clear that the
lack of adequate staffing significantly impacts treatment planning.”14




14
     Permanent Injunction Order, October 30, 2018, page 38.


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         There is no shortcut to mental health treatment planning. I have tried to work
constructively with the Department on this issue by going on the record to say that the psychiatric
provider may be present at these meetings via telepsychiatry. Based on the totality of the data
presented above, the Department is not in compliance with this subsection.

       (VII)(b): Specific requirement: The plan shall be recorded on IDOC Form 0284 (Mental
Health Treatment Plan), or its equivalent and requires, among other things, entry of treatment
goals, frequency and duration of intervention/treatment activities, and staff responsible for
treatment activities. Reviews of the treatment plan shall also be recorded on form 0284 or its
equivalent.

      Findings: Page 27 of the 2nd Annual Report states “it is also too early to determine if this
new form15 will satisfy the requirements of this subsection of the Settlement Agreement.” This
was due to the fact that the Monitoring Team only had approximately four months to evaluate the
implementation of this new form by the time of the submission of the 2nd Annual Report.

       By late July, the Monitoring Team had reviewed over 100 treatment plans and found that
nearly half were incomplete, not individualized, contained generic boiler plate language and were
of overall poor quality. From August through October, treatment plans reviewed during site visits
began to show improvement. While IDOC has further to go to satisfy this requirement, the
observed progress is welcome.

       The Quarterly Report of October 2018 states on page seven “There is no question Form
0284 requires entry of each of the areas in this subsection16 and IDOC is, therefore, in compliance
with this subsection.” The Monitoring Team’s review found that this form is not always fully
completed, or contains information of little value to that patient, so the mere presence of the various
requirements of this subsection on a form does not equate with compliance if those fields are not
populated with meaningful information.

        (VII)(c): Specific requirement: Treatment plans shall be reviewed and updated for
offenders designated as receiving outpatient level of care services annually, or sooner when
clinically indicated (e.g., when level of care changes).

         Findings: The Department was found to be noncompliant with this subsection on the 2nd
Annual Report. During site visit reviews in this reporting period, 72% of charts met this
requirement. In a number of cases, plans were updated multiple times during a year; Western
Illinois was particularly strong in this regard.


       Specific requirement: Where the IDOC provides crisis or inpatient care to an SMI
offender, treatment plans shall be reviewed and updated upon entrance and thereafter once weekly,
or more frequently if clinically indicated, and upon discharge.

        Findings: The Monitoring Team did not review any treatment plans for offenders at the
inpatient level of care for this report.

15
     Modification to Form 0284 as approved by the Monitor and effective February 1, 2018.
16
     Subsection VII(b).


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        The Department began creating treatment plans for offenders in Crisis status in February
2018 by utilizing a new form17 that had been approved by the Monitor. The 2nd annual report noted
that it was too early to determine if, by using this new form, the Department was in compliance
with the requirements of this subsection. Prior to the Evidentiary Hearing in August 2018, the
Monitoring Team reviewed 89 medical records of offenders who had recently been placed on
Crisis status to determine if treatment plans were reviewed and updated upon entrance to Crisis.
Treatment plans were only found in 32 of the medical records reviewed. Of those that were
completed, the majority were only completed by a MHP. Psychiatry was only involved in 13 of
the Crisis watch treatment plans.

        Again, prior to the August 2018 Evidentiary Hearing, the Monitoring Team conducted a
slightly different chart review to determine if treatment plans were being updated at the
recommended intervals. This review of 124 medical records found, among other things, that
treatment plans were not generally being updated upon discharge from crisis watch.

        This chart reviewed didn’t exclusively look at offenders on crisis watch status, so the
Monitoring Team conducted several site visits subsequent to the August 2018 Evidentiary Hearing
to look more specifically at this issue:

         •    Pinckneyville: Initial crisis watch treatment plans were created by MHPs with the
              psychiatrist not involved in this planning process. In one case of an offender being on
              crisis watch for more than a week, his treatment plan was not updated.
         •    Menard: Initial crisis watch treatment plans were created but without evidence of
              multidisciplinary involvement. Only one offender had been on crisis for more than a
              week and his treatment plan had not been updated.
         •    Pontiac: Initial crisis watch treatment plans were created but without any psychiatric
              involvement. These plans were not being updated on a weekly basis.
         •    Stateville-NRC: In the Stateville-NRC sample, initial plans were still completed by
              either an MHP or a psychiatrist but there was no indication of collaboration. The
              content was of reasonable quality. It appeared there was one exception where no initial
              plan was generated. Discharge plans were much improved from the system norm; about
              half were generated in a multidisciplinary team meeting, while the other half seemed
              to reflect serial review of the plan. The content in almost half of the reviewed discharge
              plans was tailored to addressing root causes that could lead to readmission, and it
              appeared the plan was discussed with the patient in every case.


       The monitoring team also conducted a systemwide study of crisis watch discharge
treatment plans. This study compared practice at two points in time: the first month of the
monitoring round and the most recent month for which data was available.18 While practice
appeared poor in June, by September there were definite signs of improvement.

17
   DOC0377
18
    The team asked IDOC to provide a sample of discharge treatment plans, with the selection method specified, or
all discharge treatment plans in institutions where the crisis watch census is typically low. It is not entirely clear that
the selection method was followed, but IDOC did provide a substantial number of records. This analysis reviews the
materials provided for June and September admissions.


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        Key aspects of good clinical practice are captured in the court’s injunctions and were
used to assess these treatment plans: (a) presence of a treatment plan at or near discharge, which
is updated to address the causes of admission for that patient and to prevent recurrence, (b) the
plan is created by a multidisciplinary team, and (c) the plan is discussed with the patient.

        In both months studied, there were records available from 24 IDOC institutions; the small
number of remaining facilities indicated they did not have crisis watches during the month. In
June, only a minority of records included a discharge-related plan; only 36% of the provided
cases included such a plan, so a much smaller data set was analyzed. This issue occurred much
less frequently in the September data, and was concentrated at three institutions. This suggests
that discharge plans are being created more often, though the degree of improvement is unclear.19

       Whether treatment plans contain meaningful treatment information has been a source of
concern throughout the monitoring. While such plans are still in the minority on crisis watch
discharge, incremental improvement is evident.
                                                        June            September20
            Plans tailored to the patient’s reasons for 28%             31%
            crisis watch and preventing recurrence
            Plans partially reflecting the above;       28%             32%
            largely these are boilerplate but with some
            bearing on this patient
            Inadequate plan                             44%             27%

The best practice in creating well-done discharge treatment plans occurred at Hill, Illinois River,
Jacksonville, Logan, Vienna and Western Illinois.

         The largest improvement occurred with staff undertaking to create a plan in
multidisciplinary teams. Where, in June, this clearly occurred as a joint enterprise in only 14% of
the records, this practice was demonstrated in 47% of the records provided in September. This,
of course, is still a minority and further improvement is needed, but this significant progress is
commendable. The best practices in joint treatment planning were evident at Dixon, East Moline,
Illinois River, Logan, Stateville and Stateville NRC, Vandalia, and Western Illinois.



19
    In June, IDOC provided records responsive to this request for 118 crisis watches, but only 43 of them contained
discharge treatment plans. It is unclear how much this reflects a failure to create plans and how much is explained by
misunderstanding the data request, patient records being unavailable, crisis watch being current as of the data
request and therefore it is premature for discharge plans, etc.
   In September, IDOC provided records related to 143 crisis watches, 125 of which included discharge treatment
planning in the expected form or in detailed progress notes. Again, it is unclear which of the foregoing reasons may
explain the missing plans. Only Graham had a consistent pattern of demonstrating that both disciplines were
involved in the discharge decision but no demonstration of any revised treatment plan. Joliet and Pontiac also
showed a significant number of plans and a significant number of apparently missing plans. For these and other
reasons, the monitoring team acknowledges that a substantial number of discharge plans are being created—more
than the team has observed in previous monitoring periods—but the team did not analyze whether plans are being
created for all crisis watch discharges.
20
    Analysis omits records where a plan was missing, so does not total 100%


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        Additionally, IDOC encourages a practice whereby either an MHP or psychiatry provider
produces the plan and the other reviews it and provides input later. The largest percentage of
records in this study were handled this way in June; the practice continued in September but was
greatly reduced in favor of direct team meetings in person or by phone or video conference.21
The Monitor strongly believes serial reviews are not good clinical practice and do not satisfy the
requirement, but this practice does reflect a step in the direction of multidisciplinary treatment
planning.

        Finally, it does appear to be the norm for clinicians to discuss these treatment plans with
the patients. Based on the patient’s signature on the plan, and/or a progress note describing the
content of the patient-provider conversation, it appears patients were informed in at least 81% of
the June records and 68% of the September records.22

         Among those that were noncompliant, a few updated plans were untimely, though by a
short period. In other cases, the patient had a number of crisis watches or other clinical changes
that should have led to a treatment plan update but did not. This sample was limited, however, so
it is unclear the extent to which it may be generalizable.23

       Specific requirement: For those offenders receiving RTU care, treatment plans shall be
reviewed and updated upon entrance and thereafter no less than every two (2) months, or more
frequently if clinically indicated, and upon discharge.

        Findings: Dr. Kapoor’s tour of the JTC revealed that monthly treatment plans were being
completed. The treatment planning for the RTUs at Logan and Dixon were not reviewed during
the current reporting period.

        Specific requirement: For mentally ill offenders on segregation status, treatment plans
shall be reviewed and updated within seven (7) days of placement on segregation status and
thereafter monthly or more frequently if clinically indicated.

       Findings: As noted above, the Monitoring Team reviewed 124 medical records to
determine if treatment plans were being updated at the recommended intervals. Very few of these
records demonstrated that treatment plans were “being reviewed and updated within seven (7) days
of placement on segregation status.” This review was not specifically directed at the treatment

21
   In June, this appeared to be the practice in 60% of the treatment plans. In September, it
appeared serial reviews occurred in 19%. The percentage of plans created solely by one
discipline stayed steady. Therefore, the reduction in serial reviews shifted to an increase in
multidisciplinary, real-time reviews.
22
   In the remaining cases, there is no related documentation. It is unclear whether, and in what
proportions, this reflects a practice issue or a documentation issue. Also, these signatures or
progress notes are a good proxy for determining whether patients are informed but are not
definitive; it is, of course, possible, that signatures are obtained without much discussion. It is
unclear whether the lower percentage of documentation in September represents fewer compliant
discussions or is explained by other reasons.
23
   Among 75 charts reviewed at Graham, Stateville-NRC, Vienna, and Western Illinois, many belonged to patients
who had been on the caseload less than one year since the last treatment plan. Thus, this analysis draws on 25
relevant charts.


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planning in segregated housing units so the Monitoring Team looked explicitly at this issue during
a number of site visits. The results obtained from the various site visits confirmed this overall
finding:

       •      Pontiac: Treatment plans were not being completed within one week of placement on
              segregation status nor are they being reviewed and updated monthly.
       •      Pinckneyville: There was some evidence of treatment plans being reviewed and
              updated upon segregation placement but only by the MHP. These plans were not being
              reviewed and updated monthly.
       •      Menard: Treatment plans were not being reviewed and updated upon segregation
              placement or monthly thereafter.
       •      Stateville-NRC: Among the charts reviewed, only one contained a treatment plan
              within a week after placement, and that plan was fully generic without reference to the
              particular patient’s needs or the restrictive housing setting. A small minority of the
              reviewed patients had been in segregation more than five weeks, and they did not have
              updated plans.
       •      Also, a treatment planning backlog of 390 with 188 of them found at Pontiac, one of
              the Department’s primary segregation facilities, was reported on November 16, 2018.

       (VII)(d): Specific requirement: Offenders who have been prescribed psychotropic
medications shall be evaluated by a psychiatrist at least every thirty (30) days, subject to the
following:

       (i)       For offenders at the outpatient level of care, once stability has been observed and
                 documented in the offender’s medical record by the attending psychiatrist,
                 consideration for an extension of follow-up appointments to more than a thirty (30)
                 day period may be considered, with no follow-up appointment to exceed ninety
                 (90) days.

       (ii)      For offenders at a residential level of care, once stability has been observed and
                 documented in the offender’s medical record by the attending psychiatrist,
                 consideration for an extension of follow-up appointments to more than a thirty (30)
                 day period may be considered, with no extension to exceed sixty (60) days.

       (iii)     Offenders receiving inpatient care shall be evaluated by a psychiatrist at least every
                 thirty (30) days with no extension of the follow-up appointments.

         Findings: The Department has had chronic difficulties satisfying the requirements of this
subsection. This was largely reflected in the tremendous backlog of psychiatric appointments, both
initial evaluations and follow ups. At the time of the submission of the 2nd Annual Report, there
was a backlog of 3397 psychiatric appointments. I am pleased to report that this backlog has been
reduced to 734 as of November 16, 2018, although this represents an increase of 265 since October
26, 2018. This reduction has been accomplished by an increased use of psychiatric providers,
including telepsych. The October 2018 Quarterly Report accurately describes that I have
encouraged Wexford to increase the number of Telepsychiatric providers. What the Quarterly
Report omits, however, is that I am consistently on the record stating that telepsychiatry should be
limited to the stable outpatient population. The Department is currently utilizing telepsych to


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address all levels of care including crisis. I have never authorized this use of telepsychiatry. The
Department also does not have an evidence-based protocol or an Administrative Directive for the
proper use of telepsych. Although I am sincerely pleased with the reduction of the backlog for
psychiatric appointments, the Department will continue to receive a rating of noncompliance for
this subsection until such time that an approved evidence-based protocol and Administrative
Directive for telepsych are created and implemented.

        Prior to the most recent Evidentiary Hearing, the Monitoring Team reviewed 142 medical
records of offenders who were being prescribed psychotropic medication. Only 64 of the medical
records reviewed had evidence of psychiatric evaluations being completed per the requirements of
this subsection.

        Subsequent to the Evidentiary Hearing, the Monitoring team conducted numerous site
visits and found:
        • Pontiac: Numerous instances of new medications being prescribed for 3 months and
            routine medication orders written for six months.
        • Menard: Numerous instances of new medications being prescribed for 3 months and
            follow ups not occurring in a timely manner.
        • Pinckneyville: Numerous instances of new medications being prescribed for 3 months
            without timely follow up.
        • Stateville-NRC: In a small set of general population patients onsite longer than 30 days,
            70% were seen by psychiatry at 30-day intervals or more often.
        • Dr. Kapoor toured the JTC and found that offenders were typically being seen every 2-
            4 weeks by a psychiatrist or nurse practitioner depending on clinical need.

        (VII)(e): Specific requirement: Upon each clinical contact with an SMI offender, the
MHP shall record a progress note in that offender’s mental health records reflecting future steps
to be taken as to that offender based on the MHP’s observations and clinical judgment during the
clinical contact.

       Findings: The Monitoring team has literally reviewed thousands of progress notes written
by MHPs following a clinical contact with SMI offenders. As stated in previous reports, there is
no way to determine if progress notes are in fact written after each clinical contact. Due to the
large number of progress notes found in the medical records of SMI offenders, it appears that the
Department is satisfying the requirements of this subsection.


VIII: TRANSITION OF OFFENDERS FROM SPECIALIZED TREATMENT
      SETTINGS


       Summary: The Monitoring Team did not conduct an analysis of the data
       regarding this requirement. The Department will not receive a formal rating. A
       formal rating will be assigned in the 3rd Annual Report.

  (VIII)(a): Specific requirement: SMI offenders shall only be returned to general population


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from a specialized treatment setting with the approval of either the treating MHP or, once
established, with the approval of the multidisciplinary treatment team. The Settlement provides a
definition of “Specialized Treatment Setting”: Housing in a crisis bed, residential treatment unit,
or inpatient mental health setting.

       Findings: The Department continues to meet the requirements of this subsection. Although
the Department is in substantial compliance with this requirement, it remains unclear to what
extent multidisciplinary treatment teams are involved in this process.

        (VIII)(b)(i): Specific requirement: For offenders transitioning from Crisis placement,
there will be a five (5) working day follow-up period during which the treating MHP will assess
the offender’s stability on a daily basis since coming off Crisis watch. This assessment may be
performed at cell front, using a form, which will be specifically designed for this purpose by IDOC
and approved by the Monitor.

        Findings: At the time of the 2nd Annual Report, the followings facilities were in
compliance with this requirement: Logan, East Moline, Pinckneyville, Illinois River, Stateville
Proper and Menard. Given the attention devoted by the Monitoring Team to the obligations of the
preliminary injunction, this requirement was only partially reviewed. Dr. Kapoor reported that the
JTC was fully meeting this requirement. The staff at Menard, Pinckneyville and Pontiac reported
that they are meeting this requirement.

        Specific requirement: This five-day assessment process will be in addition to IDOC’s
current procedure for crisis transition, which IDOC will continue to follow. This procedure
requires an MHP to conduct an Evaluation of Suicide Potential (IDOC Form 0379) on the offender
within seven (7) calendar days of discontinuation from crisis watch, and thereafter on a monthly
basis for at least six (6) months. Findings shall be documented in the offender’s medical record.

       Findings: Again, given the attention devoted by the Monitoring Team to the obligations
of the preliminary injunction, the monitoring team did not review this requirement during this
monitoring period. Staff at Menard and Pontiac reported that this is occurring.

        (VIII)(b)(ii): Specific requirement: Offenders returned to general population or to an
outpatient level of care setting from a specialized/residential treatment facility shall be reviewed
by an MHP within 30 days to assess the progress of the treatment goals. The IDOC Form 0284
shall be reviewed annually thereafter, unless otherwise clinically indicated (e.g., change in level
of care) as required by IDOC AD 04.04.101, section (F)(2)(c)(4)(c).

       Findings: This requirement was not reviewed for this report




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IX: ADDITIONAL MENTAL HEALTH STAFF

          Summary: The Department is not meeting its staffing requirements for the
          RTUs at Dixon, Logan and Joliet. Of note, the deadline for the opening of the
          putative RTU at Pontiac was 7/6/18. This deadline has not been met. The
          current staffing at Pontiac is significantly below the requirements called for in
          the Amended Staffing Plan of May 2016.

          The Department is submitting quarterly hiring reports to the Monitor.



  (IX)(a): Specific requirement: The Approved Remedial Plan identifies additional staff needed
for the operation of IDOC’s outpatient and RTU settings. The necessary funding to pay for this
hiring is dependent upon additional appropriations. Consequently, IDOC will cause to be hired the
appropriate staff no later than the following dates: Dixon Correctional Center and Logan
Correctional Center – 6 months from the budget contingent approval date; Pontiac Correctional
Center – 12 months from the budget contingent approval date.

       Findings: All staffing levels are current as of 11/23/2018:

   •   Dixon:                                                        Vacancies as of 4/20/18

          o Mental Health Training Director-           1.00 FTE vacant              0.00
          o Mental Health Unit Director-               3.00 FTEs vacant             3.00
          o Post-Doc psychologist-                     1.00 FTE vacant              0.00
          o Pre-Doc psychologist-                      2.00 FTEs vacant             2.00
          o Staff psychologist-                        1.975 FTEs vacant            2.97
          o QMHP-                                      0.00 FTE vacant              4.00
          o Recreation therapist-                      2.00 FTE vacant              0.00
          o BHT-                                       3.00 FTE vacant              1.00
          o Psychiatrist-                              5.250 FTEs vacant            5.20
   •   Logan:
          o Mental Health Unit Director-               3.00 FTEs vacant             3.00
          o Post-Doc psychologist-                     2.00 FTEs vacant             2.00
          o Staff psychologist-                        2.00 FTEs vacant             1.00
          o QMHP-                                      7.00 FTEs vacant             2.00
          o Recreation Therapist-                      1.00 FTE vacant              1.00
          o BHT-                                       2.00 FTEs vacant             2.00
          o RN-Mental Health-                          2.00 FTEs vacant             1.00
          o Psychiatrist-                              3.137 FTEs vacant            4.41
   •   Pontiac:
          o Mental Health Unit Director-               3.00 FTEs vacant             2.00
          o Post-Doc psychologist-                     2.00 FTEs vacant             2.00
          o Staff psychologist-                        1.0 FTE vacant               0.00
          o QMHP-                                      4.00 FTEs vacant             2.00


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           o BHTs-                                       2.00 FTEs vacant              0.00
           o Psychiatrist-                               3.725 FTEs vacant             4.15

         Dixon and Logan had deadlines for meeting their staffing requirements on February 6,
2018. Pontiac’s deadline was July 6, 2018. The Department is clearly not meeting its staffing
responsibilities for these three facilities. A review of this six-month data demonstrates that overall,
little actual progress has been made.

         (IX)(b): Specific requirement: The Approved Remedial Plan also identified the staff
IDOC preliminarily determined to be necessary in order to open and operate the RTU to be located
at the former IYC Joliet. IDOC will cause to be hired the appropriate staff no later than eighteen
(18) months from the approval of the Settlement Agreement.

       Findings: All staffing levels are current as of 11/23/18:

                                                                       Vacancies as of 4/20/18

       o   Mental Health Unit Director-                  1.00 FTE vacant               0.00
       o   Post-Doc psychologist-                        1.00 FTE vacant               1.00
       o   BHT-                                          1.00 FTEs vacant              1.00
       o   RN-Mental Health-                             2.00 FTEs vacant              11.0
       o   Staff assistant-                              1.00 FTEs vacant              0.00
       o   Psychiatrist-                                 1.50 FTEs vacant              4.50

       The Joliet Treatment Center remains non-compliant regarding its staffing responsibilities,
although they have made good progress in hiring mental health nurses.


        (IX)(c): Specific provision: Defendants will have three (3) months from the approval of
the Settlement Agreement to propose an amendment to the staffing plan. The Monitor and
Plaintiffs shall have forty-five (45) days following the submission of the revised staffing plan to
state whether they have an objection to the proposed revisions and provide data to support the
objections. Following receipt of any objection and supporting data, the parties will either accept
the Monitor’s and/or Plaintiffs’ suggestions or the issue will be resolved through the dispute
resolution process.

       Findings: As noted in previous reports, the Defendants did not opt to proposed a staffing
plan amendment in the early months of Settlement Agreement implementation.

       (IX)(d): Specific requirement: To the extent the positions listed on Exhibits A and B of
the Approved Remedial Plan are to be filled by Mental Health Professionals, these positions shall
be allocated solely to the provision of the mental health services mandated by this Settlement
Agreement.

       Findings: To date, the monitoring team has not encountered any examples of MHPs being
required to deliver work other than provision of mental health services.

       (IX)(e): Specific requirement: In accordance with its obligations in Section XXVIII,


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infra, IDOC will include quarterly hiring progress reports related to the additional mental health
staff identified in the Approved Remedial Plan. Where a target may not have been met, the Monitor
will review the reasons for failure to meet the target and, if necessary, propose reasonable
techniques by which to achieve the hiring goals as well as supporting data to justify why these
techniques should be utilized.

        Findings: The Quarterly Reports prepared by the Department contain hiring progress
reports.

        (IX)(f): Specific requirement: In the event that IDOC has not achieved a staffing target,
then, after notice to counsel for Plaintiffs, any necessary time extensions shall be negotiated by the
parties. All such extensions shall require the written agreement of counsel for Plaintiffs. This
provision is in addition to any mechanism for dispute resolution set out in Section XXIX.

        Findings: As of the staffing report of 11/23/18 prepared by Wexford, only Centralia,
Illinois River, Sheridan, Taylorville and Vienna are fully staffed. Of note, the Monitoring Team
continues to opine that given the various backlogs, overall non-compliance with the Settlement
Agreement and staff stresses observed during the site visits, even a “fully staffed” facility is
“understaffed.” Also, the Monitoring Team is not aware of any extensions of the various staffing
deadlines agreed to by plaintiffs’ counsel.


X: BED/TREATMENT SPACE

   Summary: The required number of RTU beds for male offenders have been identified. The
   reported RTU bed count is 1070, although this counts 422 beds at Joliet where the census is
   only 107. So, the actual bed count is 755. The RTU at Pontiac is not functioning at the time
   of this report. There is only 80 RTU beds for females out of the required 108. There are 15
   “pre-inpatient admission program” beds at Logan. The Monitoring team is not clear what
   these beds are and if they should be counted against the 108 bed, RTU total. An analysis of
   the crisis watch data clearly demonstrated that there is an inadequate number of crisis beds
   within the Department.

   The Department is not meeting its requirement for providing at least 20 inpatient beds for
   both male and female offenders. The census for these units as of 11/1/18 was 12 female and
   10 males.

   12%, or 349 out of a total of 1237, crisis admissions during the months of May through
   September 2018 exceeded the 10-day maximum length of stay criteria.


        (X)(a): Specific requirement: The Approved Remedial Plan identified four facilities at
which IDOC would perform renovations, upgrades, and retrofits to create bed/treatment space for
SMI offenders requiring residential levels of care: (i) Dixon Correctional Center (male offenders
only); (ii) Pontiac Correctional Center (male offenders only); (iii) Logan Correctional Center
(female offenders only); and (iv) the former IYC Joliet facility (male offenders only). The
necessary funding to complete this construction is dependent upon additional appropriations.


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       Findings: The Department is in compliance with this requirement.

       (X)(b): RTU beds for male offenders

       (i): Specific requirement: Approximately 1,150 units of RTU bed space for male
offenders have been identified.

        Findings: Approximately 1,150 units of RTU bed space for male offenders have been
identified.

       (ii): Specific requirement: IDOC will perform the necessary construction to make its RTU
beds available at the following facilities on the following schedule:

              (A) RTU beds and programming space for approximately 626 male offenders at
                  Dixon CC no later than six (6) months after the budget contingent approval
                  date. Additional construction to increase treatment and administrative office
                  space will be completed within twelve (12) months after the budget contingent
                  approval date;
              (B) RTU beds and programming space for 169 male offenders at Pontiac CC no
                  later than twelve (12) months after the budget contingent approval date; and
              (C) RTU beds and programming space for at least 360 male offenders at IYC-Joliet
                  no later than fifteen (15) months after the budget contingent approval date.

     Findings: Melissa Jennings provided the Monitor with the following numbers on
November 26, 2018:

          •   Dixon-RTU bed count of 648 due to 28 of its 676 beds being designate as
              inoperable. The deadline for additional construction to increase treatment and
              administrative office space is July 6, 2018.
          •   Pontiac-No number was provided for RTU beds at Pontiac. The deadline for this
              requirement was July 6, 2018. Based on the monitoring team’s visits to Pontiac,
              this unit won’t likely be functional until 2019.
          •   IYC-Joliet-The deadline for the 360 RTU beds and programing space is October 6,
              2018. The RTU bed count is reported to be 422. The census on November 26, 2018
              was 107.

       (X)(c): RTU beds for female offenders

       (i): Specific requirement: IDOC has identified RTU bed and programming space for 108
female offenders at Logan CC.

       Findings: RTU bed count is reported to be 80. There are an additional 15 beds designated
as PIAP, “pre-inpatient admission program.” This PIAP is reported to be a higher level of care
than an RTU.

      (ii): Specific requirement: IDOC will perform the necessary construction to make these
108 RTU beds available on the following schedule:



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                 (A) RTU beds and programming space for 80 female offenders no later than six (6)
                     months after the budget contingent approval date; and
                 (B) RTU beds and programming space for an additional 28 female offenders no
                     later than twelve (12) months after the budget contingent approval date.

         Findings:

                 (A) The deadline for creating RTU beds and programming space for 80 female
                     offenders was February 6, 2018. The requirement has been met.
                 (B) The deadline for creating RTU beds and programming space for an additional
                     28 female offenders is July 6, 2018. This requirement has not been met. The
                     Monitoring Team will need to receive very specific details on what this PIAP
                     is and does it count against RTU beds or inpatient beds.

        (X)(d): Specific requirements: The facilities and services available in association with
the RTU beds provided for in subsections (b) and (c), above, shall in all respects comply with the
requirements set forth in the section titled “IDOC Mental Health Units,” subsections 2 and 3, in
the IDOC Mental Health Protocol Manual (incorporated by reference into IDOC AD 04.04.101,
section II (E)(2)). All RTU units shall have sufficient beds and program space for all offenders in
need of residential level of care services, including the provision to each RTU offender of a
minimum of ten (10) hours of structured therapeutic activities per week and a minimum of ten (10)
hours of unstructured out of cell activities per week. To the extent that IDOC maintains an RTU
in segregation units (e.g., Pontiac) these provisions shall apply regardless of whether the RTU bed
is within or outside of a segregation unit.

        Findings: The Monitoring Team inspected the RTU at the JTC during this reporting
period. This RTU is meeting these requirements. The RTUs at Dixon and Logan will be inspected
for the 3rd annual report. Hopefully, the RTU at Pontiac will be operating soon during the next
monitoring period. Until that occurs, the Department will receive a rating of non-compliance for
this requirement.

A review of the following data demonstrated that there continues to be substantial need for beds
at higher levels of care. Indications include:

     §   At least 12% of the crisis watches systemwide exceeded 10 days. That is, 350 admissions
         exceeded the point at which policies expect a patient usually to need more than the short-
         term crisis stabilization and therefore to need a higher level of care.24 The need may be for
         inpatient care or for RTU, depending on the nature of the patients’ illnesses.


24
    Data was compiled from crisis watch logs provided by IDOC for every institution from May through September.
It was not feasible for IDOC to provide October data in time for inclusion in this analysis.
    Those logs show 2,937 crisis watches. The length of crisis watches spanning two months (that is, beginning in
one month and ending in another) are not always recorded; the monitoring team matched such stays where it could
be reasonably inferred, but lengths of stay could not be determined for 6% of admissions; the analysis treated those
as being within expected timeframes. Thus, all numbers in this analysis are very likely conservative.
    The 12% that exceeded 10 days breaks out as follows: 3% stayed only 1 to 2 days longer, while 9% stayed
substantially longer. The longest stays were evident across half of IDOC’s facilities; they were most concerning at
Dixon, Lawrence, Stateville and NRC, Pontiac, and Graham. There were no apparent patterns across time.


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          Particularly egregious among those admissions were the two men who had been in crisis
          watch for 9 months and more than 1 year, and the 11 patients who had each been in crisis
          watch for 2 to 3 months.

     §    There were also 147 patients in this period who had problematic, multiple admissions to
          crisis watch suggestive of a need for higher levels of care. In these cases, patients stayed
          in crisis watch up to 11 times in a few months, their stays were independently lengthy
          and/or added up to large portions of that span of time, and/or a pattern of worsening was
          evident (admissions coming closer together and/or lengthening over time).25

          Although these cases were evident at more than half of IDOC’s facilities, they occurred
          with highest frequency at Dixon, Pontiac, Logan, Lawrence, Stateville/Stateville-NRC,
          Pinckneyville, and Illinois River. Some of these institutions are tasked with providing
          mental health services to the most severely impaired offenders in the Department. Several
          of these institutions house higher custody level inmates. These facts provide objective
          evidence regarding the lack of a sufficient number of higher level treatment beds.

         IDOC Mental Health staff increased their referrals to higher levels of care during this
monitoring period. This is likely a positive development stemming from a greater appreciation of
the expectation to refer, as well as staff being encouraged by the greater number of beds that have
come online. Staff recorded referring 216 patients26 during the five months reviewed.27 Most
institutions had patients needing higher level of care during that period; only seven did not show
the need and/or did not make referrals.28

By almost a 2:1 margin, staff make more referrals for patients who have not shown extensive crisis
than for those who have. Referrals are not yet used as often as one might expect for patients with
prolonged or repeated crisis watch stays. While there were 311 patients for whom crisis watch
exceeded ten days29 or where multiple admissions were a concern, only 79 of those patients were
referred to a higher level of care.



     Institution               Patients with extended      Of those, how             Other          Total higher level of care
                               or multiple30 admissions    many referred             referrals      referrals31

     Big Muddy River           4                           0                         0              0



25
  This included most patients with three stays or more but excluded some where stays were short and spaced out
over time.
26
   This number may be lower than actual referrals as Dixon does not report any RTU placements it may make from its own
population.
27
   Each IDOC institution provided monthly logs of referrals, or reported that no referrals were made, for the period spanning
May through September.
28
   The facilities that did not refer patients to higher level of care during this monitoring period were: Big Muddy River, Decatur,
Kewanee, Lincoln, Murphysboro, Southwestern, and Taylorville. Elgin is not included in this analysis as it is the highest level of
care.
29
   Some of these patients experienced more than one admission longer than 10 days
30
   Includes only those patients fitting the criteria described above
31
   This includes patients who had extended or multiple crisis watches and those who did not but were referred for other reasons


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   Centralia           3                    0                 3          3

   Danville            7                    7                 0          7

   Dixon               57                   1                 1          2

   East Moline         2                    1                 1          2

   Graham              7                    6                 1          7

   Hill                4                    1                 4          5

   Illinois River      13                   7                 11         18

   Jacksonville        1                    1                 2          3

   Joliet              5                    0                 0          0

   Lawrence            27                   7                 3          10

   Logan               20                   5                 30         35

   Menard              10                   0                 10         10

   Pinckneyville       24                   7                 2          9

   Pontiac             60                   8                 16         24

   Robinson            3                    0                 2          2

   Shawnee             6                    2                 3          5

   Sheridan            4                    2                 0          2

   Stateville and      37                   9                 39         48
   Stateville-NRC

   Vandalia            2                    1                 0          1

   Vienna              1                    0                 1          1

   Western             17                   16                6          22

   Decatur, Kewanee,   0                    0                 0          0
   Lincoln,
   Southwestern,
   Taylorville




      As the numbers of referrals increase, so do the lengths of time to transfer and rejections.
Where rejections previously appeared rare, there were 30 during this monitoring period. Only a




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subset of entries recorded time to transfer (or rejection);32 in that group, 44% waited between one
month and six months.

        Lengths of time to decision and to transfer certainly suggest the need for more beds at these
levels of care. In other corrections systems, an increase in rejections typically reflects either (1)
that staff need a period to become accustomed to judging which referrals are appropriate, or (2)
that the increased referrals surface previously unidentified need, and decisionmakers become more
selective as they manage the need exceeding the available beds. The monitoring team encourages
IDOC administration to monitor referral decision practices for which of these reasons, or other
reasons, may be driving extended decision timelines and higher rate of rejections. Reviewing these
practices early can help the administration choose the right interventions to prevent this from
escalating and becoming an entrenched problem. The availability of, and access to, RTU and
inpatient beds is one of the linchpins for whether the rest of the mental health system can come
into compliance with its obligations.


         Dixon RTU: As reported in the 2nd Annual Report: “At the time of the midyear report,
mentally ill offenders were being offered approximately 6 hours per week of structured time and
12 hours per week of unstructured time. IDOC began reporting structured and unstructured out-
of-cell time for mentally ill offenders in segregation in January 2018. They are not currently
reporting these hours for mentally ill offenders assigned to an RTU. The Quarterly Report of
April 25, 2018 is silent regarding the number of out-of-cell hours offered and/or completed for
mentally ill offenders assigned to an RTU. Similar to the reporting requirements for mentally ill
offenders assigned to segregation, the Monitor will request that IDOC maintain this data for
mentally ill offenders assigned to an RTU.”33 The Monitoring Team did not inspect the Dixon
RTU during the current reporting period. Also, the Quarterly Report of October 2018 is silent
regarding the number of structured and unstructured out-of-cell hours the offenders housed in the
Dixon RTU receive.

        Pontiac Mental Health Unit: The Monitor has received a variety of completion dates for
the construction of the RTU at Pontiac. The Quarterly Report of October 2018 states “The
construction at Pontiac and Dixon is nearly complete as of October 5, 2018. Substantial completion
is expected by the end of November for both sites.” As stated above, the Monitoring Team did not
inspect the Dixon RTU during the current reporting period. I personally visited Pontiac on
10/18/18. I observed the state of the construction of the RTU. The RTU still has a long way to go
until completion. Regardless of when it is finally completed, there is currently no operating RTU
at Pontiac.

        Logan RTU: As reported in the 2nd Annual Report: “Documenting the out-of-cell time for
the mentally ill offenders assigned to RTU level of care is similar to Dixon. That is, the out-of-cell
time is reported as “offered” and not the actual number of hours of participation. The number of
hours offered, however, does exceed the requirements of this subsection of the Settlement



32
     Analysis was conducted on 104 referrals, as the majority of referrals did not contain all relevant dates.
33
     2nd Annual Report, page 40.


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Agreement.”34 The Monitoring Team inspected Logan on 6/27/18 but did not monitor this
particular metric.

        Joliet RTU: The offenders housed on the Joliet Treatment Center are receiving the
prescribed amount of structured and unstructured out-of-cell time.

            (X)(e): Inpatient beds

        Specific requirement: Within three (3) months of the approval date of this Settlement
Agreement, IDOC shall enter into an intergovernmental agreement (‘IGA’) with the Illinois
Department of Human Services (‘DHS’) to secure at least 22 beds for female offenders and at least
22 beds for male offenders in an existing DHS-owned mental health facility. The necessary
funding to complete this construction is dependent upon additional appropriations. Consequently,
IDOC will perform the construction and improvements to make at least 22 beds available for
female offenders within nine (9) months of the budget approval contingent date and to make at
least 22 beds available for male offenders within sixteen (16) months of the budget contingent
approval date. Within thirty (30) months of the approval of this Settlement Agreement, IDOC will
transition to assuming control or ownership of said facility and provide approximately sixty (60)
additional beds and programming space for separate housing of male and female offenders in need
of an inpatient level of care. During that transition period, IDOC shall consult closely with the
Monitor and IDOC’s own retained mental health expert to develop any additional policies and
procedures and design programming and treatment space that is appropriate for a forensic hospital.
After the IGA is signed, IDOC will continue to develop plans for inpatient care that can be
implemented after necessary appropriations.

            Findings:

            •   The deadline to make at least (emphasis added) 22 beds available for female offenders
                was 4/6/18. As of 11/1/18, there is a census of 14 females offenders in these beds.
            •   The deadline to make at least (emphasis added) 22 beds available for male offenders
                was 11/6/18. As of 11/1/18, there is a census of 10 male offenders in these beds.

The Quarterly Report of October 2018 states “Elgin is gradually increasing it population as
appropriate and as allowed in the Agreement.” There is nothing in the Amended Settlement
Agreement that allows the Department to drag its feet in meeting these 22 bed minimum
requirements.

            (X)(f): Crisis beds

        Specific requirement: IDOC shall also ensure that each facility has crisis beds which
comply with IDOC Administrative Directive 04.04.102, § II(F)(2), IDOC Administrative
Directive 04.04.100, § II(G)(4)(b), and IDOC Administrative Directive 04.04.102. These beds
shall not be located in Control Units with the exception of Pontiac CC, in which case such cells
will be relocated to the protective custody unit no later than twelve (12) months after approval of
the Settlement Agreement. To the extent that, as of the approval of this Settlement Agreement,

34
     Ibid


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offenders are placed in crisis beds located in a Control Unit (excluding Pontiac CC), they will be
moved to a crisis bed in general population within the facility, to an infirmary setting within the
facility, or, if no such placement is available, transferred to another facility which has an
appropriate crisis bed available.

        Findings: Certainly, IDOC facilities have established crisis beds. While the monitoring
team previously has found good practice, with the exception of Pontiac, on the requirement to
house crisis patients outside control units, there was a surprising uptick in the use of segregation
cells for these patients. The logs of six institutions35 showed this practice, where previously the
team has seen it at only two or three locations. Some of those facilities had only one to four such
admissions—minimal in relation to their total admissions. Few recorded whether the patients were
moved out of such cells within 72 hours. Absent that information, the team cannot definitively
determine that those institutions remain in substantial compliance despite this minimal use of
control unit cells, but it appears unlikely.

Others, however, were more concerning:

     §   Pontiac had 62% of its crisis watches in North House, the segregation unit, and the monthly
         number increased over time. This affected 262 admissions.
     §   Stateville proper housed 35% of its crisis watches in control units, affecting 27 admissions.
     §   Robinson, similarly, housed 33% of its crisis watches in control units, albeit based on a
         smaller crisis watch population.
     §   Lincoln continued to find medical patient competition for the cells also needed for crisis
         watch, so that 75% of its crisis watches were initiated in control units. These men were
         moved within the 72-hour window.
     §   There is credible evidence that offenders on crisis watch were being housed in the
         segregation unit and moved to a non-segregation unit the day prior to Dr. Kapoor’s visit to
         the JTC. The Monitor has also received credible information that offenders on a crisis
         watch in North House at Pontiac, a segregation unit, would be moved to the infirmary on
         the day prior to monitoring visits.

        When the need for overflow cells happens this frequently—and, in the case of Pontiac,
Stateville, and Lincoln, for more than one year—this cannot be said to be exigent circumstances.
This is especially true of the tricks the staff at the JTC tried to pull on Dr. Kapoor.

        This illustrates many endemic challenges that the Department faces (including but not
limited to): 1) there is an increase in the number of mentally ill offenders who require such
services; 2) the current system of care is unable to properly identify and intervene with those
mentally ill offenders prior to their requiring placement on crisis watch; 3) mentally ill offenders
on a crisis watch receive insufficient and inadequate mental health care; 4) mentally ill offenders
on a crisis watch are not able to be transferred to a higher level of care in timely manner; and, 5)

35
    Big Muddy River, Illinois River, Lincoln, Pontiac, Robinson, Stateville-NRC / Stateville proper. Another 13
institutions did not record cell location data in a way that it could be analyzed; for a few of those, crisis watch
placement is extremely rare—likelihood of control unit use is even lower—but that is not the case for all 13
institutions. The monitoring team has observed good practice at some of those institutions, and the team has not
visited others. The Monitor is not making a finding as to those facilities, but given what appears to be backsliding on
this requirement elsewhere, it is more difficult to be confident in facility practice without data.


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there is an inadequate number of crisis cells within the Department.

         Specific requirement: Section II (e) of the Settlement Agreement states in part: Crisis
beds are available within the prison for short-term (generally no longer than ten (10) days unless
clinically indicated and approved by either a Mental Health Professional or the Regional Mental
Health Administrator) aggressive mental health intervention designed to reduce the acute,
presenting symptoms and stabilize the offender prior to transfer to a more or less intensive care
setting.

       Findings: As noted in subsection X(D), during the months of May through September
2018, there were 1237 crisis watch admissions. 12% or 349 admissions exceeded 10 days. The
Monitoring Team documented that:

   •   There is an absence of “aggressive mental health interventions.”
   •   An inability to transfer mentally ill offenders to higher levels of care on a timely basis.

        (X)(g): Specific requirement: IDOC shall also ensure that each RTU facility has adequate
space for group therapy sessions; private clinical meetings between offenders and Mental Health
Professionals; private initial mental health screenings; and such other therapeutic or evaluative
mental health encounters as are called for by this Settlement Agreement and IDOC’s own ADs,
forms, and policies and procedures. IDOC shall also ensure that each RTU facility has adequate
office space for the administrative and mental health staff required by this Settlement Agreement.

        Findings: The Department is meeting this requirement at Joliet and Logan. The
Department will continue to receive a non-compliance rating for this requirement until such time
as all of the construction at Dixon and Pontiac is completed.

        (X)(h): Specific requirement: The treatment and other space required by subsections (d)-
(g), above, shall be completely available no later than six (6) months after the work completion
dates identified in subsection (a), above, for the four facilities identified there, and for any other
residential treatment or outpatient facilities at which it is determined that modifications are needed
no later than December 2017.

       Findings: The deadlines for this requirement have not arrived.

         (X)(i): Specific requirement: Within forty-five (45) days of the selection of the Monitor,
IDOC will submit to the Monitor descriptions and architectural plans, if being used, in sufficient
detail to enable the Monitor to determine whether construction undertaken pursuant to this section
complies with the previously approved Remedial Plan. If, having reviewed these descriptions and
plans, the Monitor concludes that the space allocations in any or all facilities under this Settlement
Agreement are not consistent with the Remedial Plan, the Monitor shall so inform IDOC and
Plaintiffs’ counsel, and IDOC shall have thirty (30) days to propose additional measures that
address the Monitor’s concerns.

        Findings: As previously reported, the Monitor received the required floor plans within the
time frame specified in the Settlement. These floor plans are consistent with the requirements of
the Remedial Plan.



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XI: ADMINISTRATIVE STAFFING

    Summary: The Department currently has three regional directors, a statewide
    quality improvement manager, a chief of psychiatry, three training staff and
    three office support staff.

    There are currently three facilities without mental health authorities: Danville,
    Jacksonville and Shawnee.


  (XI)(a): Regional Directors

       Specific requirement: Within thirty (30) days after the approval of this Settlement
Agreement, to the extent it has not already done so, IDOC will hire two regional directors who are
licensed psychologists or psychiatrists to assist the IDOC Chief of Mental Health Services.

       Findings: As reported previously, IDOC filled these positions within the required time
frame. They are all licensed psychologists:

            •   Dr. Patrick Horn, northern regional director, hired March 2014;
            •   Dr. Luke Fairless, who replaced Dr. Sim, became the full-time central regional
                director in January 2018;
            •   Dr. Shane Reister, southern regional director, hired December 2014.

       (XI)(b): Statewide Quality Improvement Manager

        Specific requirement: IDOC will also create a position for a statewide Quality
Improvement Manager (the QI Manager). In addition to the other responsibilities assigned to the
QI Manager in this Settlement Agreement, the QI Manager or one or more qualified designees
shall have the responsibility for monitoring the provision of mental health services performed
within IDOC by state or vendor employees and the performance of any vendor(s) under the vendor
contract(s). This position shall be filled only by a State, not vendor, employee, and shall be filled
no later than nine (9) months after the approval of the Settlement Agreement.

       Findings: This position was filled on 2/16/17, eight days before the deadline, by Dr. Sim.
For the first 11 months he held this position, Dr. Sim was only devoting 0.25 FTE to the duties of
Statewide Quality Improvement Manager. He began working full-time in this position on 1/16/18.

       (XI)(c): Clinical supervisors

         Specific requirement: Within thirty (30) days after approval of this Settlement
Agreement, IDOC shall also designate at least one qualified state employee at each IDOC-operated
facility encompassed by this Settlement Agreement to provide supervision and assessment of the
State clinical staff and monitoring and approval of the vendor staff involved in the delivery of
mental health services. The employee shall be a PSA-8K, Clinical Psychologist, Social Worker IV
or appropriately licensed mental health professional. If the designated employee leaves the facility



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and the position has not yet been filled, IDOC may designate an interim holder of this position
who may be a member either of IDOC or vendor staff.

       Findings: The October 2018 Quarterly Report states that Dixon, Hill, Joliet, Logan,
Menard, Pinckneyville, Pontiac, Stateville and Western are filled by PSA-8Ks; Big Muddy,
Centralia, Decatur, Elgin36, Graham, Illinois River, Lawrence, Lincoln, Murphysboro, Robinson,
Sheridan, Southwestern, Taylorville, Vandalia and Vienna are filled by Social Worker IVs; East
Moline, Elgin37, Kewanee and Stateville-NRC are also in compliance with appropriately licensed
mental health professionals or psychologists in place.

        The PSA-8K position at Danville remains vacant despite considerable efforts to hire; the
Social Worker IV position at Jacksonville is also vacant despite efforts to hire; and, the Social
Worker IV position at Shawnee is also vacant due to a recent departure. While the Stateville-NRC
position is filled, the employee has given notice of retirement expected to take effect this month.

        The seriousness of the lack of these mental health leaders in these three and potentially
four facilities is more than enough for the Department to be found in non-compliance with section
XI.

           (XI)(d): Central office staff

        Specific requirement: IDOC shall hire ten (10) central office staff (i.e., non-facility-
specific staff including the positions mentioned in (a)-(d), above) to implement the policies and
record-keeping requirements of this Settlement Agreement. These positions will be filled no later
than eighteen (18) months after the approval of this Settlement Agreement.

       Findings: The October 2018 Quarterly Report describes the central office staff
complement as the above-described regional directors and quality improvement manager, a chief
of psychiatry, three training staff, and three office support staff, for a total of 11 people. It appears
the Department is in substantial compliance with this requirement.




36
     Elgin is reported twice; it appears there may be two types of state employees filling supervisory positions.
37




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XII: MEDICATION

       Summary: Medication administration is documented contemporaneously in the
       offenders’ medical records. The Department has a psychiatric backlog of 721 as
       of 11/16/18. Telepsychiatry is being used in a non-evidenced manner
       throughout the Department. This is a very serious situation that could lead to
       very critical problems for the mentally ill offenders.

       Another serious issue is the manner in which some mentally ill offenders in
       segregation are being administered their medications. They are being brought
       out of their cells in cuffs and given their medications in front of their cells.
       Some offenders are even forced to kneel down during this maneuver. The
       Monitoring Team is available to work with the staff to develop a more humane
       and effective method of medication distribution.

  (XII)(a): Specific requirement: In accordance with the provisions of IDOC AD 04.03.100,
section II (E)(4)(d)(1), no later than ninety (90) days after the approval of this Settlement
Agreement, medical staff shall record contemporaneously on offender medical records all
medications administered and all offender contacts with medical staff as to medications. With
respect to offenders taking psychotropic medications, “contemporaneously” means that the
medication, the amount of the medication, and whether the offender took it or refused it will be
recorded at the time the medication is delivered, either on a temporary record from which
information is subsequently transferred to a permanent record located elsewhere, or in the
permanent record at the time of delivery.

       Findings: This requirement is currently being met by the Department.

        (XII)(b): Specific requirement: Within ninety (90) days after the approval of this
Settlement Agreement, IDOC shall also comply with the provisions of IDOC AD 04.04.101,
section II (F)(5), except that under no circumstances shall a SMI offender who has a new
prescription for psychotropic medication be evaluated as provided therein fewer than two (2) times
within the first sixty (60) days after the offender has started on the new medication(s).

      AD 04.04.101, section II (F)(5) provides: Offenders who are prescribed psychotropic
medication shall be evaluated by a psychiatrist at least every 30 days, subject to the following:

       (a) For offenders in the outpatient level of care, once stability has been observed and
           documented in the offender’s medical record by the attending psychiatrist,
           consideration for the extension of follow-up appointments may be considered, with no
           follow up appointment to exceed 90 days.
       (b) For offenders at a Special/Residential Treatment Unit level of care, once stability has
           been observed and documented in the offender’s medical record by the attending
           psychiatrist, consideration for an extension of follow-up appointments may be
           considered with no extension to exceed 60 days.




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       Findings: The most salient fact regarding this requirement is as of 11/16/18, there were
721 psychiatric follow-up appointments backlogged throughout the Department. This included a
backlog of 114 for offenders placed in a RTU. 19 out of the 29 facilities in the Department reported
a backlog. The largest backlogs were found at the following facilities:
           • Pinckneyville            176
           • Shawnee                  115
           • Big Muddy                70
           • Pontiac                  66
           • East Moline              55
           • Dixon                    49
           • Illinois River           45
           • Hill                     44
           • Robinson                 35

          Although the backlog of 721 is a reduction from the backlog of 1182 reported on 5/18/18,
it is still unacceptably elevated. The Quarterly report of October 2018 states “with regard to (b),
the continued expansion of telepsychiatry will help with the medication review backlog.” I refer
the reader to section VII(d), page 28, for a discussion about the lack of evidence-based use of
Telepsychiatry within the Department.

         In preparation for the Evidentiary Hearing in August 2018, the Monitoring Team reviewed
142 medical records of offenders who were prescribed psychotropic medication. This particular
review evaluated if offenders prescribed psychotropic medication were being seen by a psychiatric
provider at regular intervals consistent with constitutional standards. The particular standards used
in this review were those specified in the Amended Settlement Agreement. Timely follow ups
occurred in only 64 of the medical records reviewed, 45%. Other medical records in this review
indicated extensive time between psychiatric visits and the medication orders without evidence of
stability documented.

       In a four-institution study of general population and restrictive housing patients, psychiatry
follow-up was consistent with these standards in 59% of the cases, an unreasonably low
compliance rate.38 In those compliant cases, psychiatry generally saw the patients every 30 days--
or more often after a crisis watch or medication adjustment—or at longer intervals, up to 90 days,
with reasonable assessments that those patients were stable.

        The most common pattern in the noncompliant cases was a patient being judged to need
30-day follow-up but it not taking place for 45 to 60 days. In a few cases, there was not follow up
after a new medication or indicia of instability, such as a crisis watch, or extended times of 3 to 4
months to appointment when a shorter interval was determined necessary.

         (XII)(c): Specific requirement: In addition to these requirements, within ninety (90) days
after the approval of this Settlement Agreement, IDOC shall accomplish the following:

38
  For this analysis, the monitoring team reviewed charts at Graham, Stateville-NRC, Vienna, and Western Illinois.
The sample included only patients on psychotropic medication, as per the requirement’s definition, and excluded
any patients not onsite or on the caseload long enough for at least one 30-day follow-up.


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        (i): Specific requirement: The timely administration or taking of medication by the
offenders, so that there is a reasonable assurance that prescribed psychotropic medications are
actually being delivered to and taken by the offenders as prescribed;

        Findings: As Monitor, I have been very critical of the manner in which medication has
been distributed in segregated housing units. That is, through the food slots, which allowed for
cheeking and hoarding of medications. During the current reporting period, however, the
Department has instituted an draconian policy for the distribution of medications in segregated
housing units. That is, offenders are cuffed up and brought out of their cells to take their
mediations. If an offender has a cellmate, then the cellmate is also cuffed up while this is going
on. I have had reports from mental health staff at Pontiac that the offenders are even forced to
kneel when they are administered their medications. The Quarterly report of October 2018 really
tries to soft pedal this maneuver by stating “At Pontiac, for example, the Warden directed
healthcare staff to remove any offender from his cell to observe medication delivery if mouth
checks were not possible cell front.” I am also aware that this procedure is being utilized at Menard.
I am unclear if this is occurring throughout the Department. It was brought to my attention by a
mental health staff member at Pontiac who was appalled by this whole procedure.

         There is no doubt that this procedure will decrease cheeking and hoarding of medications.
This is also a very dangerous maneuver in that it will likely result in even poorer medication
compliance, further worsening of offenders’ psychiatric disorders, greater acting out behavior such
as staff assaults and self-injurious behaviors. So, by addressing the issue of cheeking and hoarding
of medication in this manner, the Department is potentially creating more problems for itself. I am
available to work closely with the Department to help develop a more humane and effective
manner of distributing psychotropic medications.

         (ii): Specific requirement: The regular charting of medication efficacy and side effects,
including both subjective side effects reported by the patient, such as agitation, sleeplessness, and
suicidal ideation, and objective side effects, such as tardive dyskinesia [sic], high blood pressure,
and liver function decline;

       Findings: A chart review conducted prior to the Evidentiary Hearing in August 2018
demonstrated that the Department is showing improvement in this aspect of care. For this review,
69 charts were reviewed with 38, 55%, were properly addressing this requirement. Although this
58% completion rate is very low and does not warrant a compliance rating, it is a major
improvement over previous reviews.

       (iii): Specific requirement: Adherence to standard protocols for ascertaining side effects,
including client interviews, blood tests, blood pressure monitoring, and neurological evaluation;

       Findings: As with (ii) above, the Department is showing improvement in this very
important aspect of care. A review of 72 charts confirmed that 38 charts, 53%, were properly
addressing this requirement. Again, 53% is a rather low completion rate and does not warrant a
compliance rating, but it does demonstrate significant improvement over previous reviews.

        (iv): Specific requirement: The timely performance of lab work for these side effects and
timely reporting on results;



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       Findings: The Department is also showing improvement in this clinical area. A chart
review verified that 49% of the cases were fulfilling this requirement. Again, this 49% completion
rate does not warrant a compliance rating but it absolutely shows improvement over previous
reviews.

        (v): Specific requirement: That offenders for whom psychotropic drugs are prescribed
receive timely explanation from the prescribing psychiatrist about what the medication is expected
to do, what alternative treatments are available, and what, in general, are the side effects of the
medication; and have an opportunity to ask questions about this information before they begin
taking the medication.

       Findings: The Monitoring Team found the Department in compliance with this
requirement. It is important to note, however, that this compliance was based on a box being
checked on the psychiatric progress note. Only a small number of the charts reviewed specifically
noted that these topics were discussed and that mentally ill offenders were given written
information pertaining to their prescriptions.

        (vi): Specific requirement: That offenders, including offenders in a Control Unit, who
experience medication Non-Compliance, as defined herein, are visited by an MHP. If, after
discussing the reasons for the offender’s Medication Non-Compliance said Non-Compliance
remains unresolved, the MHP shall refer the offender to a psychiatrist.

        Findings: A review of 42 charts39 revealed that most cases of noncompliance were relayed
to an MHP. An MHP would then visit the offender to discuss the reasons for the noncompliance.
The timeliness of these visits, however, was inconsistent. In some cases, the MHP was not notified
until several weeks after the missed dose. If noncompliance remained an issue, the MHP would
refer the patient to a psychiatrist.




39
  It was very difficult to find a sufficient number of charts to properly evaluate this issue of noncompliance. This
was due to the fact that in most charts reviewed, compliance or noncompliance with medications was not
documented.


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XIII: OFFENDER ENFORCED MEDICATION


       Summary: The number of patients subject to enforced medication remains
       consistent with previous reporting in 2018, with 49 patients newly coming
       under these decisions during the monitoring period.

       Previous reviews have noted an emerging pattern of following the required
       processes, though more demonstration is needed for about half of the IDOC
       facilities; 15 facilities were previously found in substantial compliance and
       maintain that status to date.



Specific requirements: IDOC shall ensure that its policy and practice as to involuntary
administration of psychotropic medication continues to fully comply with 20 Ill. Admin. Code §
415.70. The cited provision of the Administrative Code is lengthy and includes numerous detailed
provisions:
       a) Administration of Psychotropic Medication
               1) Psychotropic medication shall not be administered to any offender against his
                   or her will or without the consent of the parent or guardian of a minor who is
                   under the age of 18, unless: A) A psychiatrist, or in the absence of a psychiatrist
                   a physician, has determined that: i) The offender suffers from a mental illness
                   or mental disorder; and ii) The medication is in the medical interest of the
                   offender; and iii) The offender is either gravely disabled or poses a likelihood
                   of serious harm to self or others; and
                    B) The administration of such medication has been approved by the Treatment
                   Review Committee after a hearing (see subsection (b) of this Section).
                   However, no such approval or hearing shall be required when the medication is
                   administered in an emergency situation. An emergency situation exists
                   whenever the required determinations listed in subsection (a)(1)(A) of this
                   Section have been made and a psychiatrist, or in the absence of a psychiatrist a
                   physician, has determined that the offender poses an imminent threat of serious
                   physical harm to self or others. In all emergency situations, the procedures set
                   forth in subsection (e) of this Section shall be followed.
               2) Whenever a physician orders the administration of psychotropic
               medication to an offender against the person’s will, the physician shall
               document in the offender’s medical file the facts and underlying reasons
               supporting the determination that the standards in subsection (a)(1) of this
               Section have been met and: A) The Chief Administrative Officer shall be
               notified as soon as practicable; and B) Unless the medication was
               administered in an emergency situation, the Chairperson of the Treatment
               Review Committee shall be notified in writing within three days.
       b) Treatment Review Committee Procedures
       The Treatment Review Committee shall be comprised of two members appointed
       by the Chief Administrative Officer, both of whom shall be mental health


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professionals and one of whom shall be a physician. One member shall serve as
Chairperson of the Committee. Neither of the Committee members may be
involved in the current decision to order the medication. The members of the
Committee shall have completed a training program in the procedural and mental
health issues involved that has been approved by the Agency Medical Director.
        1) The Chief Administrative Officer shall designate a member of the program staff
        not involved in the current decision to order medication to assist the offender. The
        staff assistant shall have completed a training program in the procedural and mental
        health issues involved that has been approved by the Agency Medical Director.
        2)The offender and staff assistant shall receive written notification of the time and
        place of the hearing at least 24 hours prior to the hearing. The notification shall
        include the tentative diagnosis and the reasons why the medical staff believes the
        medication is necessary. The staff assistant shall meet with the offender prior to the
        hearing to discuss the procedural and mental health issues involved.
        3) The offender shall have the right to attend the hearing unless the Committee
        determines that it is likely that the person’s attendance would subject the person to
        substantial risk of serious physical or emotional harm or pose a threat to the safety
        of others. If such a determination is made, the facts and underlying reasons
        supporting the determination shall be documented in the offender’s medical file.
        The staff assistant shall appear at the hearing whether or not the offender appears.
        4) The documentation in the medical file referred to in subsection (a)(2) of this
        Section shall be reviewed by the Committee and the Committee may request the
        physician’s personal appearance at the hearing.
        5) Prior to the hearing, witnesses identified by the offender and the staff assistant
        may be interviewed by the staff assistant after consultation with the offender as to
        appropriate questions to ask. Any such questions shall be asked by the staff
        assistant unless cumulative, irrelevant, or a threat to the safety of individuals or the
        security of the facility.
        6) Prior to the hearing, the offender and the staff assistant may request in writing
        that witnesses be interviewed by the Committee and may submit written questions
        for witnesses to the Chairperson of the Committee. These questions shall be asked
        by the Committee unless cumulative, irrelevant, or a threat to the safety of
        individuals or the security of the facility. If any witness is not interviewed, a written
        reason shall be provided.
        7) Prior to the hearing, the offender and the staff assistant may request in
        writing that witnesses appear at the hearing. Any such request shall include
        an explanation of what the witnesses would state. Reasonable efforts shall
        be made to have such witnesses present at the hearing, unless their
        testimony or presence would be cumulative, irrelevant, or a threat to the
        safety of individuals or the security of the facility, or for other reasons
        including, but not limited to, unavailability of the witness or matters relating
        to institutional order. In the event requested witnesses are unavailable to
        appear at the hearing but are otherwise available, they shall be interviewed
        by the Committee as provided for in subsections (b)(6) and (9) of this
        Section.




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        8) At the hearing, the offender and the staff assistant may make statements and
        present documents that are relevant to the proceedings. The staff assistant may
        direct relevant questions to any witnesses appearing at the hearing. The offender
        may request that the staff assistant direct relevant questions to any witnesses
        appearing at the hearing and the staff assistant shall ask such questions unless
        cumulative, irrelevant, or a threat to the safety of individuals or the security of the
        facility.
        9) The Committee shall make such investigation as it deems necessary. The
        staff assistant shall be informed of any investigation conducted by the
        Committee and shall be permitted to direct relevant questions to any
        witnesses interviewed by the Committee. The staff assistant shall consult
        with the offender regarding any statements made by witnesses interviewed
        by the Committee and shall comply with requests by the offender to direct
        relevant questions to such witnesses unless cumulative, irrelevant, or a
        threat to the safety of individuals or the security of the facility.
        10) The Committee shall consider all relevant information and material that has
        been presented in deciding whether to approve administration of the medication.
        11) A written decision shall be prepared and signed by all members of the
        Committee that contains a summary of the hearing and the reasons for
        approving or disapproving the administration of the medication. Copies of
        the decision shall be given to the offender, the staff assistant, and the Chief
        Administrative Officer. Any decision by the Committee to approve
        involuntary administration of psychotropic medication must be
        unanimous. The Chief Administrative Officer shall direct staff to comply
        with the decision of the Committee.
        12) If the Committee approves administration of the medication, the offender shall
        be advised of the opportunity to appeal the decision to the Agency Medical Director
        by filing a written appeal with the Chairperson within five days after the offender's
        receipt of the written decision.
c) Review by Agency Medical Director
        1) If the offender appeals the Treatment Review Committee’s decision, staff shall
        continue to administer the medication as ordered by the physician and approved by
        the Committee while awaiting the Agency Medical Director’s decision on the
        appeal.
        2) The Chairperson of the Committee shall promptly forward the written
        notice of appeal to the Agency Medical Director or a physician designated
        by the Agency Medical Director.
        3) Within five working days after receipt of the written notice of appeal, the
        Agency Medical Director shall: A) Review the Committee’s decision, make
        such further investigation as deemed necessary, and submit a written
        decision to the Chief Administrative Officer; and B) Provide a copy of the
        written decision to the offender, the staff assistant, and the Chairperson of
        the Committee.
        4) The Chief Administrative Officer shall direct staff to comply with the
        decision of the Agency Medical Director.
d) Periodic Review of Medication



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                1) Whenever any offender has been involuntarily receiving psychotropic
                medication continuously or on a regular basis for a period of six months,
                the administration of such medication shall, upon the offender’s written
                request, be reviewed by the Treatment Review Committee in accordance
                with the procedures enumerated in subsections (b) and (c) of this Section.
                Every six months thereafter, for so long as the involuntary medication
                continues on a regular basis, the offender shall have the right to a review
                hearing upon written request.
                2) Every offender who is involuntarily receiving psychotropic medication shall be
                evaluated by a psychiatrist at least every 30 days, and the psychiatrist shall
                document in the offender's medical file the basis for the decision to continue the
                medication.
       e) Emergency Procedures
       Subsequent to the involuntary administration of psychotropic medication in an emergency
       situation:
                1) The basis for the decision to administer the medication shall be documented in
                the offender's medical file and a copy of the documentation shall be given to the
                offender and to the Agency Medical Director for review.
                2) A mental health professional shall meet with the offender to discuss the reasons
                why the medication was administered and to give the offender an opportunity to
                express any concerns he or she may have regarding the medication.
       f) Copies of all notifications and written decisions shall be placed in the offender’s medical
       file.
       g) Grievances
       An offender may submit a grievance concerning the involuntary administration of
       psychotropic medication directly to the Administrative Review Board in accordance with
       20 Ill. Adm. Code 504.Subpart F. In considering the grievance, the Board shall confer with
       the Agency Medical Director.

        Findings: At 187, the number of patients subject to enforced medication decisions is
consistent with that found at the time of the Monitor’s Second Annual Report. Logs indicate that
49 of those decisions were issued by Treatment Review Committees during this monitoring period.
Fewer than half of IDOC institutions house such patients and, since more beds are opening at Joliet
and Elgin, a significant number of these patients have shifted there, not surprisingly.

        In previous monitoring, patterns of good practice were beginning to emerge for various
process elements required to fairly and reasonably reach an enforced medication decision. There
were enough exceptions that further monitoring is needed for 13 facilities, but IDOC is on a good
path with this Settlement Agreement requirement. Fifteen institutions have previously been found
in substantial compliance, and they remain in that status.




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XIV: HOUSING ASSIGNMENTS

        Summary: The finding for this requirement is unchanged from the 2nd Annual
        Report. The Department remains in substantial compliance. That is, MHPs are
        informed of housing changes by security staff. MHPs are also consulted about
        post-segregation housing recommendations. MHPs do not report that their
        housing recommendations are overridden by security staff.

  (XIV)(a): Specific requirements: Cell assignments for SMI offenders shall be based on the
recommendations of the appropriate security staff. However, notice shall be made to members of
the SMI offender’s mental health treatment team within twenty-four (24) hours of a new or
changed cell assignment. It is expected that MHPs will monitor the location of each SMI offender
on their caseload. IDOC will require MHPs to alert security staff of their concerns regarding SMI
offender housing assignments and related contraindications. In all instances, an SMI offender’s
housing assignment shall serve both the security needs of the respective facility and the treatment
needs of the offender.

       Findings: This requirement is being met.

       (XIV)(b): Specific requirement: For those offenders who have served fifteen (15) days
or longer in Administrative Detention or Disciplinary Segregation, an MHP who is a member of
the SMI offender’s mental health treatment team shall be consulted regarding post-segregation
housing recommendations pursuant to Section XVIII (a)(v)(F), below.

       Findings: This requirement is being met.

      (XIV)(c): Specific requirement: If security staff rejects a housing recommendation made
by an MHP as to an SMI offender, the security staff representative shall state in writing the
recommendation made by the MHP and the factual basis for rejection of the MHP
recommendation.

       Findings: This requirement is being met.




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XV: SEGREGATION


  Summary: After 30 months of attempting to the implement the requirements of the
  Amended Settlement Agreement, the Department remains very far from meeting its
  responsibilities regarding providing mental health care to the offenders in segregation.
  Critical aspects such as mentally ill offenders being evaluated within 48 hours of placement
  in segregation, update and review of treatment planning, and the provision of the required
  minimum number of hours of structured and unstructured out-of-cell time are not being
  met. There are many reasons for the Department’s failure with this section of the Amended
  Settlement Agreement. In the opinion of the Monitor, the two most striking reasons are the
  tremendous shortage of mental health and custody staff as well as the Department’s clinging
  to outdated custody notions regarding mentally ill offenders and segregation. If a mentally
  ill offender, due to their mental illness, has a behavioral problem that results in a
  disciplinary infraction, this offender should receive a greater amount of mental health care
  and not placed into segregation. Placement in segregation will result in a worsening of their
  underlying mental illness and a creation of new psychiatric pathology. It is the opinion of
  the Monitor that until the Department rethinks its use of segregation in general and with
  mentally ill offenders in particular, the requirements of this section will never be able to be
  fully achieved.




         XV(a)(i): Specific requirement: Prior to housing two offenders in a cell, the respective
Lieutenant or above shall comply with Administrative Directive 05.03.107 which requires an
offender review that shall consider compatibility contraindications such as difference in age or
physical size; security threat group affiliation; projected release dates; security issues; medical or
mental health concerns; history of violence with cell mates; reason for segregation or protective
custody placement; racial issues; and significant negative life changes, such as additional time to
serve, loss of spouse or children, etc. The respective security staff shall consult with the mentally
ill offender’s treatment team regarding the appropriateness of such placement in accordance with
Section XVII of this Settlement Agreement.

       Of note, AD 05.03.107 provides: The Chief Administrative Officer of each facility with
segregation and protective custody units designed to double cell offenders shall develop a written
policy that includes, but is not limited to, the following for routine segregation and protective
custody placement:

   •   Segregation placement
   •   PC placement
   •   Documentation
   •   Review of documentation and final determination
   •   Compatibility contraindications
   •   Review with other inmates
   •   Upon determination to double-cell:


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          o Documentation
          o Suitability review following placement
          o Documentation upon release
   •   Documentation and Reassessment for disciplinary report

       Findings: The Department continues to meet the requirements of this subsection.

         XV(a)(ii): Specific Requirement: Standards for living conditions and status-appropriate
privileges shall be afforded in accordance with 20 Ill. Admin. Code §§ 504.620, 504.630 and
504.670. Section 504.620 is detailed and covers a number of issues regarding conditions in
segregation: double celling, secure fastening of the bed, clean bedding, running water, lighting,
placement above ground with adequate heat and ventilation, food passage and visual observation,
use of restraints inside the cell, cleaning materials, showers and shaves, toiletries, clothing and
laundry, dentures, glasses and other hygienic items, property and commissary, food, visits,
medical, chaplain and correctional counselor visits, programs, exercise, phone calls, mail
privileges and reading materials. Section 504.630 provides for the same conditions and services in
investigatory status as in segregation status. Section 504.670 addresses recreation, including
requiring five hours of recreation for inmates who have spent 90 or more days in segregation, yard
restrictions, and related documentation.

        Findings: No real progress in regard to this requirement over the course of the Amended
Settlement Agreement. That is, the Department continues to insist upon placing severely mentally
ill offenders in these filthy, loud and completely countertherapeutic segregation units. The
requirements of this subsection are not being met throughout the Department. The one exception
is Logan, where their trauma-informed, gender specific approach to treatment results in their
segregation units generally meeting these requirements.

        It remains my firm recommendation that the Department rethink its use of segregated
housing units in regard to mentally ill offenders. This is yet another area where the Department is
contributing to its own problems. The placement of seriously mentally ill offenders in segregation
exacerbates their pre-existing mental illness as well as causing the development of new forms of
psychiatric pathology. It is imperative that the Department fully embraces the reality that it is the
largest provider of mental health care in the state of Illinois. As such, outdated correctional notions
about the use of segregation need to be completely rethought. I firmly believe that the Department
will not be able to fully comply with the Amended Settlement Agreement or any future orders
from the Court until it fully accepts its 21st century role of providing mental health treatment in a
correctional environment.

       XV(a)(iii): Specific requirement: Mentally ill offenders in segregation shall continue to
receive, at a minimum, the treatment specified in their Individual Treatment Plan (ITP). Treating
MHPs and the Warden shall coordinate to ensure that mentally ill offenders receive the services
required by their ITP.

        Findings: It is important to begin the discussion regarding this requirement reminding the
reader that very little treatment is provided to mentally ill offenders within the Department. The




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most that non-segregation offenders receive is one, 15-30 minute individual session per month40
and timely medication follow up if they are lucky. There are an extremely limited number of
groups available to non-segregation offenders. So, a chart review of mentally ill offenders in
segregation revealed that there was some evidence that pre-segregation treatment plans were
continued while in segregation. The Department is making some effort to comply with this
requirement but not enough to earn a compliance rating. Also, due to severe staffing shortages, the
mentally ill offenders in segregation at Pontiac do not even have the option of receiving and
individual session.

       XV (a)(iv): Specific requirement: An MHP shall review any mentally ill offender no later
than forty-eight (48) hours after initial placement in Administrative Detention or Disciplinary
Segregation. Such review shall be documented.

       Findings: During previous monitoring rounds, chart reviews have shown a low percentage
of compliance on this important risk prevention measure. A review, conducted in June and July
2018, of 92 charts demonstrated a compliance rate of 27% regarding this requirement.

         The Department’s most recent Quarterly Report describes a number of measures taken to
facilitate this responsibility being accomplished—reconfiguring staff schedules; considering
alternative staffing for the task; and incorporating this requirement in a major policy document,
Departmental Rule 504, to reinforce its importance. The Department encourages the use of the
Mental Health Evaluation form for this contact, which is a good approach, albeit almost two years
late.41 The Department has also proposed a new form for this purpose, which is pending approval.
Approval of any form to be used for this review is postponed until receipt of the exact wording
from the Court on this issue.

        Additional site visits demonstrated compliance percentages beginning to increase.42 By
September, IDOC provided 115 screenings, drawn from 21 institutions, for SMI patients newly
placed in restrictive housing that month as a sample demonstrating this practice. Where timeliness
could be discerned, it was excellent.43 These are signs of progress, but not enough to warrant a
rating of compliance.

        XV (a)(v): Specific requirement: As set forth in Section VII(c) above, an MHP shall
review and update the treatment plans (form 284) of all offenders on segregation status within
seven (7) days of placement on segregation status and thereafter monthly or more frequently if
clinically indicated.

         Findings: The Quarterly Report of October 2018 states “review and update treatment plans
of all offenders on segregation status within seven (7) days of placement on segregation status and
thereafter monthly or more frequently if clinically indicated. These provisions have been

40
   MHPs at Pontiac confirm that no individual sessions occur due inadequate numbers of staff.
41
   This “48-hour” requirement has been in effect since May 2016 but only began receiving attention from the
Department after the issuance of the Preliminary Injunction on May 25, 2018.
42
    This requirement was assessed at Graham, Vienna, Western Illinois, and Stateville-NRC. Practice was especially
good at Vienna.
43
    Because of differences in recording methods, timeliness could be calculated for just over half of the cases, but in
that subset, 95% met the deadline.


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implemented although, due to staffing issues, are not occurring at all required times.” This
description is consistent with the findings of the Monitoring Team.

        A four-institution study44 demonstrated what the monitoring team has consistently
observed: institutions are not fulfilling this requirement. Vienna was the exception; impressively,
staff created segregation-specific plans at the one-week point, tailored to the patient and often
signed by psychiatry and MHPs (only one plan was missed). There were no one-week plans at any
of the other institutions in this study. A smaller set of patients remains in segregation long enough
to require treatment plan updates monthly thereafter, but nevertheless, the reviewer found only
three updates total across all four institutions.

        Additional site visits revealed that treatment plans are not being updated or reviewed within
one week of placement on segregation status and thereafter monthly or more frequently if clinically
indicated. The facilities in question were Pontiac and Menard. The reasons given for not fulfilling
this requirement is that there is too much work and not enough staff. The Monitor is in full
agreement with this statement.

       XV(a)(vi): Specific requirement: IDOC will ensure that mentally ill offenders who are in
Administrative Detention or disciplinary segregation for periods of sixteen (16) days or more
receive care that includes, at a minimum:

         A) Continuation of their ITP, with enhanced therapy as necessary to protect from
            decompensation that may be associated with segregation.
         B) Rounds in every section of each segregated housing unit, at least once every seven (7)
            calendar days, by an MHP, documented on IDOC Form 0380.
         C) Pharmacological treatment (if applicable).
         D) Supportive counseling by an MHP as indicated in the ITP
         E) Participation in multidisciplinary team meetings once teams have been established.
         F) MHP or mental health treatment team recommendation for post-segregation housing.
         G) Documentation of clinical contacts in the medical record.
         H) Weekly unstructured out-of-cell time, which may include time for showers or yard
            time, of an amount equivalent to the out-of-cell time afforded to all segregation
            offenders at the relevant facility, unless more unstructured out-of-cell time is indicated
            by the offender’s ITP. Instances where mentally ill offenders in segregation refuse out-
            of-cell unstructured time shall be appropriately documented and made available to the
            offender’s mental health treatment team.

         Findings:

       Continuation of ITP with enhanced therapy as necessary to protect from decompensation
that may be associated with segregation: The Quarterly Report of October 2018 states “It is
without dispute that treatment plans are continued if they previously had been prepared for
offenders.” The Monitoring Team does not hold this same optimistic view of the Department’s
response to this requirement, [Please see XV(a)(iii) above for details.] The Quarterly Report,
however, is silent about the issue of “enhanced therapy as necessary to protect from

44
     Patients with segregation placements at Graham, Stateville-NRC, Vienna, Western Illinois

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decompensation.” As has been previously reported, the Monitoring Team has not encountered any
evidence of enhanced therapy being provided to mentally ill offenders to protect from
decompensation that may be associated with segregation.

       Rounds: Rounds are well-established; during the monitoring team visits, all institutions
have demonstrated that they have systems in place and designated staff to accomplish this.
Nevertheless, interruptions to the system are not uncommon. In the four-institution review
referenced previously, only 65% of segregation cases had rounds documented for the full length
of the patient’s placement. The monitoring team does not encounter individual patients being
missed entirely; rather, there are gaps in the rounds performance—either all patients missed for a
week, or sporadic misses for individual patients. Additionally, an 87 count chart review prior to
the August Evidentiary Hearing looking into this issue revealed rounds are completed and recorded
inconsistently. For example, the Quarterly Report of October 2018 reports that rounds are only
conducted every other week at the West House of Pontiac.

        Pharmacological treatment: As of 11/16/18, the Department had a total backlog of
psychiatric follow up visits of 721, 66 of which were at Pontiac. The Monitoring Team is well
aware that pharmacological treatment does occur in these setting. Please refer to section XII(c)(i)
for a discussion regarding the manner of medication distribution in segregated housing units.

        Supportive counseling by an MHP as indicated in the ITP: In the monitoring team’s
experience, counseling is rare in segregation. Most typically, MHP contacts occur in response to
patient self-referrals or group therapy. The Department’s most recent quarterly report notes that
efforts at improvement have been particularly concentrated at Pinckneyville, Menard, Logan, and
Lawrence. Unfortunately, the large population of mentally ill in segregated housing at Pontiac do
not receive any supportive counseling on an individual basis due to staffing problems.

        Participation in multidisciplinary team meetings once teams have been established: The
Quarterly Report of October 2018 very disingenuously addressed this requirement. The
Department persists with its frankly incorrect interpretation of the word collectively. This means
“as a group or as a whole”, not an Ad Seriatim definition of “one after another.” Ironically, the
Department does employ multidisciplinary teams at Dixon’s STC and at the JTC. It would be to
the Department’s advantage to state that they are unable to have multidisciplinary team meetings
due to staffing issues. That way a plan could be developed to address this problem.

      MHP or mental health treatment team recommendation for post-segregation housing:
MHP recommendation for post-segregation housing is occurring throughout the Department.

      Documentation of clinical contacts in the medical record: Clinical contacts were routinely
documented in all records reviewed by the monitoring team.

        Weekly unstructured out-of-cell time for mentally ill offenders who are in Administrative
Detention or disciplinary segregation: Mentally ill offenders who are in Administrative Detention
or disciplinary segregation are offered weekly unstructured out-of-cell time. The Monitoring Team
has found that the Department is inconsistently achieving the out-of-cell time goals established in
the Amended Settlement Agreement. This is due to a variety of reasons including, but not limited
to, out-of-cell time scheduled for the convenience of the staff and not the offenders, limited


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toileting facilities, fear of assault, and inclement weather. To the Department’s credit, efforts have
been made to ensure that the mentally ill offenders receive the appropriate amount of out-of-cell
time. A serious problem exists at Pontiac, however, where some mentally ill offenders are withheld
their allotted out-of-cell time. The occurs as an act of retaliation on the part of the custody staff
because of acting out behavior by the mentally ill offender.

        XV(a)(vi):45 Specific requirement: IDOC will ensure that, in addition to the care
provided for in subsection (a)(v), above, mentally ill offenders who are in Administrative
Detention or Disciplinary Segregation for periods longer than sixty (60) days will receive out-of-
cell time in accordance with subsection (c) below.46

       Findings: As of June 2018, mentally ill offenders housed in a control unit for longer than
60 days are required to receive at least 8 hours of structured and 8 hours of unstructured activities
per week.

        In preparation for the August 2018 Evidentiary Hearing, Assistant Monitor, Ms. Morrison,
conducted an analysis of out-of-cell time in control units in the Department. This analysis consisted
of looking at all of the Department’s facilities and all of the mentally ill offenders who were housed
in a control unit for the month of June 2018. She eliminated from her analysis those mentally ill
offenders who were housed in a control unit for less than 60 days. The following is a summary of
her findings:
• Only about a third of all facilities had stays 60 days or more.
• On average, mentally ill offenders are being offered 15.3 hours per week.
• 31% of this population were not being offered the required hours.
• On average, 6.7 hours of structured activities was being offered.
• Some facilities used large blocks of yard time, up to six hours per day, to satisfy their
    unstructured hours component.
• Due to the extremely high rate of refusals, the actual number of hours received was, on average:
        o Total out-of-cell hours was 7.5 with the requirement being 16.
        o Total structured out-of-cell hours was 3.4 with the requirement being 8.

        The issue of refusals has been a constant theme throughout the life of the Settlement
Agreement. The Department has taken a rather concrete view of the refusal issue. The Quarterly
Report of October 2018 states in part on page 21 “IDOC cannot force offenders to participate in
out-of-cell time…IDOC offers the required out-of-cell time at every facility…” As Monitor, I have
never suggested that the Department force offenders to participate in out-of-cell activities. What I
have said repeatedly is that refusal rates are linked to the psychiatric condition of the patient and
the quality and accessibility of the out-of-cell activity. In any clinical setting, a certain treatment
refusal rate is expected. When refusal rates as seen in the Department exist, it must be addressed
as a clinical failure. As an initial matter, such high refusal rates are strong evidence that the
mentally ill population is undertreated and subjected to inadequate mental health care as a whole.
The medical literature uses the term ‘adherence to treatment” which suggests that the sicker


45
   This numbering from the Settlement Agreement is in error but this report will continue to use it to remain
consistent with the numbering in the Settlement Agreement.
46
   Note: this refers to the second occurrence of a subsection (c), on page 20 of the Settlement Agreement


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patients tend to have the most difficulty with treatment regimens. This means that for psychiatric
patients, treatment refusals are correlated to higher levels of acuity. Given my intimate knowledge
of the mental health treatment available to mentally ill offenders housed in the control units of the
Department, I am certain that the high refusal rate for out-of-cell activities is due to a combination
of the acuity of the offenders’ mental illness and lack of adequate mental health treatment.


        XV(a)(vii): Specific requirement: If, at any time, it is determined by an MHP that a
mentally ill offender in Administrative Detention or Disciplinary Segregation requires relocation
to either a crisis cell or higher level of care, the MHP’s recommendations shall be immediately
transmitted to the CAO or, in his or her absence, a facility Assistant CAO, and the mentally ill
offender shall be placed in an appropriate mental health setting (i.e., Crisis Bed or elevated level
of care) as recommended by the MHP47 unless the CAO or Assistant CAO specifies in writing
why security concerns are of sufficient magnitude to overrule the MHP’s professional judgment.
In such cases, the offender will remain in segregation status regardless of his or her physical
location.

      Findings: The Department is meeting the requirements of this subsection of the Settlement
Agreement.

        XV(b) As to SMI offenders in Disciplinary Segregation:

       XV(b)(i): Specific requirements: IDOC will organize Review Committees
(‘Committees’) to review the segregation terms of all SMI offenders in segregation with at least
60 days of remaining segregation time as of the approval date of this Settlement Agreement. These
Committees will be comprised of attorneys, security professionals, and MHPs.

       Findings: This requirement was not monitored during the current reporting period. The
Quarterly Report of October 2018 states that this reviews have occurred for SMI offenders and are
complete at all facilities. The Department has been found in compliance on this requirement in the
past. They will receive a rating of compliance for this reporting period. This requirement will be
more closely monitored moving forward.

        XV(b)(ii): Specific requirements: The Committees shall eliminate any and all 300 and
400 level tickets and the accompanying segregation time from each SMI offender’s disciplinary
record.

        Findings: The Department is in compliance with this requirement.

        XV(b)(iii): Specific requirements: With regard to all remaining tickets, the Committees
shall examine: (1) the seriousness of the offenses; (2) the safety and security of the facility or any
person (including the offender at issue); (3) the offender’s behavioral, medical, mental health and
disciplinary history; (4) reports and recommendations concerning the offender; (5) the offender’s
current mental health; and (6) other legitimate penological interests.


47
  IDOC’s compliance with the portion of this provision regarding MHP recommendations for placement into crisis
care is discussed elsewhere this report.


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        Findings: This requirement was not monitored during the current reporting period. The
Quarterly Report of October 2018 states that this review was conducted within the allowable
timeframes. The Department has been found in compliance on this requirement in the past. They
will receive a rating of compliance for this reporting period. This requirement will be more closely
monitored moving forward.

        XV(b)(iv): Specific requirements: The committees shall have the authority to recommend
to the Chief Administrative Officer that an SMI offender’s remaining segregation time be reduced
or eliminated altogether based on the factors outlined in XV(b)(iii).

       Findings: The Department is in compliance with this requirement.

        XV(b)(v): Specific requirements: The decision for reduction or elimination of an SMI
offender’s segregation term (excluding the elimination and reductions relative to 300 and 400 level
tickets) ultimately rests with the CAO who, absent overriding concerns documented in writing,
shall adopt the Committees’ recommendations to reduce or eliminate an SMI offender’s
segregation term.

       Findings: The Department is in compliance with this requirement.

      XV(b)(vi): Specific requirements: These reviews shall be completed within nine (9)
months after approval of the Settlement Agreement.

       Findings: The Department is in compliance with this requirement.

       XV(c) Mentally ill offenders in Investigative Status/Temporary Confinement:

       XV(c)(i): Specific requirements: With regard to offenders in Investigatory Status/
Temporary Confinement, IDOC shall comply with the procedures outlined in 20 Ill. Admin. Code
§ 504 and Administrative Directive 05.12.103.

       20 Illinois Administrative Code Section 504 Subpart D: Segregation, Investigative
Confinement and Administrative Detention—Adult provides:

        Applicability, definitions, and responsibilities for IDOC staff regarding placement of
offenders in segregation status; segregation standards for offenders placed into segregation,
investigative confinement, administrative detention; and standards for recreation for offenders in
segregation status.

       AD 05.12.103 provides:

       II (G): Requirements

       The Chief Administrative Officer of each facility that houses SMI offenders shall:

       1. Establish and maintain a list of offenders identified as SMI. This list shall be made
  available to the Adjustment Committee upon request.



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     2. Ensure all members of the Adjustment Committee receive training on administration of
discipline and hearing procedures.

     II (H): Disciplinary Process

      1. When an offender, who has been identified as SMI, is issued an Offender Disciplinary
Report, DOC 0317, for a major offense where the disciplinary action may include segregation
time:

     a. The shift commander shall, within 24 hours, notify the facility’s Office of Mental Health
     Management.

     b. The facility Mental Health Authority shall assign a reviewing MHP who shall review
     the offender’s mental health record and DOC 0317 and, within 72 hours of the original
     notification, provide a completed Mental Health Disciplinary Review, DOC 0443 to the
     hearing investigator who shall consider the report during his or her investigation in
     accordance with Department Rule 504. The DOC 0443 shall, at a minimum, provide:

            (1) The reviewing MHP’s opinion if, and in what way, the offender’s mental illness
            contributed to the underlying behavior of the offense for which the DOC 0317 was
            issued.

            (2) The reviewing MHP’s opinion of overall appropriateness of placement in
            segregation status based on the offender’s mental health symptoms and needs;
            including, potential for deterioration if placed in a segregation setting or any reason
            why placement in segregation status would be inadvisable, such as the offender
            appearing acutely psychotic or actively suicidal, a recent serious suicide attempt or
            the offender’s need for immediate placement in a Crisis Treatment Level of Care;
            and

            (3) Based on clinical indications, recommendations, if any, for a specific term of
            segregation, including no segregation time, or specific treatment during the term of
            segregation.

     2. In accordance with Department Rule 504: Subpart A, all disciplinary hearings shall be
convened within 14 days of the commission of the offense; however, if the MHP provides the
offender is unable to participate due to mental health reasons, a stay of continuance shall be
issued until such time the reviewing MHP determines the offender available to participate.

     a. The Adjustment Committee shall take into consideration all opinions provided on the
     DOC 0443 and may request the reviewing MHP to appear before the committee to provide
     additional testimony, as needed.

     b. If the MHP recommended, based on clinical indications, a specific segregation term, that
     no segregation time be served, or that a specific treatment during segregation is necessary,
     the committee shall adopt those recommendations.

     c. If the Adjustment Committee disagrees with the recommendation of the reviewing MHP


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       and recommends a more restrictive disciplinary action, the Adjustment Committee shall
       submit an appeal to the Chef Administrative Officer (CAO). The CAO shall:

              (1) Review the recommendations of the reviewing MHP and the Adjustment
              Committee;

              (2) Consult with the reviewing MHP regarding the appropriateness of the
              disciplinary action recommended by the Adjustment Committee; and

              (3) Provide his or her final determination. Any deviation from MHP’s
              recommendation shall be documented in writing on the Adjustment Committee
              Summary, DOC 0319, and shall be maintained as a permanent part of the offender’s
              disciplinary file.

       d. In accordance with Department Rule 504.80, a copy of the DOC 0317 and DOC 0319
       shall be forwarded to the CAO for review and final determination. If the Adjustment
       Committee’s final disposition recommends a term of segregation, the CAO shall compare
       the recommendation to that of the 0443.

       e. All information, including the recommendation of the reviewing MHP and disciplinary
       action imposed, shall be documented in the Disciplinary Tracking System.

        3. No later than the last day of the month following that being reported, the Adjustment
  Committee shall compile and submit to the respective Deputy Director a summary of the
  Adjustment Committee hearing of offenders identified as SMI, who were issued a DOC 0317
  for a major offense for which the disciplinary action included segregation time.

       a. The summary shall include the offense for which the DOC 0317 was issued, reviewing
       MHP’s opinions and recommendations, and outcome and disciplinary action imposed by
       the Adjustment Committee.

       b. Any recommendations by the Deputy director to change imposed disciplinary action
       shall be discussed with the Chief Administrative Officer, treating and reviewing MHP, and
       as necessary, the Adjustment Committee. Approved adjustments shall be made
       accordingly.

       4. A copy of the DOC 0319 shall be provided to the offender.

      Findings: Please see section XXV, page 95, Discipline of Seriously Mentally Ill
Offenders, for a discussion about the disciplinary process.

       II (I): Observation and Follow-up

       1. Observation of offenders in segregation shall be conducted in accordance with existing
  policies and procedures.

      2. Referrals for mental health services and response to offenders with serious or urgent
  mental health problems, as evidenced by a sudden or rapid change in an offender’s behavior or


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  behavior that may endanger themselves or others if not treated immediately, shall be handled in
  accordance with AD 04.04.100.

       3. If, at any time, clinical indications suggest continued placement in segregation status
  poses an imminent risk of substantial deterioration to the an [sic] offender’s mental health, the
  information shall be reviewed by the facility mental health authority.

        4. Any recommendations by the mental health authority for reduction in segregation time
  or termination of segregation status shall be discussed with the CAO.

        5. The CAO shall adjust the segregation term in accordance with the recommendations or,
  if the CAO does not agree with the recommendation of the mental health authority, he or she
  shall submit the issue to the respective Deputy Director for final determination.

       Findings: Please see section XXV, page 95, for a discussion about “Observation and
Follow-Up

       XV(c)(ii): Specific Requirement: An MHP shall review any mentally ill offender being
placed into Investigative Status/Temporary Confinement within forty-eight (48) hours of such
placement. Such review shall be documented. This obligation will begin twelve (12) months after
the budget contingent approval date.

        Findings: This is not occurring on a consistent basis within the Department. Please see
section XV(a)(iv), above, for a further discussion on this requirement.

        XV(c)(iii): Specific Requirement: IDOC will ensure that mentally ill offenders who are
in Investigatory Status/Temporary Confinement for periods of sixteen (16) days or more receive
care that includes, at a minimum:

       1) Continuation of their ITP, with enhanced therapy as necessary to protect from
          decompensation that may be associated with segregation. Therapy shall be at least one
          (1) hour or more of treatment per week, as determined by the offender’s individual
          level of care and ITP.
       2) Rounds in every section of each segregated housing unit, at least once every seven (7)
          days, by an MHP, documented on IDOC Form 0380.
       3) Pharmacological treatment (if applicable).
       4) Supportive counseling by an MHP as indicated in the ITP.
       5) Participation in multidisciplinary team meetings once teams have been established.
       6) MHP or mental health treatment team recommendation for post-segregation housing.
       7) Documentation of clinical contacts in the medical record.
       8) Weekly unstructured out-of-cell time, which may include time for showers or yard
          time, of an amount equivalent to the out-of-cell time afforded to all segregation
          offenders at the relevant facility, unless more unstructured out-of-cell time is indicated
          by the offender’s ITP. Instances where mentally ill offenders in segregation refuse out-
          of-cell unstructured time shall be appropriately documented and made available to the
          offender’s mental health treatment team.

       Findings: Please see section XV(a)(vi) above for a discussion about this requirement.


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        XV(c)(iv): Specific Requirement: IDOC will ensure that, in addition to the care provided
for in subsection (b)(iii), above, mentally ill offenders who are in Investigatory Status/Temporary
Confinement for periods longer than sixty (60) days will receive out-of-cell time in accordance
with subsection (c), below.48

           Findings: Please see section XV(a)(vi) above for a discussion about this requirement.

         XV(c)(v): Specific Requirement: If, at any time, it is determined by an MHP that a
mentally ill offender in Investigatory Status/Temporary Confinement requires relocation to either
a crisis cell or higher level of care, the MHP’s recommendation shall be immediately transmitted
to the CAO or, in his or her absence, a facility Assistant CAO, and the SMI offender shall be
placed in an appropriate mental health setting (i.e., Crisis Bed or elevated level of care) as
recommended by the MHP unless the CAO or Assistant CAO specifies in writing why security
concerns are of sufficient magnitude to overrule the MHP’s professional judgment. In such cases,
the offender will remain in segregation status regardless of his or her physical location.

      Findings: The Department is meeting the requirements of this subsection of the Settlement
Agreement.

       XV(c)49: Specific Requirement: Mentally ill offenders in a Control Unit setting for longer
than sixty (60) days shall be afforded out-of-cell time (both structured and unstructured) in
accordance with the following schedule:

      i.   For the first year of the Settlement Agreement, four (4) hours out-of-cell structured and
           four (4) hours out-of-cell unstructured time per week for a total of eight (8) hours out-of-
           cell time per week.

     ii.   For the second year of the Settlement Agreement, six (6) hours out-of-cell structured and
           six (6) hours out-of-cell unstructured time per week for a total of twelve (12) hours out-of-
           cell time per week.

 iii.      For the third year of the Settlement Agreement, eight (8) hours out-of-cell structured and
           eight (8) hours out-of-cell unstructured time per week for a total of sixteen (16) hours out-
           of-cell time per week.

 iv.       For the fourth year of the Settlement Agreement, ten (10) hours out-of-cell structured and
           ten (10) hours out-of-cell unstructured time per week for a total of twenty (20) hours out-
           of-cell time per week.

           Findings: Please see XV(a)(vi) above, for a discussion of this requirement.

      Structured out-of-cell time & unstructured out-of-cell time: Again, please see
XV(a)(vi) above, for a discussion regarding this requirement.



48
     Note: this refers to the second occurrence of a subsection (c), on pages 19 and 20 of the Settlement.
49
     As above, this appears mislabeled in the Settlement but is carried forward here.


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        The 60-day requirement: Based on the data presented in XV(a)(vi), the Department is
not meeting the 8 hours of structured out-of-cell time. It is only offering 6.7 hours and offenders
are only receiving 3.4 hours weekly. The offered hours for unstructured out-of-cell time exceeds
the minimum requirement of 8 hours but only 4.1 hours are actually received. It remains my ardent
recommendation that the Department provide these out-of-cell hours to any mentally ill offender
in segregation, regardless of how many days they are in segregation..

        Segregation-like settings: I have expressed similar concerns for mentally ill offenders
who are held in segregation-like settings such as R&C units. These offenders should receive
similar out-of-cell opportunities as those in segregated housing.

        XV(d): Specific Requirement: The provisions of this Section shall be fully implemented
no later than four (4) years after the approval of this Settlement Agreement.

        Findings: I am very pessimistic about the Department’s chances of fulfilling this
requirement within the 4 year requirement. At this point the major impediment to achieving this
goal is an overwhelming lack of clinical and custody staff.

XVI: SUICIDE PREVENTION

        Summary: Crisis Intervention Teams have been formed and trained at each
        departmental facility. Potentially deadly interference with the operation of the Crisis
        Intervention Teams by custody staff continues to plague the Department. Mentally ill
        offenders placed on crisis watch status do not receive adequate mental health care.
        Crisis cells are still located in control-unit housing. Finally, the administrative
        reviews and psychological autopsies conducted after a suicide are stuck in a blind-
        loop system. That is, the often critical information contained in these documents is
        not part of a corrective action plan or some sort of feedback loop to help prevent
        future suicides. Therefore, the Department will not receive a rating of substantial
        compliance until such time as it can demonstrate that custody staff do not interfere
        with the operation of the Crisis Intervention Team and AD 04.04.102 is rewritten to
        include a corrective action plan based on the findings of the post suicide
        Administrative Review and Psychological Autopsy.


  (XVI)(a): Specific requirements: IDOC shall comply with its policies and procedures for
identifying and responding to suicidal offenders as set out in Administrative Directive 04.04.102
and the section titled “Identification, Treatment, and Supervision of Suicidal Offenders” in the
IDOC Mental Health Protocol Manual (incorporated by reference into IDOC AD 04.04.101,
section II (E)(2)). IDOC shall also ensure that Forms 0379 (“Evaluation of Suicide Potential”);
0377 (“Crisis Watch Record”); and 0378 (“Crisis Watch Observation Log”) are used in
conjunction with these policies and procedures.

       The section titled “Identification, Treatment and Supervision of Suicidal Offenders” from




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the IDOC Mental Health SOP Manual50 provides general guidelines for the handling of suicidal
offenders. AD 04.04.102, however, provides a number of specific requirements:


        II (F) Requirements: The Chief Administrative Officer of each facility shall:
         1)Establish a Crisis Intervention Team.
         a. The Crisis Intervention Team shall consist of: (1) A Crisis Intervention Team Leader
        who shall be an MHP; (2) All facility MHPs and nursing staff; and (3) At least one member
        of the facility’s security staff of the rank of Lieutenant or above. NOTE: Other Crisis
        Intervention Team members may be chosen from facility staff upon the recommendation
        of the Team Leader to ensure at least one member is on site at all times.
        b. Prior to serving, all members of the Crisis Intervention Team shall receive training in
        accordance with Paragraph II.g.1. Crisis Intervention Team Members on leave of absence
        shall be required to make up missed training upon return and prior to resuming service on
        the Crisis Intervention Team.
        c. All Crisis Intervention Team Members shall participate in quality assurance meetings no
        less than once per quarter.
                         (1)    Meetings shall be held to: (a) Review all events involving offender
                                suicide during the previous quarter; (b) Review the Facility’s
                                Prevention and Intervention Plan in accordance with Paragraph II.G;
                                and (c) Assess the adequacy of the facility’s training program in
                                relation to the facility’s needs
                         (2)    Meetings shall be documented in writing and shall: (a) Include the
                                date and minutes of the meeting, a list of all persons in attendance
                                and any recommendations or issues noted; (b) Be submitted to the
                                Chief Administrative Officer, the respective Regional Psychological
                                Administrator and the Chief of Mental Health


         Findings: As previously reported, all facilities have formed Crisis Intervention Teams and
all of the Teams have received the required training. This information was confirmed during the
18 site visits that were conducted during the reporting period. The Monitoring Team, however, did
not review each facility’s quality assurance records to determine if the members of the Crisis
Intervention Teams are fulfilling their QA requirements.


     2) Designate a Crisis Care Area.
        a. Crisis care areas shall be used to house offenders determined by an MHP to require
        removal from his or her current housing assignment for the purpose of mental health
        treatment or observation.
        b. Excluding exigent circumstances as determined by the Director or a Deputy director,
        segregation units shall only be utilized for crisis care areas if no other crisis care areas are
        available, and only until alternative crisis care areas are available.
        c. Cells designated as crisis care areas shall: Allow for visual and auditory observation of

50
  The Settlement references “Mental Health Protocol Manual.” IDOC has changed the name of this manual to
“Mental Health SOP Manual.”


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       the entire cell; Allow for prompt staff access; Control outside stimuli; Contain beds that
       are suicide resistant and constructed of a metal base, cinder block, concrete slab or herculite
       material; Contain a pass through or chuck holes that open out of the cell; Contain mesh
       coverings over all vents; Contain laminated glass over all windows or be safely and
       security glazed windows; and Be made appropriately suicide resistant and provide
       adequate lighting and temperature.

       Findings: Each Facility has provided the locations of their designated crisis care areas.
The monitoring team has viewed the crisis care areas in each facility toured and has found them to
have the required features. For the most part, crisis care is not in segregation, but there are notable
exceptions. For a full discussion, please see X(f), above.

       II (G): Prevention and Intervention Plan

       The Chief Administrative Officer, in consultation with the facility’s mental health
       authority, shall establish a written procedure for responding to, and providing emergency
       mental health services, including prevention and intervention of emergency mental health
       situations. The procedure shall be reviewed annually and shall be approved by the Chief of
       Mental Health and shall include, at a minimum, provisions for the following: training,
       referrals for emergency mental health situations, crisis intervention team response, crisis
       watch, response to self-inflicted injuries and suicide, and quality improvement reviews.

       Findings: The Quarterly report of October 2018 states on page 24 “There is no dispute that
the Department has fulfilled this requirement.” The fact of the matter is that during the first 30
months of monitoring the Settlement Agreement, the Monitoring Team has only received 22 of
the required Institutional Directives required by AD 04.04.102. I am fully aware that Crisis
Intervention Teams have been established at each facility so the Department will receive a
provisional compliance rating for II (G) pending receipt of all 29 Institutional Directives.

       1) Training
       The Chief of Mental Health, in consultation with the Office of Staff Development and
       Training shall establish standardized training programs that provide information on
       emergency mental health services. All training shall be provided by an MHP, or in the
       absence of the MHP, a current crisis team member and, where appropriate, shall include
       enhanced content specific to the facility.
       a.      Level I Training shall be required as part of annual cycle training for all
       staff that have regular interaction with offenders, and shall include a minimum of
       one hour of the following: (1) Elements of the facility’s Prevention and
       Intervention Plan; (2) Demographic and cultural parameters of suicidal behavior in
       a correctional setting, including incidence and variations in precipitating factors;
       (3) Risk factors and behavioral indicators of suicidal behavior; (4) Understanding,
       identifying, managing and referring suicidal offenders, including the importance of
       communication between staff; (5) Procedural response and follow-up procedures
       including crisis treatment supervision levels and housing observation; and (6)
       Documentation requirements.




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       b. Level II Training shall be required as part of annual cycle training for all
       personnel identified in the facility’s Prevention and Intervention Plan as having the
       authority to initiate a crisis watch. Level II training shall consist of a minimum of
       four hours of in-depth didactic and experiential training in assessing suicide risk
       and procedures for initiating a crisis watch.
       c. Level III Training shall be required for all Crisis Intervention Team members,
       excluding MHPs, and shall consist of 24 hours of advanced training in the
       philosophy of suicide prevention and continuous quality improvement of the
       facility’s Prevention and Intervention Plan.
                       (1) Crisis Intervention Team members shall also be trained by an
                       MHP, designated by the Chief of Mental Health, in consultation
                       with the Office of Staff Development and Training. This training
                       will give the Crisis Intervention Team member the ability to instruct
                       on the standardized training curriculum that provides information on
                       emergency mental health services during cycle training, in the
                       absence of the MHP. (2) Training shall be completed prior to active
                       service with the Crisis Intervention Team.
       d. Clinical Continuing Education shall be required for all Crisis Intervention Team
       members and shall consist of a minimum of one hour per quarter of training to assist
       Crisis Intervention Team members in monitoring facility policy and procedure and
       in reviewing suicide attempts or completions. Clinical Continuing Education
       Training may be obtained through participation in the quarterly Crisis Intervention
       Team quality assurance meeting.

       Findings: This training requirement has been met.

        2) Referrals for Emergency Mental Health Situations: Staff shall immediately
notify the Crisis Intervention Team, through his or her chain of command, of any situation
whereby an offender exhibits behavior indicative of mental or emotional distress, imminent
risk for harm to self or an attempted suicide.

       Findings: There remains a serious problem with custody staff acting as gate
keepers to the Crisis Intervention Team. Please see section V(g), page 22 for details.

       3) Crisis Intervention Team Response
       a. At least one Crisis Team member shall be on site at all times. The designated
       Crisis Intervention Team Leader shall be available by phone when not on site.
       b. The Chief of Mental Health and the respective Regional Psychological
       Administrator shall be notified within 24 hours of the suicide of an offender, and
       within 72 hours of any attempted suicide.
       c. Upon notice of a potential crisis situation, a Crisis Intervention Team member
       shall: (1) Implement necessary means to prevent escalation and to stabilize the
       situation. (2) Ensure that the offender is properly monitored for safety. (3) Review
       the situation with the Crisis Team Leader or and MHP to determine what services
       or referrals shall be provided. If the Crisis Intervention Team Leader is not on
       grounds and cannot be reached by telephone, and there are no MHPs on grounds,



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       the Crisis Team member shall contact an alternative MHP and the review may be
       completed via telephone. (4) Initiate a crisis care treatment plan to monitor and
       facilitate the delivery of services, including referrals for mental or medical
       examination, and any additional recommendations of the MHP. The crisis care
       treatment plan shall be documented on the Crisis Watch Log, DOC 0377. Referrals
       for additional examination or services following the offender’s release from a crisis
       care treatment level of care shall be documented on a DOC 0377. (5) If determined
       that the offender does not need to be placed in the crisis care area, notify the Shift
       Commander of any additional care requirements for security staff.

       Findings: When called, the response of the Crisis Intervention Team is generally
timely. As noted in section V(g), problems continue to exist with access to the Crisis
Intervention Team.

       4) Crisis Watch
       a. A crisis watch shall be initiated when: (1) An offender exhibits behavior that is
       likely to cause harm to him or herself. (2) Mental health issues render an offender
       unable to care for him or herself. (3) Gestures, threats or attempts of suicide are
       made. (4) The Evaluation for Suicide Potential, DOC 0379, if administered,
       indicates need. (5) Less restrictive measures have failed or are determined to be
       clinically ineffective.

       Findings: This requirement has been met throughout the life of the Settlement
Agreement. Problems have arisen, however, with mentally ill offenders withholding their
genuine degree of suicidality out of fear of being placed on a crisis watch with its
overwhelmingly austere conditions, prolonged lengths of stay and lack of any meaningful
psychiatric care..

       b. Determination to initiate a crisis watch shall be made by an MHP. If an MHP is
       not available, the following individuals, in order of priority, may initiate a crisis
       watch: (1) Respective Regional Psychologist Administrator, (2) Any Regional
       Psychologist Administrator, (3) Chief of Psychiatry, (4) Chief of Mental Health
       Services, (5) Chief Administrative Officer in consultation with a Crisis Intervention
       Team Leader, (6) Back-up Duty Administrative Officer in consultation with a
       Crisis Intervention Team Member
       c. Offenders in crisis watch shall not be transferred to another facility unless
       clinically indicated and approved by the Chief of Mental Health or in the absence
       of the Chief of Mental Health, the Chief of Psychiatry.
       d. Upon initiation of a crisis watch, an MHP shall determine: (1) The appropriate
       level of supervision necessary in accordance with Paragraph II.E.; and (2)
       Allowable property, including the type and amount of clothing.
       e. Unless medically contraindicated: (1) Water shall be available in the cell or
       offered at regular intervals. When water is not available in the cell, the offers shall
       be documented on the DOC 0377. (2) Meals not requiring utensils shall be provided
       in the cell or crisis care area. If contraindicated, alternative nutrition sources shall
       be provided.



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f. The offender’s vital signs shall be taken by health care staff within 24 hours of
placement on crisis watch, or sooner if the offender has been placed in restraints
for mental health purposes.
g. Prior to placement in a designated crisis care area, the offender shall be strip-
searched and the cell inspected for safety.
h. Offenders shall be monitored at appropriate intervals, dependent upon level of
supervision. All observations shall be documented within the appropriate staggered
intervals, on the Crisis Watch Observation Log, DOC 0378, and shall include staff’s
observation of the offender’s behavior and speech, as appropriate.
i. The offender shall be evaluated by an MHP, or in his or her absence, a Crisis
Intervention Team member, in consultation with the Crisis Team Leader, at least
once every 24 hours. The evaluation shall assess the offender’s current mental
health status and response to treatment efforts. The evaluation shall be documented
on the DOC 0377.
j. An offender’s crisis watch shall only be terminated by an MHP following the
completion of an evaluation assessing the offender’s current mental health status
and the offender’s response to treatment efforts. The evaluation shall be
documented in the offender’s medical record and the termination of the crisis watch
shall be documented on the DOC 0377.

Findings: The Department is meeting the requirements of this subsection.

5) Response to Self-Inflicted Injury and Suicides
a. Responses to medical emergencies shall be in accordance with AD 04.03.108
and shall include immediate notification of an MHP.
b. In the event of attempted suicide, the preservation of the offender’s life shall take
precedence over preservation of the crime scene; however, any delay in response
due to security factors shall be noted in the Incident Report, DOC 0434.

Findings: The Department is meeting this requirement.

6) Quality Improvement Reviews
a. Mortality Review: In the event of an offender’s suicide, the Chief of Mental
Health shall designate an MHP to complete a psychological autopsy. The
psychological autopsy shall be documented on the Psychological Autopsy, DOC
0375, and shall be submitted to the Chief of mental Health within seven working
days of assignment.
b. Administrative Review
       (1) In the event of an offender’s suicide, the Chief Administrative Officer
       shall:
       (a) Establish a clinical review team who shall systemically analyze the
       event. The Review Team shall consist of: i. Mental health and medical staff,
       including an MHP, a psychiatrist and a registered or licensed practical
       nurse. Medical staff chosen for the clinical review team shall have no direct
       involvement in the treatment of the offender for a minimum of 12 months
       prior to the event. ii. A security staff supervisor. NOTE: Facility



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               administrators or staff, whose performance or responsibilities maybe
               directly involved in the circumstances of the suicide, shall not be chosen for
               the review team.
               (b) Designate a clinical review team Chairman who shall ensure all relevant
               documentation pertaining to the offender and his or her treatment including,
               but not limited to, the master file, medical record, Medical Director’s death
               summary and the DOC 0375, if applicable, is available to the clinical review
               team.
               (2) Within ten working days following the suicide, the clinical review team
               shall complete a review to:
               (a) Ensure appropriate precautions were implemented and Department and
               local procedures were followed; and
               (b) Determine if there were any personal, social or medical circumstances
               that may have contributed to the event, or if there were unrealized patterns
               of behavior or systems that may have indicated earlier risk.
               (3) Upon completion of the review, the Chairperson shall submit a written
               report to the Chief Administrative Officer, the facility’s Training
               Coordinator, the Chief of Mental Health and the respective Deputy Director
               summarizing the review team’s findings and providing any recommended
               changes or improvements.

        Findings: Three mentally ill offenders committed suicide during the monitoring period.
The Administrative Reviews and Psychological Autopsies were completed on all of them in time
to be included in this report.

        As Monitor, I have noted in each of the previous reports that the Administrative Reviews
and Psychological Autopsies serve no practical purpose for the Department. That is, these
documents are often thoughtfully prepared but their recommendations have never been
incorporated in any sort of feedback loop/corrective action plan that I am aware of. I first pointed
this out to Dr. Hinton and Chief Lindsay on my first visit to Pontiac on August 26, 2016. Tragically,
I am not aware of any substantive changes being made to the suicide review process during this
last 27 months.

        Two of the three suicides in the reporting period occurred at Dixon. Jamie Chess, Psy.D.,
Psychologist Administrator wrote two very thoughtfully prepared Administrative Reviews. Dr.
Chess also included some very important recommendations to help prevent future suicides.
Administrative Directive 04.04.102, effective date 11/1/2017 is titled “Suicide Prevention and
Intervention and Emergency Services,” section G(6)(b)(3) states “upon completion of the review,
the Chairperson shall submit a written report to the Chief Administrative Officer, the facility’s
Training Coordinator, the Chief of Mental Health and the respective Deputy Director summarizing
the review team’s findings and providing any recommended changes or improvements.” This is a
blind loop. Per the Administrative Directive, nobody has the responsibility of doing anything with
the findings and the recommendations from this Administrative Review. The same is true of the
psychological autopsy except that the findings and recommendations only go to the chief of Mental
Health.




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      This lack of feedback/corrective action is an egregious oversight that the Department has
known about for at least 27 months. This issue requires immediate remediation.

        (XVI)(b): Specific requirements: IDOC shall ensure that the policies, procedures, and
record-keeping requirements identified in (a), above, are implemented and followed in each adult
correctional facility no later than one (1) year after the approval of this Settlement Agreement.

        Findings: The Department continues to struggle to meet the overall requirements of this
subsection of the Settlement Agreement. This subsection calls for the implementation of all of the
suicide and crisis-related policies. Significant problems exist in the following areas:

   •   Custody staff interfering with the work of the Crisis Intervention Team.
   •   Crisis cells remaining in control units.
   •   Lack of proper psychiatric care while offenders are on a crisis watch.
   •   Lack of consistently in performing the 5 day follow ups of offenders who have been
       discharged from crisis watch status.
   •   Ongoing problems with the administrative reviews of suicides.

Each of these issues is critically important to the properly operation of a suicide prevention
program. The Department will continue to receive a rating of non-compliance until each of these
items is addressed.




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XVII: PHYSICAL RESTRAINTS FOR MENTAL HEALTH PURPOSES

       Summary: The average use of restraints slightly increased in the current
       reporting period. It was 27/month as compared to 25/month in the previous
       reporting period. Not all facilities employ physical restraints for mental health
       purposes. Their use is primarily found in those facilities that treat higher acuity
       patients (i.e. Dixon, Logan, Joliet and Elgin.) Pontiac was able to reduce its use
       of restraints by the administration of emergency enforced psychotropic
       medication prior to an offender requiring restraints. Other facilities with high
       usage of restraints are encouraged to consider a similar strategy. The
       Monitoring Team did not conduct a data driven analysis of the use of restraints
       for this reporting period so no overall rating will be assigned.
       e
  (XVII)(a): Specific requirements: IDOC shall comply with its policies and procedures on the
use of restraints, as documented in IDOC AD 04.04.103. These policies and procedures require
documentation using IDOC Form 0376 (“Order for the Use of Restraints for Mental Health
Purposes”). Records of restraint used on SMI offenders shall be maintained in log form at each
facility and entries shall be made contemporaneously with the use of restraints.

       IDOC AD 04.04.103 provides for:

       II (G): Requirements

       1.   Restraints for mental health purposes shall be applied under medical supervision and
            shall only be used when other less restrictive measures have been found to be
            ineffective.

            a.   Under no circumstances shall restraints be used as a disciplinary measure.

            b.   Restraint implementation shall be applied by order of a psychiatrist, or if a
                 psychiatrist is not available, a physician or a licensed clinical psychologist. (1)
                 If a psychiatrist or a physician or a licensed clinical psychologist is not
                 physically on site, a Registered Nurse (RN) may initiate implementation of
                 restraints for mental health purposes. (2) The nurse shall then immediately
                 make contact with the psychiatrist within one hour of the offender being placed
                 into restraints and obtain an order for the implementation. If the psychiatrist is
                 not available, the nurse shall make contact with the physician or the licensed
                 clinical psychologist.

       2.   Crisis treatment shall be initiated in accordance with AD 04.04.102.

            a. The initial order for the use of restraints shall not exceed four hours.

            b. Should subsequent orders become necessary, the time limit may be extended, but
               no subsequent order for restraint extension shall be valid for more than 16 hours
               beyond initial order. Documentation of the justification for extension of the
               restraint order shall be recorded in the offender’s medical chart.


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      c. If further restraint is required beyond the initial order and one extension, a new
         order must be issued pursuant to the requirements provide herein.

II (H): Orders for Restraints

1.    Only a psychiatrist who has conducted a face to face assessment, or in the absence of
      a psychiatrist, a physician or licensed clinical psychologist, who has conducted a face
      to face assessment, may order the use of restraints for offenders in a crisis treatment
      supervision level of continuous watch or suicide watch when the current crisis level
      does not provide adequate safeguards.

2.    If a psychiatrist, physician or licensed clinical psychologist is not physically on site,
      and the Crisis Team Member, after consultation with the on-call Crisis Team Leader
      or Mental Health Professional, in accordance with AD 04.04.102, has recommended
      the use of restraints, a RN may obtain an order from a psychiatrist or a physician or
      a licensed clinical psychologist via telephone.

3.    The offender must be assessed, face to face by a psychiatrist, or in the absence of a
      psychiatrist, a physician or a licensed clinical psychologist within one hour of being
      placed in restraints. If a psychiatrist, or in the absence of a psychiatrist, a physician
      or a licensed clinical psychologist is not physically on site within the hour time limit,
      a RN shall conduct a face to face assessment, and present that assessment to the
      psychiatrist, the physician or the licensed clinical psychologist via a telephone
      consultation, and document accordingly in the medical chart. Verbal orders shall be
      confirmed, in writing, by the ordering individual within 72 hours.

4.    Orders for restraints shall be documented on the Order for Use of Restraints for
      Mental Health Purposes, DOC 0376, and shall include: a. The events leading up to
      the need for restraints, including efforts or less intrusive intervention; b.      The
      type of restraints to be utilized; c. The length of time the restraints shall be applied;
      d. The criteria required for the offender to be taken out of restraints (e.g. the offender
      is no longer agitated or combative for a minimum of one hour, etc.; and e. The
      offender’s vital signs, checked by medical staff, at a minimum of every four hours.
      The frequency of vital signs checks for offenders with serious chronic health
      conditions may be required more frequently during the restraint period.

II (I) Implementation and Monitoring
1.     Restraints shall be applied in a bed located in a crisis care area, or similar setting that
       is in view of staff. Immediately following the placement of an offender in restraints
       for mental health purposes, medical staff shall conduct an examination of the offender
       to ensure that: a. No injuries exist; b. Restraint equipment is not applied in a manner
       likely to result in injury; and c. There is no medical contraindication to maintain the
       offender in restraints.
2.     Monitoring and documentation of visual and verbal checks of offenders in restraints
       for mental health purposes shall be performed as a continuous watch status or a
       suicide watch status in accordance with AD 04.04.102. All checks shall be
       documented on the Crisis Watch Observation Log, DOC 0378.


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           3.    Two hours after application of restraints, and every two hours thereafter, an offender
                 may be allowed to have movement of his or her limbs. Movement shall be
                 accomplished by freeing one limb at a time from restraints and for a period of time
                 of approximately two minutes. Movement shall only be allowed if the freeing of the
                 limb will not pose a threat of harm to the offender being restrained, or others. Limb
                 movement shall be documented in the offender’s medical chart and by the watch
                 officer on the DOC 0378. Denial of free movement and explanation for the denial
                 shall be documented in the offender’s medical chart by medical staff.
           4.    Release from restraints for short periods of time shall be permitted as soon as
                 practical, as determined by a psychiatrist, or in the absence of a psychiatrist, a
                 physician or clinical psychologist.
           5.    The amount of restraint used shall be reduced as soon as possible to the level of least
                 restriction necessary to ensure the safety and security of the offender and staff.
           6.    Clothing shall be allowed to the extent that it does not interfere with the application
                 and monitoring of restraints. The genital area of both male and females, and the breast
                 area of females shall be covered to the extent possible while still allowing for visual
                 observation of the restraints. Females shall not be restrained in a position where the
                 legs are separated.
           7.    Restraints shall be removed upon the expiration of the order, or upon the order of a
                 psychiatrist, or in the absence of a psychiatrist, a physician or licensed clinical
                 psychologist, or in the absence of one of the approved aforementioned professionals
                 being physically on site, an RN who, based upon observation of the offender’s
                 behavior and clinical condition, determines that there is no longer cause to utilize
                 restraints. Observation of the offender’s behavior and clinical condition shall be
                 documented in the medical chart.
           8.    Offenders shall remain in, at minimum, close supervision status for a minimum of 24
                 hours after removal of restraints. Should any other crisis level or care status be
                 utilized, justification of the care shall be documented in the offender’s medical chart.
           9.    Documentation of the use of restraints for mental health purposes shall be submitted
                 to the Agency Medical Director and shall include the DOC 0376 and subsequent
                 nursing and mental health notes.
           10.   All events whereby the use of restraints has been issued shall be reviewed during
                 quality improvement meetings in accordance with AD 04.03.125.

        Findings: The rate of restraints use for mental health reasons rose, with 133 total uses in
the period reviewed.51 As in the past, the practice was concentrated where the mission is treating
higher acuity patients—Dixon and Logan, and now Joliet and Elgin. Stateville also had a
significant amount of use. Another eight institutions also used restraints only once or twice, and
more than half of IDOC facilities had no restraints events.

        Pontiac has made dramatic improvement. Where previously it had by far the highest
amount of use, and some of its practices were problematic, during this round, staff had reduced
restraints to just one event lasting four hours. This dramatic decrease in the use of restraints is due
in large part to the administration of emergency enforced psychotropic medications prior to an
offender requiring restraints. This is standard emergency psychiatric practice that could be safely

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     This is a higher average over the five months than the previous total of 196 averaged over an eight-month period.


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implemented at all facilities, especially those who frequently use restraints for mental health
purposes.

        Logs indicated that the majority of uses systemwide lasted less than one day, and 95%
concluded by the 24-hour point. The longest recorded use was three days though a man, discussed
in previous reports, who had been living in restraints for many months was not listed on the logs
for unknown reasons. About 20 patients were restrained multiple times, though these were
separated in time and almost always a series of short interventions. This does, however, raise the
question of whether some of that group is in need of inpatient beds not yet available.

       Previously, 14 institutions have been found in substantial compliance on this requirement
and they remain in this status.

       (XVII)(b): Specific requirement: IDOC will continue to comply with 20 Ill. Admin.
Code §§ 501.30, 501.40 and 501.60, and Administrative Directive 05.01.126. The Administrative
Code sections are titled Section 501.30: Resort to Force; Section 501.40: Justifiable Use of Force;
and Section 501.60: General Use of Chemical Agents.

       IDOC AD 05.01.126 provides for:

        II (F): The Chief Administrative Officer shall ensure a written procedure for the use and
control of security restraints is established. The written procedure shall provide for the following:

       Use of Security Restraints

                       (1)     Except as otherwise provided in AD 05.03.130 regarding pregnant
                               offenders, security restraints shall be used: (a) To prevent an
                               offender from escaping. (b) To retake an offender who has escaped.
                               (c) To prevent or suppress violence by an offender against another
                               person or property. (d) When transporting an offender outside the
                               facility for the purposes of transfers, writs, etc., except when
                               transporting offenders to assigned work details outside the facility,
                               pregnant offenders for the purposes of delivery, or offenders
                               assigned to the Moms and Babies Program on approved day release
                               while transporting a minor child. (e) When transporting a
                               transitional security offender for other than job related or
                               programmatic activities directly related to successful completion of
                               the transition center program.
                       (2)     Except as otherwise provided in AD 05.03.130 regarding pregnant
                               offenders, security restraints may be used: (a) When moving an
                               offender who is in disciplinary segregation or who is in segregation
                               pending investigation within the facility; or (b) Whenever the Chief
                               Administrative Officer deems it is necessary in order to ensure
                               security within the facility or within the community.
                       (3)     Offenders on funeral or critical illness furlough shall be restrained
                               in accordance with AD 05.03.127.

       Inventory and Control


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               (a) A written master inventory of all security restraints, dated and signed by the
               Chief Administrative Officer, shall be maintained.

               (b) All security restraints that have not been issued to staff shall be stored and
               maintained in a secure area or areas that are not accessible to offenders.

               (c) A log documenting issuance and return of security restraints shall be maintained
               in a secure area or areas. The log shall include: (1) Date and time issued; (2)
               Receiving employees name; (3)          Issuing employees name; (4) Date and time
               returned; and (5) Name of employee receiving the returned restraints.

               (d) A written report shall be filed on lost, broken, or malfunctioning security
               restraints. The report shall be reviewed by the Chief of Security and maintained on
               file with the security restraints inventory records for no less than one year.

       Findings: The Monitor has previously found good practice in 21 Institutional Directives.
The team did not review this requirement during the monitoring period.

       (XVII)(c): Specific requirement: Physical restraints shall never be used to punish
offenders on the mental health caseload.

        Findings: The team did not formally review this requirement during the monitoring period;
however, it was the team’s impression in previous reviews and current site visits that physical
restraints are not being used for punishment.

      (XVII)(d): Specific requirement: The provisions of this Section shall be fully
implemented no later than one (1) year after the approval of this Settlement Agreement.

        Findings: The Monitoring Team will conduct a comprehensive data driven analysis of this
section for the 3rd Annual Report. Until that time, no overall rating will be assigned.

XVIII: MEDICAL RECORDS


        Summary: The required forms are in wide use within the Department. Many of
        these forms have undergone extensive revision, with the approval of the monitor,
        due to emerging clinical necessities.

        Overall, the quality of the medical records remains poor. This poor quality of the
        medical records is an impediment to the provision of acceptable mental health
        care.

        (XVIII)(a): Specific requirement: In recognition of the importance of adequate records
to treatment and continuity of care, no later than sixty (60) days after the approval of this
Settlement Agreement, IDOC shall fully implement the use of the standardized forms it has
developed to record offender mental health information and to constitute an offender’s mental
health file, including IDOC Forms 0372 (Mental Health Screening); 0374 (Mental Health


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Evaluation); 0284 (Mental Health Treatment Plan); 0282 (Mental Health Progress Note); 0387
(Mental Health Services Referral); 0380 (Mental Health Segregation Rounds); 0376 (Order for
Use of Therapeutic Restraints for Mental Health Purposes); 0379 (Evaluation of Suicide Potential);
0378 (Crisis Watch Observation Log); 0377 (Crisis Watch Record); 0371 (Refusal of Mental
Health Services); and 0375 (Psychological Autopsy).

        Findings: As previously reported, standardized forms are in common use with the
Department. Many of these forms have undergone modifications due to emerging clinical needs.
The use of these forms has helped improve clinical care. Overall, however, the medical records
are of very poor quality, which impedes the provision of adequate mental health care.

        (XVIII)(b): Specific requirement: No later than ninety (90) days after the approval of
this Settlement Agreement, IDOC shall fully comply with Administrative Directive 04.03.100, §
II(E)(7), which requires an offender’s medical record, including any needed medication, to be
transferred to any facility to which the offender is being transferred at the time of transfer.

         AD 04.03.100, section II (E)(7): The medical record shall be transferred to the receiving
facility at the time of offender movement.

        (7)(a): In the event that an offender is transferred from the Illinois Department of Juvenile
Justice to an IDOC facility, the entire original medical record shall be transferred with the offender.
The transferring youth center may keep a copy of the medical record. Such movement shall be
treated as a departmental transfer with regard to documentation.

       (7)(b): The medical record and, if applicable, medication shall be sealed in a clear plastic
envelope through which the offender’s name and ID number can be easily identified.

        (1) If the information on the DOC 0090 is not urgent in nature, the DOC 0090 shall be
placed inside the front cover of the medical record.

         (2) If the DOC 0090 contains urgently needed medical or medication disbursement
information, the following steps shall be taken: (a) The DOC 0090 shall be folded in half to
promote confidentiality and a notation of “URGENT MEDICAL INFORMATION” shall be made
in bold print on the exposed (blank) side of the DOC 0090. (b) The folded DOC 0090 with the
notation side up shall be enclosed on top of the medical record inside the clear plastic so that these
individuals can be immediately identified and evaluated upon arrival at a new institution. (c) Prior
to transferring an offender who has significant medical problems as determined by the transferring
facility Medical Director, the transferring Health Care Unit Administrator or Director of Nursing
shall telephone the receiving Health Care Unit Administrator or Director of Nursing to advise of
the transfer.

        (7)(c): A member of the receiving health care staff shall complete the Reception Screening
section of the DOC 0090. The DOC 0090 shall be placed chronologically in the progress notes
section of the medical record; no progress note shall be required.

      Findings: The monitoring team did not evaluate this requirement during the current
monitoring period.



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XIX: CONFIDENTIALITY

      Summary: Medical records are handled in a confidential manner throughout the
     Department. Administrative Directive, 04.04.100, was modified to make confidential
     mental health interactions the standard within the Department. This modification,
     however, occurred six months past its original deadline. The only locations where
     confidential mental health interactions occur on a consistent basis are the R&C units.
     Dr. Kapoor did find that the JTC was also adhering to AD 04.04.100.

     An omnibus consent form, which was approved by the Monitor on 11/7/17, wasn’t
     implemented until May 2018. During the interim period, the consent portion of the
     treatment planning form was used. This often resulted in an offender having two
     different treatment plans. One of the plans was created by the psychiatrist and the
     other by a MHP. Hopefully this problem will be finally addressed by the use of this
     omnibus consent form.


       XIX(a): Specific requirement: No later than six (6) months after the approval of this
Settlement Agreement, the IDOC shall comply with the requirements of Administrative Directive
04.03.100, § II(E) (10) as to the confidentiality of mental health records.

        AD 04.03.100, section II (E) (10) provides: Offender medical and mental health records
are confidential. Access to medical and mental health records shall be limited to health care staff,
other Department personnel and outside State and federal agencies on a need-to-know basis as
determined appropriate by the Facility Privacy Officer or the Health Care Unit Administrator. All
staff having access to medical records or medical information shall be required to sign a Medical
Information Confidentiality Statement, DOC 0269, and a new DOC 0269 shall be signed during
cycle training annually thereafter. The most recent DOC 0269 shall be retained in the staff
member’s training file.

        Findings: Based on the 18 site visits conducted by the Monitoring Team during the current
reporting period, it is clear that the offender medical records are handled in a confidential manner.
The Monitoring Team did not review if all staff having access to medical records have signed DOC
0269. The Quarterly Report of October 2018 is silent on the issue of staff signing DOC 0269.

       Specific requirement: Additionally, IDOC shall take the following steps to promote the
confidential exchange of mental health information between offenders and persons providing
mental health services:

        XIX(b): Specific requirement: Within six (6) months after the approval of this Settlement
Agreement, IDOC shall develop policies and procedures on confidentiality requiring mental health
service providers, supervisory staff, and wardens to ensure that mental health consultations are
conducted with sound confidentiality, including conversations between MHPs and offenders on
the mental health caseload in Control Units. Training on these policies and procedures shall also
be included in correctional staff training, so that all prison staff understand and respect the need
for privacy in the mental health context.



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        Findings: As previously reported, IDOC modified AD 04.04.100, effective date 6/1/2017,
to address the policy and procedure requirement of this subsection of the Settlement Agreement.
Training on these policies and procedures is included in correctional staff training. As reported in
the 2nd Annual Report and the Quarterly Report of October 2018, the Department received a rating
of non-compliance for this requirement because the policy regarding confidentiality was not
completed until over six months past the deadline. The Department will continue to receive a non-
compliance rating for this requirement due to its not meeting its original deadline.


       (XIX)(c): Specific requirement: Confidentiality between mental health personnel and
offenders receiving mental health services shall be managed and maintained as directed in the
section titled “Medical/Legal Issues: 1. Confidentiality” in the IDOC Mental Health Protocol
Manual (incorporated by reference into IDOC AD 04.04.101, section II (E)(2)).

      This section Medical/Legal Issues: 1. Confidentiality in the IDOC Mental Health Protocol
Manual provides:

       Confidentiality of the clinician-offender relationship is grounded in ethical and legal
       principles. It rests, in part, on the assumption that a patient will be deterred from seeking
       care and discussing the important matters relevant to therapy if there is not some
       guaranteed confidentiality in that relationship.  Clinicians should clearly specify any limits
       of confidentiality of the offender-clinician relationship. This disclosure should occur at the
       onset of treatment, except in emergencies. Notwithstanding these necessary limits on
       confidentiality, relevant guidelines should be adhered to, to the greatest degree possible.
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       Requests from outside organizations for Mental Health-related information about offenders
       shall be referred to the Treating Mental Health Professional. The release of any
       Confidential Mental Health Records must be accompanied by a consent form or release of
       confidential information form signed by the offender on an Authorization for Release of
       Offender Mental Health or Substance Abuse Treatment Information, (DOC 0240). In
       addition, the CAO shall be notified of this request.

       Offender disclosures made to a Mental Health Professional in the course of receiving
       Mental Health Services are considered to be confidential and privileged, with the following
       exceptions: Threats to physically harm self-and/or others; Threats to escape or otherwise
       disrupt or breach the security of the institution; Information about an identifiable minor
       child or elderly/disabled person who has been the victim of physical or sexual abuse; All
       other information obtained by a Mental Health Professional retains its confidential status
       unless the offender specifically consents to its disclosure;

       In addition, when confidential offender mental health information is required to be
       disclosed to other correctional personnel as indicated in that section, such information shall
       be used only in furtherance of the security of the institution, the treatment of the offender,
       or as otherwise required by law, and shall not otherwise be disclosed.

       Findings: AD 04.04.100, was updated with an effective date of 6/1/2017. Subsection


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II(F)(2)(b) now establishes the requirement for confidentiality within IDOC. It states “All mental
health services shall, (emphasis added), be conducted in a manner which ensures confidentiality
and sensitivity to the offender regardless of status or housing assignment. The Department
continues to struggle to consistently meet this requirement.

        As previously reported, the best examples of the Department meeting its confidentiality
requirements are the R&C units. As reported in section IV(d), page 17 above, these units are
consistently providing confidential mental health services. Of note, during the current reporting
period, the Monitoring Team toured all of the R&C units in the Department.

         Prior to the August 2018 Evidentiary Hearing, the Monitoring team conducted a chart
review of 92 offenders who either were currently on a crisis watch or had recently been on a crisis
watch. This review revealed that only 69 offenders were receiving daily contacts and that 40%
were not in a confidential setting. Also, MHP progress notes indicated that custody staff was
present during these non-confidential contacts. A tour of Pinckneyville and Menard revealed that
there is the option to perform the daily crisis contacts in a confidential setting although this doesn’t
occur if the offender refuses to leave his cell. A tour of Pontiac revealed that daily crisis checks
generally occur but not on a consistent basis. When they do occur, they are not consistently done
in a confidential manner. A problem in monitoring this issue is the fact that the daily crisis contact
progress notes often omit specifying if they are conducted in a confidential manner.

       Over the course of the reporting period, the Monitoring Team conducted 18 site visits of
14 different facilities. The overall consensus is that the mental health staff are aware of their
responsibilities to provide mental health care in a confidential manner. For example, Dr. Kapoor
found that the JTC was substantially compliant with this requirement. She went on to state that the
RTU housing units and treatment mall contain adequate space for confidential mental health
assessments. Crisis watch assessments are done in a day room of the housing unit, but the area is
separate from the hallway containing inmates’ cells, and the officer is out of earshot.

          The mental health staff throughout the toured facilities also admit that this is not always
possible to conduct confidential mental health interactions given their tremendous workload. That
is, it is much quicker to conduct a cell front evaluation then waiting for an escort officer. The lack
of a sufficient number of escort officers is a tremendous problem throughout the Department.
Finally, the MHPs at Pontiac admitted that the custody staff and not the mental health staff have
final say over which offender can leave his cell. This fact, negatively impacts the staff’s ability to
conduct confidential mental health interactions.

        The Department will continue to receive a rating of non-compliance until they address
these problems related to confidentiality.

        (XIX)(d): Specific requirement: In addition to enforcing the consent requirements set
forth in “Medical/Legal Issues: 2. Informed Consent” in the IDOC Mental Health Protocol Manual,
incorporated by reference into the IDOC AD 04.04.101 section II (E)(2) within sixty (60) days
after the approval of this Settlement Agreement, IDOC shall ensure that Mental Health
Professionals who have a treatment/counseling relationship with the offender shall disclose the
following to that offender before proceeding: the professional’s position and agency; the purpose
of the meeting or interaction; and the uses to which information must or may be put. The MHP


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shall indicate a willingness to explain the potential risks associated with the offender’s disclosures.

       Medical/Legal Issues: 2. Informed Consent in the IDOC Mental Health Protocol Manual
provides:

         Before initiating psychotropic medication, the psychiatric provider must complete at least
         a brief history and Mental Status Examination to determine that the offender (a) has a basic
         understanding that he or she has a Mental Health Problem, (b) understands that medication
         is being offered to produce relief from that problem, and (c) is able to give consent to
         treatment. The clinician must also inform the offender about alternative treatments, the
         appropriate length of care, and the fact that he or she may withdraw consent at any time
         without compromising access to other Health Care. With the exception of Mental Health
         emergencies, informed consent must be obtained from the offender each time the
         Psychiatric Provider prescribes a new class of Psychotropic Medication.52

        Findings: Throughout the first 30 months of the Settlement Agreement, the Department
has struggled with this requirement. As reported in the 2nd Annual Report, “for the first 18 months
of the Settlement Agreement, there was little indication that IDOC paid attention to this important
requirement.”53 “The Monitored approved an omnibus consent form on 11/7/17 in hope that this
new form would help address these deficiencies.”54 The Quarterly Report of October 2018 states
that “a standalone confidentiality and consent from was implemented May 2018.” The Quarterly
Report also states that “the informed consent procedures are addressed in Form 284, the mental
health treatment planning form.” During the current reporting period the Monitoring team has not
encountered this standalone form as the treatment planning form is consistently used to document
informed consent. The continued use of the treatment planning form for the purposes of
establishing informed consent results in there often being two treatment plans for a given offender.
This was the reason why an omnibus form was created in the first place. It is also not lost on the
Monitoring Team that this omnibus form was approved by the Monitor in November 2017 and
wasn’t implemented until May 2018.

XX: CHANGE OF SMI DESIGNATION

        Specific requirement: The determination that an offender, who once met the criteria of
seriously mentally ill, no longer meets such criteria must be made by the offender’s mental health
treatment team and documented in the offender’s mental health records. Until mental health
treatment teams are established, this function shall be performed by a treating MHP.

       Findings: The Department does not currently track this information on a system-wide
basis. The number of SMI-designated offenders has remained basically unchanged over the

52
   The Manual defines “Informed Consent”: “Informed Consent is defined as consent voluntarily given by an
offender, in writing, after he or she has been provided with a conscientious and sufficient explanation of the nature,
consequences, risks, and alternatives of the proposed treatment.” This section of the Manual also provides:
“Offenders should be advised of the Limits of Confidentiality prior to their receiving any Mental Health Services.”
This requirement is nearly identical to the requirement discussed above regarding confidentiality, so the team does
not address it again here under Informed Consent.
53 nd
   2 Annual Report page 89.
54
   Ibid.


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reporting period.55 The procedure outlined by this requirement is being followed. This issue
encountered by the Monitoring Team is that there is a large group of severely mentally ill offenders
who do not carry the SMI designation. As important as this observation is, it is not pertinent to this
section of the Settlement Agreement. Finally, the Monitor has not received any reports during the
current reporting period that mentally ill offenders are losing their SMI status prior to a disciplinary
hearing.

XXI: STAFF TRAINING

           Summary: IDOC timely submitted a staff training plan. The implementation of
           that plan was also accomplished in a timely manner.


       XXI(a): Specific requirement: Within one (1) year following the approval of the
Settlement Agreement, Mental Health Administrative Staff referenced in Section XI(d) of this
Settlement Agreement, IDOC shall develop a written plan and program for staff training as
provided in subsection (b), below.

        Findings: As previously reported, IDOC has met this requirement by submission of this
plan and program for staff training to the Monitor within one (1) year following the approval of
the Settlement Agreement.

        XXI(b): Specific requirement: Within two (2) years following the approval of this
Settlement Agreement, all IDOC and vendor staff who interact with offenders shall receive
training and continuing education regarding the recognition of mental and emotional disorders. As
directed in the section titled “Training” in the IDOC Mental Health Protocol Manual (incorporated
by reference into IDOC Administrative Directive 04.04.101, § II(E)(2)), this training shall include
material designed to inform the participants about the frequency and seriousness of mental illness,
and how to treat persons who have mental illness or persons manifesting symptoms of mental
illness. In addition to training on confidentiality as provided in Section XXII (a), above, this
training shall incorporate, but need not be limited to, the following areas: i) The recognition of
signs and symptoms of mental and emotional disorders most frequently found in the offender
population; ii) The recognition of signs of chemical dependency and the symptoms of narcotic and
alcohol withdrawal; iii) The recognition of adverse reactions to psychotropic medication; iv) The
recognition of signs of developmental disability, particularly intellectual disability; v) Types of
potential mental health emergencies, and how to approach offenders to intervene in these crises;
vi) Suicide prevention; vii) The obligation to refer offenders with mental health problems or
needing mental health care; and viii) The appropriate channels for the immediate referral of an
offender to mental health services for further evaluation, and the procedures governing such
referrals.

      Findings: As previously reported, Chief Lindsay confirmed that this training requirement
was completed within the requisite timeframe.



55
     5112 on 5/9/18 & 5068 on 9/19/18. This is the most current data available.


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       XXI(c): Specific requirement: Within one (1) year following the approval of the
Settlement Agreement, Mental Health Administrative Staff referenced in Section XI(d) of this
Settlement Agreement, IDOC shall develop a written plan for the orientation, continuing
education, and training of all mental health services staff.

       Findings: As previously reported, IDOC has developed a written plan for the orientation,
continuing education, and training of all mental health services staff within the deadline of May
22, 2017.


XXII: PARTICIPATION IN PRISON PROGRAMS

     Summary: This requirement was reviewed by the Monitoring Team during
     their site visits. In particular, Dr. Kapoor found that the JTC was in full
     compliance with this measure.

  (XXII)(a): Specific requirement: Unless contraindicated as determined by a licensed MHP,
IDOC shall not bar offenders with mental illness from participation in prison programs because of
their illness or because they are taking psychotropic medications. Prison programs to which
mentally ill offenders may be given access and reasonable accommodations include, but are not
limited to, educational programs, substance abuse programs, religious services, and work
assignments. Offenders will still need to be qualified for the program, with or without reasonable
accommodations consistent with the Americans with Disabilities Act and the Section 504 of the
Rehabilitation Act, under the IDOC’s current policies and procedures.


         Findings: This requirement was reviewed by the Monitoring Team during their site
visits. Nothing was found to suggest that SMI offenders are barred from participating in the few
prison programs that currently exist. Dr. Kapoor particularly looked into this issue during her
tour of the Joliet Treatment Center on 10/22/18. She found the facility is compliant with the
provisions in this section. During her site visit, she did not encounter any inmates who were
denied access to educational, religious, work, or substance abuse programs because of their SMI
designation. However, she noted her previous concern that the Department does not seem to
have a plan for allowing SMI offenders to earn early release credits. As she understands the
situation, most SMI offenders do not have access to the specific IDOC programs that offer early
release credits, and they cannot substitute treatment activities for these programs. Although not
specifically addressed by the Settlement Agreement, in her view, the opportunity to earn early
release credits should be afforded to SMI offenders.


XXIII: TRANSFER OF SERIOUSLY MENTALLY ILL OFFENDERS FROM FACILITY
TO FACILITY
       Summary: No rating will be assigned due to the Monitoring Team’s not
       reviewing this section during the current reporting period.




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   XXIII(a): Specific requirement: To ensure continuity of treatment, unless a SMI offender is
being transferred to another facility for clinical reasons, IDOC shall make best efforts to ensure
that the offender’s treating MHP is consulted prior to transfer. If such a consultation is not possible
prior to transfer, the MHP shall be consulted no more than seventy-two (72) hours after
effectuation of transfer. If a transfer is being made for security reasons only, the reasons for the
transfer and the consultation with the offender’s treating Mental Health Professional shall be
documented and placed in the offender’s mental health file.

        Findings: The Monitoring Team did not review this requirement during the current
reporting period.

        XXIII(b): Specific requirement: When a SMI offender is to be transferred from one
prison to another, the sending institution, using the most expeditious means available, shall notify
the receiving institution of such pending transfer, including any mental health treatment needs.

        Findings: The Monitoring Team did not review this requirement during the current
reporting period.

        XXIII(c): Specific requirement: The provisions of this section shall be fully implemented
no later than one (1) year after the approval of this Settlement Agreement.

       Findings: The Department will not receive a rating due to the Monitoring Team not fully
reviewing this subsection.


XXIV: USE OF FORCE AND VERBAL ABUSE

     Summary: When formal use of force incidents are initiated and completed, they
     generally meet the requirements of this section. However, an informal use of force and
     retaliation system carried out by the custody staff exists at Pontiac. The details of this
     system are provided in the body of this section of the report. There is also evidence of
     intimidation of the mental health staff at Pontiac by the custody staff. Both of these
     issues have been present at Pontiac throughout the life of the Amended Settlement
     Agreement.

     It is my opinion as Monitor that the Department has not done anything to effectively
     address this ongoing problem at Pontiac.


       Specific requirements: IDOC agrees to abide by Administrative Directives 05.01.173 and
03.02.108(B)56 and 20 Ill. Admin. Code § 501.30
       Section 501.30 of the code, “Resort to Force,” provides:
   a) Force shall be employed only as a last resort or when other means are unavailable
       or inadequate, and only to the degree reasonably necessary to achieve a permitted

56
  AD 03.02.108(B) does not appear to be the correct citation. The monitoring team believes the
Settlement contemplated AD 03.02.108(I)(B).

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      purpose.
   b) Use of force shall be terminated as soon as force is no longer necessary.
   c) Medical screening and/or care shall be conducted following any use of force, which
      results in bodily injury.
   d) Corporal punishment is prohibited.

       AD 05.01.173, “Calculated Use of Force Cell Extractions” provides:

       F. General Provisions

       1. Use of force shall be terminated as soon as the need for force is no longer necessary.

        2. Nothing in this directive shall preclude staff from immediately using force or applying
  restraints when an offender’s behavior constitutes a threat to self, others, property, or the safety
  and security of the facility.

       3. Restraints shall be applied in accordance with Administrative Directive 04.04.103 or
05.01.126 as appropriate.

        4. Failure by the offender to comply with the orders to vacate is considered a threat to self,
others, and the safety and security of the institution and may result in the use of chemical agents
in accordance with Department Rule 501.70

       5. Unless it is not practical or safe, cell extractions shall be video recorded from the time
circumstances warrant a cell extraction until the offender is placed in the designated cell.

        NOTE: Any interruption in recording, including but not limited to changing a video tape
or battery shall orally be documented on the video tape.

       6. Use of force cell extractions shall be performed by certified Tactical Team members as
designated by the Tactical Team Commander. The Tactical Team Commander shall designate one
or more members who may function as the Tactical Team Leader.

       G.      Equipment

        1. The following equipment items shall be available to and used by Tactical Team members
when conducting a calculated use of force cell extraction. a. Orange jump suits; b. Protective
helmets and full-face shields; c. Knife resistant vests; d. Protective gloves; e. Restraints minimally
including hand cuffs and leg irons; f. Protective convex shields; g. Batons (36-inch length by 1.5
inches in diameter of oak or hickory); h. Gas masks; i. Leather boots, purchased by the employee,
a minimum of 8 inches high for ankle protection; and j. Video camera with a minimum of two
batteries and a video tape.

       2. Chemical agents shall be available and may be used in accordance [with] Department
  Rule 501.70.

       501.70: Use of Chemical Agents in Cells (Consent Decree) provides:



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     a) This Section applies only to the transfer of a committed person who has refused
     to leave his cell when so ordered. The transfer of a committed person shall be
     undertaken with a minimal amount of force. Only when the individual threatens
     bodily harm to himself, or other committed persons or correctional officers may
     tear gas or other chemical agents be employed to remove him.

     b) Prior to the use of tear gas or other chemical agents, the committed person shall
     be informed that such tear gas or other chemical agents will be used unless he
     complies with the transfer order.

     c) The use of tear gas or other chemical agents may be authorized only by an officer
     the rank of Captain or above. (For purposes of this rule, the shift supervisor or
     higher authority in the Juvenile Division may authorize the use of tear gas or other
     chemical agents.)

     d) Precautionary measures shall be taken to limit the noxious side effects of the
     chemical agents. In addition, the following procedures shall be followed whenever
     tear gas or other chemical agents are used to compel a committed person to leave
     his cell:

            1) If circumstances allow, ventilation devices, such as windows and fans,
            shall be readied prior to the use of tear gas or other chemical agents. In any
            event, these devices shall be employed immediately after tear gas or other
            chemical agents are used. The purpose of this procedure is to minimize the
            effect of tear gas or other chemical agents upon other committed persons
            located in the cell house.

            2) Gas masks shall be available for use by correctional officers at the time
            the tear gas or other chemical agent is used.

            3) When a gas canister is placed inside a committed person’s cell, the gas
            will quickly take effect and correctional officers shall enter the cell as soon
            as possible to remove the individual.

            4) The committed person shall be instructed by the correctional officer to
            flush his eyes and skin exposed to the chemical agent with water. If the
            individual appears incapable of doing so, a member of the medical staff
            present shall perform this task. If no member of the medical staff is present,
            the correctional officer shall undertake this procedure.

     e) An incident report shall be prepared immediately after the use of the chemical
     agent. This report shall be signed by each correctional officer involved in the
     transfer, who may indicate disagreement with any fact stated in the report.

     f) The Chief Administrative Officer shall examine these incident reports to ensure
     that proper procedures were employed. Failure to follow proper procedures will
     result in disciplinary action.



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        g) Before Section 501.70 is modified, legal staff must be consulted. This Section
        was promulgated pursuant to Settlement litigation by order of the court. It may not
        be modified without approval of the court.

3. The following equipment items may be used by Tactical Team members when
conducting a calculated use of force cell extraction. a. Throat protectors (cut resistant); and
b. Elbow, groin, knee, and shin protectors

H.      Tactical Team Structure for Calculated Use of Force Cell Extractions

The Tactical Team shall consist of six certified Tactical Team members for a single
offender cell extraction and seven certified Tactical Team members for a multiple offender
cell extraction. One member of the team shall serve as the Tactical Team Leader; however,
the team leader shall not be the person responsible for video recording the incident.

1. For a single offender cell extraction, the Tactical Team Commander shall
designate members who shall be responsible for following functions. a. The shield
person (also known as Number 1 person) shall use a shield and be the first member
to enter the cell; secure the offender against the wall, bed, or floor; secure the
offender’s head and upper body; and orally communicate with the offender. b. Two
members (also known as Number 2 and 3 persons) shall secure the offender’s arms
and hands and place restraints on the offender’s wrists and ankles. c. A member
(also known as Number 4 person) shall secure the doorway with a baton to prevent
the offender from escaping, and if necessary, to assist in the application of
restraints. d. A member (also known as Number 5 person) shall provide direct
orders to the offender prior to the extraction; open the cell door to initiate the
extraction; remain outside of the cell with a baton in the event the offender should
attempt to escape from the cell; and deploy chemical agents if necessary. e. The
video recording member (also known as Number 6 person) shall remain outside of
the cell and video record the extraction including but not limited to: the warnings
to the offender prior to the use of force; the issuance of three direct orders to vacate
the cell; the notification that failure to comply constitutes a threat to self, others,
and the safety and security of the institution; removal of the offender from the cell;
escorting the offender for and treatment of medical care; and placement of the
offender in a designated area.

2. For a multiple offender cell extraction, the Tactical Team Commander shall
designate members who shall be responsible for following functions. a. The shield
person (also known as Number 1 person) shall use a shield and be the first member
to enter the cell; secure the first offender encountered against the wall, bed, or floor;
secure the offender’s head and upper body; and orally communicate with the
offender. b. The assistant shield person (also known as Number 2 person) shall use
a shield; secure the second offender encountered against the wall, bed, or floor;
secure the offender’s head and upper body; and orally communicate with the
offender. c. A member (also known as Number 3 person) shall provide immediate
back-up to the team member in most need of assistance by securing the offender’s
arms and hands and placing restraints on the offender’s wrists and ankles. d. A


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member (also known as Number 4 person) shall provide immediate back-up to the
team member with the other offender by securing the offender’s arms and hands
and placing restraints on the offender’s wrists and ankles. e. A member (also known
as Number 5 person) shall provide immediate back-up to the team members with
the most combative offender by securing the offender’s arms and hands for
placement of restraints. f. A member (also known as Number 6 person) shall
provide direct orders to the offender prior to the extraction; open the cell door to
initiate the extraction; secure the doorway with a baton to prevent an offender from
escaping, and if necessary, deploy chemical agents and assist in the application of
restraints. g. The video recording member (also known as Number 7 person) shall
remain outside of the cell and video record the extraction including but not limited
to: the warnings to the offender prior to the use of force; the issuance of three direct
orders to vacate the cell; the notification that failure to comply constitutes a threat
to self, others, and the safety and security of the institution; removal of the offender
from the cell; escorting the offender for and treatment of medical care; and
placement of the offender in a designated area.

I.     Calculated Use of Force Cell Extraction Procedures

1. Once an officer has ordered an offender to move from the cell and the offender
refuses, the officer shall report the refusal through the chain of command.

2. The Lieutenant or above shall again order the offender to vacate the cell. If the offender
refuses, the Lieutenant or above shall report the refusal through the chain of command.

3. On site personnel shall begin video recording the offender’s actions.

4. When time and circumstances permit, the Shift Commander shall obtain the approval of
the Chief Administrative Officer for calculated use of force cell extractions. In all other
situations, the Shift Commander or above shall approve the cell extraction.

5. If the decision is made to proceed with a cell extraction, the Shift Commander shall
activate the Tactical Team.

6. The Zone Lieutenant or above shall: a. Secure the area by removing all non-involved
staff and non-secured offenders; b. Ensure the video camera is present and recording the
offender’s actions; and c. Notify medical staff of the pending cell extraction.

7. Upon notification of a pending cell extraction, Health Care staff shall check the
offender’s medical file for pertinent medical information and be present in a secure area
that is close to, but not in the immediate vicinity of the cell extraction.

8. Upon arrival of the Tactical Team, the Zone Lieutenant or above shall: a. Brief the
Tactical Commander of pertinent information; b. Ensure the transfer of the video tape to a
designated Tactical Team member to continue recording; c. Notify the Duty Administrative
Officer of the incident, pending cell extraction, and other information as it becomes
available; and d. Be available, if needed, but remain out of the immediate area of the cell
extraction.


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       9. Prior to the use of force, the Tactical Team leader shall: a. Orally attempt to
       obtain the offender’s voluntary compliance to vacate the cell or area prior to the use
       of force. In cells or areas with two or more offenders, each offender shall be given
       the opportunity to comply and be voluntarily removed. Whenever possible,
       offenders who comply shall be placed in restraints and removed prior to action
       being taken. b. Issue three direct orders for the offender to comply. c. Advise the
       offender that failure to comply with the orders to vacate may result in the use of
       chemical agents.

       10. If the offender does not vacate the cell voluntarily, the Tactical Team shall remove the
       offender from the cell.

       11. Following removal from the cell, the Tactical Team shall escort the offender to a
       designated area to be examined by Health Care staff.

       12. Following the completion of the cell extraction including medical care, the Tactical
       Team member who video recorded the incident shall: a. Label the video tape with the date
       and location of the incident, offender name(s) and number(s), and the name of the employee
       who recorded the incident; b. If available, activate any security measures such as breaking
       the security tab on the VHS (Video Home System) video tape to prevent the video tape
       from being erased or recorded over; c. Tag the video tape as evidence and process it in
       accordance with Administrative Directive 01.12.112.

       13. Unless otherwise directed to maintain longer, the video tape shall be retained in a secure
       area designated by the Chief Administrative Officer for three years following the date of
       the extraction.

       14. Each employee who participated in the cell extraction or who was otherwise involved
       shall complete an Incident Report and other appropriate reports documenting the incident
       in its entirety. When necessary, the incident shall be reported in accordance with
       Administrative Directive 01.12.105. (AD 01.12.105 provides general instructions on the
       reporting of “unusual incidents.”)

       15. The Shift Commander shall ensure: a. A search of the involved area is completed after
       removal of the offender; b. The area is decontaminated if chemical agents were used; and
       c. Appropriate reports are completed and processed.

       16. The Shift Commander or above shall debrief with the Tactical Team.

       Findings: The monitoring team did not perform a comprehensive, data-driven analysis of
this requirement during this monitoring period. Based on numerous site visits and overall
familiarity with the use of force policies and procedures, it is my opinion as Monitor that when a
formal use of force incident is initiated and completed, the Department is usually meeting the
requirements of this subsection.

       There exists, however, an informal use of force system at Pontiac. This informal use of
force system may exist at other facilities but I have no objective evidence to support that. I am



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absolutely convinced of the existence of this informal use of force system at Pontiac. The following
are the bases of my opinion:

   1. Hundreds of interviews with offenders describing in explicit details how the custody staff
      physically assault the mentally ill offenders. The details of these assaults are often
      corroborated by offenders living in proximity to the offender who has been assaulted.
   2. The details of some of these assaults have been further corroborated by the mental health
      staff.
   3. The details of some of these assaults have been further corroborated by the offender’s
      medical record.
   4. During my site visits, I often encounter mentally ill offenders who present with injuries to
      their heads and face. I have even encountered mentally ill offenders with newly missing
      teeth and physical exam evidence of recent trauma to their faces. If I had encountered these
      types of injuries with my own patients, I would be obligated to report them to the police.
   5. Finally, I have reviewed hundreds of filings to the Court regarding these incidents of
      physical abuse.

   I have also encountered the presence of an elaborate system of retaliation perpetrated by the
   custody staff against the mentally ill offenders at Pontiac. These retaliatory acts include, but
   are not limited to:

   1. Withholding of food/visits/phone calls.
   2. Not allowing certain mentally ill offenders to attend required structured or unstructured
      activities.
   3. Setting up certain mentally ill offenders for assault by labeling them “snitches.”
   4. Providing mentally ill offenders with the means for them to perform self-injurious
      behaviors (i.e. staples, paperclips, or other sharp objects.)
   5. Planting incriminating evidence in the cells of mentally ill offenders, such as weapons or
      other forms of contraband.

       As Monitor, I do not make these allegations frivolously. I have been relaying this
information to parties informally and in writing throughout my tenure as Monitor. Nothing has
come of my reports. In fact, the staff at Pontiac are more strident in their actions and dealings with
me since I have been formally reporting their abuse. Regardless of Chief Lindsay’s claims to the
contrary, the Department has done nothing to curb these abuses.

       During the next reporting period, I will be seeking outside legal consultation, at my own
expense, to determine what professional and ethical obligations I have to report this abuse to
outside police agencies. I will keep the Department informed of my progress in this regard.




Professional Conduct

      AD 03.02.108(I)(B), “Standards of Conduct” provides: The Department shall require
employees to conduct themselves in a professional manner and, whether on duty or off duty, not


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engage in conduct that is unbecoming of a State employee or that may reflect unfavorably on or
impair operations of the Department.


          Findings:

        As was reported in the 2nd Annual Report “there have been several critical issues in regards
to ‘Professional Conduct’ during the reporting period. The first is a series of vandalisms that
occurred to the cars of mental health staff while they were parked in the staff parking lot at Logan.
Several cars were ‘keyed’ between December 2016 and October 2017. A new Chief
Administrative Officer, Warden Austin, came to the facility in August 2017. An investigation
began during the summer of 2017. The Monitor has not been informed of the results of this
investigation. The working hypothesis has been that the perpetrators of this vandalism are custody
staff upset about the ever increasing mental health focus of the facility. I must emphasize that this
is just a hypothesis at this time and has not been proven. Regardless, this is a very significant
incident which Warden Austin is taking very seriously. I look forward to being informed of the
results of the investigation into these incidents.”57 The Monitoring Team has not been informed of
the results of this investigation.

        There remains the specter of intimidation of the mental health staff by the custody staff at
Pontiac. As Monitor, I held a focus group with the QMHPs at Pontiac on 9/11/18. Of note, an
attorney from Wexford was present for the entire meeting. I have interviewed thousands of
individuals over the course of my psychiatric career and it was blatantly obvious that the QMHPs
had been thoroughly coached about what they should say. Even in this very hostile environment,
the QMHPs reported that custody staff has the final say about which offenders can come out of
their cells. They also reluctantly admitted that they had all been made aware that the custody staff
acts as gatekeepers to the Crisis Intervention Team.

        Finally, in my role as Monitor, the custody staff at Pontiac has attempted to intimidate me
during my interviews with mentally ill offenders. This occurred on 10/18/18 during my interviews
with mentally ill offenders who had submitted filings with the Court. Custody staff were standing
immediately next to the door to the interview room and could clearly hear my conversations with
the offenders. I repeatedly ask the custody officer to back away from the door and I was told he
was there “for security.” Of note, this has never happened in all of my previous tours of Pontiac.
To further highlight this frankly ridiculous claim of “for security”, the offender in question was
handcuffed behind his back, shackled to a metal stool which was built into the floor, and locked
into a cage. This claim of “for security” was reiterated by the custody chain of command including
Warden Kennedy and the Deputy Director for the Central District, John Eilers. Thankfully, Chief
Lindsay intervened and I was able to proceed with my monitoring duties.




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     2nd Annual Report, Pages 102 & 103.


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XXV: DISCIPLINE OF SERIOUSLY MENTALLY ILL OFFENDERS


    Summary: Although the Department has made progress in this section, it is still not
    meeting all of the requirements specified in Administrative Directive 05.12.103.

    The current review did not find any evidence of mentally ill offenders being punished for
    self-injurious behaviors. The Department is yet to consult with the Monitor on this issue,
    however.

    Disciplinary procedures are taking place in a mental health treatment context for
    offenders assigned to an RTU level of care. Inpatient services were not monitored during
    the reporting period.

    A Behavioral Treatment Program is yet to be initiated within the Department. There is a
    small Behavioral Management Unit operating at the JTC. The Monitoring team is
    unclear if this BMU is meant to satisfy the requirements of XXV(d).


        XXV(a): Specific requirement: IDOC has implemented system-wide policies and
procedures governing the disposition of disciplinary proceedings in which SMI offenders face
potential segregation terms as a result of a disciplinary hearing for a major offense as defined in
20 Ill. Admin. Code section 504.50(d)(3). Those policies and procedures are contained in AD
05.12.103.

       AD 05.12.103 provides:

       G. Requirements

       The Chief Administrative Officer of each facility that houses SMI offenders shall:

       1. Establish and maintain a list of offenders identified as SMI. This list shall be made
       available to the Adjustment Committee upon request.

       2. Ensure all members of the Adjustment Committee receive training on administration of
       discipline and hearing procedures.

       H. Disciplinary Process

       1. When an offender, who has been identified as SMI, is issued an Offender Disciplinary
       Report, DOC 0317, for a major offense where the disciplinary action may include
       segregation time:

       a. The shift commander shall, within 24 hours, notify the facility’s Office of Mental Health
       Management.

       b. The facility Mental Health Authority shall assign a reviewing MHP who shall review
       the offender’s mental health record and DOC 0317 and, within 72 hours of the original


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notification, provide a completed Mental Health Disciplinary Review, DOC 0443 to the
hearing investigator who shall consider the report during his or her investigation in
accordance with Department Rule 504. The DOC 0443 shall, at a minimum, provide:

       (1) The reviewing MHP’s opinion if, and in what way, the offender’s mental illness
       contributed to the underlying behavior of the offense for which the DOC 0317 was
       issued.

       (2) The reviewing MHP’s opinion of overall appropriateness of placement in
       segregation status based on the offender’s mental health symptoms and needs;
       including, potential for deterioration if placed in a segregation setting or any reason
       why placement in segregation status would be inadvisable, such as the offender
       appearing acutely psychotic or actively suicidal, a recent serious suicide attempt or
       the offender’s need for immediate placement in a Crisis Treatment Level of Care;
       and

       (3) Based on clinical indications, recommendations, if any, for a specific term of
       segregation, including no segregation time, or specific treatment during the term of
       segregation.

2. In accordance with Department Rule 504: Subpart A, all disciplinary hearings shall be
convened within 14 days of the commission of the offense; however, if the MHP provides
the offender is unable to participate due to mental health reasons, a stay of continuance
shall be issued until such time the reviewing MHP determines the offender available to
participate.

a. The Adjustment Committee shall take into consideration all opinions provided on the
DOC 0443 and may request the reviewing MHP to appear before the committee to provide
additional testimony, as needed.

b. If the MHP recommended, based on clinical indications, a specific segregation term, that
no segregation time be served, or that a specific treatment during segregation is necessary,
the committee shall adopt those recommendations.

c. If the Adjustment Committee disagrees with the recommendation of the reviewing MHP
and recommends a more restrictive disciplinary action, the Adjustment Committee shall
submit an appeal to the Chef Administrative Officer (CAO). The CAO shall:

       (1) Review the recommendations of the reviewing MHP and the Adjustment
       Committee;

       (2) Consult with the reviewing MHP regarding the appropriateness of the
       disciplinary action recommended by the Adjustment Committee; and

       (3) Provide his or her final determination. Any deviation from MHP’s
       recommendation shall be documented in writing on the Adjustment Committee
       Summary, DOC 0319, and shall be maintained as a permanent part of the offender’s
       disciplinary file.


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       d. In accordance with Department Rule 504.80, a copy of the DOC 0317 and DOC 0319
       shall be forwarded to the CAO for review and final determination. If the Adjustment
       Committee’s final disposition recommends a term of segregation, the CAO shall compare
       the recommendation to that of the 0443.

       e. All information, including the recommendation of the reviewing MHP and disciplinary
       action imposed, shall be documented in the Disciplinary Tracking System.

       3. No later than the last day of the month following that being reported, the Adjustment
       Committee shall compile and submit to the respective Deputy Director a summary of the
       Adjustment Committee hearing of offenders identified as SMI, who were issued a DOC
       0317 for a major offense for which the disciplinary action included segregation time.

       a. The summary shall include the offense for which the DOC 0317 was issued, reviewing
       MHP’s opinions and recommendations, and outcome and disciplinary action imposed by
       the Adjustment Committee.

       b. Any recommendations by the Deputy director to change imposed disciplinary action
       shall be discussed with the Chief Administrative Officer, treating and reviewing MHP, and
       as necessary, the Adjustment Committee. Approved adjustments shall be made
       accordingly.

       4. A copy of the DOC 0319 shall be provided to the offender.


        Findings: In the Quarterly Report of October 2018, the Department takes the position
that “XXV(a) does not impose any obligations on IDOC. Instead, it states that IDOC ‘has
implemented system-wide policies and procedures governing the disposition of disciplinary
proceeds (sic) in which SMI offenders face potential segregation terms as a result of a
disciplinary hearing for a major offense…’ IDOC affirms that these policies and procedures have
been and remain implemented.” The Monitoring Team agrees with the fact that “system-wide
policies and procedures have been implemented.” The specifics of this system are found in AD
05.12.103, which explicitly lists the requirements of XXV(a). That is what’s being monitored in
this subsection.

        For the purposes of these requirements, Reena Kapoor, M.D., conducted the following
data-driven analysis:

She performed an updated review of the disciplinary process for seriously mentally ill (SMI)
offenders in the Illinois Department of Corrections (IDOC). The opinions in this report are based
on her review of the following documents:

   1. IDOC Administrative Directive 05.12.103, “Administration of Discipline for Offenders
      Identified as Seriously Mentally Ill.”

   2. IDOC October 2018 Quarterly Report re: Rasho agreement




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   3. Adjustment Committee reports, Mental Health Disciplinary Review (DOC 0443), and
      Offender Disciplinary reports (DOC 0317) for a total of 125 disciplinary infractions
      adjudicated during September 2018, representing approximately 20% of incidents
      involving SMI offenders at the following facilities:

           1. Big Muddy River – one incident
           2. Centralia – four incidents
           3. Danville – one incident
           4. Decatur – five incidents
           5. Dixon – 18 incidents
           6. East Moline – one incident
           7. Graham—one incident
           8. Hill – one incident
           9. Illinois River – six incidents
           10. Joliet Treatment Center – four incidents
           11. Kewanee – one incident
           12. Lawrence – 17 incidents
           13. Lincoln – two incidents
           14. Logan – 12 incidents
           15. Menard – seven incidents
           16. Pinckneyville – eight incidents
           17. Pontiac – 19 incidents
           18. Robinson – one incident
           19. Shawnee – two incidents
           20. Sheridan – four incidents
           21. Stateville – eight incidents
           22. Vienna – one incident
           23. Western Illinois – one incident

Overall Findings

I see incremental improvement since my last report in November 2017. Although some
problems persist, I see areas in which IDOC facilities have taken into account the monitoring
team’s recommendations and completed more meaningful assessments of SMI inmates in the
disciplinary process. First, I will mention the good things, some of which I also noted in
previous reports:

   1. Segregation is not being used as a punishment (for SMI offenders) for 300- and 400-level
      infractions at any IDOC facility.

   2. The Adjustment Committee consistently receives and reviews input from Mental Health
      regarding SMI inmates; I found just one possible exception in reviewing 125 disciplinary
      infractions.

   3. I did not see any cases in which inmates received disciplinary infractions for suicide
      attempts, self-injury, or suicide attempts.



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   4. Evaluations of offenders by MHPs (as documented in the DOC 0443 forms) appeared
      more individualized overall and contained less “boiler plate” language. In addition, I did
      not see any forms that described inmates using pejorative or non-clinical language.

   5. In the vast majority of cases, the Adjustment Committee is following IDOC’s policy
      05.12.133, Section H.2, which states, in relevant part:

              If the MHP recommended, based on clinical indications, a specific segregation
              term, that no segregation time be served, or that a specific treatment during
              segregation is necessary, the committee shall adopt those recommendations
              (emphasis added).

              If the Adjustment Committee disagrees with the recommendation of the reviewing
              MHP and recommends a more restrictive disciplinary action, the Adjustment
              Committee shall submit an appeal to the Chief Administrative Officer (CAO).

       In the 125 records I reviewed, the Adjustment Committee issued a sanction that was
       equal to or less than the Mental Health recommendation in all but two cases. In these two
       cases, the Adjustment Committee documented the reason for issuing a higher sanction,
       though seemingly without submitting an appeal to the Chief Administrative Officer.

Areas for improvement include:

   1. The quality of mental health (MH) evaluations documented on the DOC 0443 form is
      variable. In the vast majority of evaluations that I reviewed, the MHP concluded that
      mental illness did not contribute to the offense, and he/she did not clearly state a rationale
      for this conclusion. Although the 0443 reports might be kept brief in order to protect the
      confidentiality of the inmate’s mental health information, the MH clinician’s rationale
      should be documented somewhere (likely a progress note in the medical chart). If IDOC
      facilities are already doing this, then I would ask that copies of the documentation be
      provided to the monitoring team. If they are not doing this, I recommend that they begin
      as soon as possible.

   2. MHPs are still not performing face-to-face assessments of SMI offenders after they are
      charged with disciplinary infractions in most cases; the 0443 forms are completed based
      on a chart review and/or discussion amongst the mental health staff. I did see some
      improvement in this area, as MHPs at Pinckneyville, Robinson, and Shawnee appear to
      be interviewing the inmates about the circumstances of disciplinary infractions. Also, in
      one of the seven cases I reviewed at Menard, the inmate was interviewed by an MHP
      after the disciplinary infraction.

   3. When making specific recommendations regarding segregation time, MHPs at different
      facilities appear to be using different standards. For example, at some facilities the
      segregation recommendation was uniformly one half of the typical sanction for the
      offense, while at other facilities the recommendation was seemingly chosen at random.



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   In one case at Dixon, an MHP recommended segregation time of “0 to 9 months,” which
   struck me as a rather wide range. In another case at Dixon, two inmates were charged
   with the same offense after being found with contraband pills in their cell, but the MHPs
   recommended different segregation time (0-3 months for one inmate, 0-6 months for the
   other) without documenting a rationale for the discrepancy. As noted in my previous
   reports, additional training for the mental health staff across IDOC regarding how/why to
   recommend particular disciplinary sanctions to the Adjustment Committee may be
   helpful.

4. Overall, MHPs found mitigating factors related to mental health in more disciplinary
   cases in September 2018 than during my previous reviews. Out of the 125 infractions I
   reviewed from September, mitigating factors were found in 15 cases. However, I noticed
   an unusual pattern in which the facilities with the most disciplinary infractions involving
   SMI offenders—Dixon, Pontiac, Logan, and Lawrence—almost uniformly found that
   mental illness did not contribute to the offense behavior. I reviewed 66 infractions at
   these facilities, and in 65 of these cases the MHP concluded that mental illness was not a
   factor in the offense. In the one remaining case (at Dixon), the MHP found that mental
   illness “minimally” contributed. I do not know what exactly to make of this pattern, but
   it raises concerns about the thoroughness of the MHPs’ evaluations and/or the culture
   around inmate discipline at these facilities.

   Additional Requirements:

   I. Observation and Follow-up

   1. Observation of offenders in segregation shall be conducted in accordance with existing
   policies and procedures.

   Findings: Weekly cell front rounds are generally being performed in segregation by BHTs.

2. Referrals for mental health services and response to offenders with serious or urgent mental
   health problems, as evidenced by a sudden or rapid change in an offender’s behavior or
   behavior that may endanger themselves or others if not treated immediately, shall be
   handled in accordance with AD 04.04.100.

   Findings: The Department has not been able to satisfy this requirement at any time during
   the life of the Amended Settlement Agreement. This is largely due to gross understaffing
   of MHPs at all of the monitored facilities. This is further evidenced by the significant
   backlog of Mental Health Evaluations, 231 as of 11/16/18. Mentally ill offenders in
   segregation must therefore rely on the Crisis Intervention Team. As described in section
   V(g) of this report, significant problems exist with this process.

3. If, at any time, clinical indications suggest continued placement in segregation status poses
   an imminent risk of substantial deterioration to the an [sic] offender’s mental health, the
   information shall be reviewed by the facility mental health authority.

   Findings: This is not occurring. The Department tolerates the existence of serious mental


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       illness for those offenders on segregation status. This means that this point of “clinical
       indication” is well past by the time the offender is seen, usually by the Crisis Intervention
       Team. Given all the problems associated with the Crisis Intervention Team, offenders are
       allowed to decompensate before they get any help.

   4. Any recommendations by the mental health authority for reduction in segregation time or
      termination of segregation status shall be discussed with the CAO.

       Findings: The Department is compliant with this requirement.

       5. The CAO shall adjust the segregation term in accordance with the recommendations or,
       if the CAO does not agree with the recommendation of the mental health authority, he or
       she shall submit the issue to the respective Deputy Director for final determination.

       Findings: The Department is compliant with this requirement.

        (XXV)(b): Specific requirement: No later than one (1) year after approval of this
Settlement Agreement, IDOC, in consultation with the Monitor, shall develop and implement
policies and procedures to provide that, for mentally ill offenders, (i) punishment for self-injurious
behavior (e.g., suicide attempts or self-mutilation) is prohibited; (ii) punishment for reporting to
IDOC staff or vendor staff feelings or intentions of self-injury or suicide is prohibited; and (iii)
punishment for behavior directly related to self-injurious behavior, such as destruction of state
property, is prohibited unless it results in the creation of a weapon or possession of contraband.

        Findings: As stated previously, as Monitor, I have never been consulted about this issue.
In her review of section XXV for the 2nd Annual Report, Dr. Kapoor stated “In contrast to my
November 2017 findings, I did not see any cases in which inmates received Disciplinary
Infractions for behaviors that would be better handled through clinical intervention, such as
refusing medication, hiding pills or self-harm.”

         In her current review, Dr. Kapoor reports “For the most part, inmates did not receive
disciplinary infractions for behaviors that would better be handled through clinical intervention
(e.g., cheeking or refusing medications). However, there was one case at Western Illinois in
which I question whether a disciplinary infraction should have been issued at all. In that case, an
inmate became angry and threatening during a Crisis Watch evaluation, and the MHP noted that
he was also awaiting transfer to an RTU bed at another facility. He was issued a sanction of 30
days in segregation for this incident. Given the presumed severity of mental illness and active
symptoms in an inmate awaiting an RTU bed, I would strongly urge the facility to consider
alternatives to segregation in such cases.” The Department will receive a rating of compliance
despite this one egregious example.

        Finally, the Quarterly Report of October 2018 questions why the Department received a
non-compliance rating for this requirement on the 2nd Annual Report. This was due to the fact
that the 2nd Annual Report is just that, an annual report. The Department was found non-
compliant with this requirement on the midyear report of November 2017. Although
improvement was noted in Dr. Kapoor’s May 2018 report, the Department was not in
compliance for the entire year of May 2017-May 2018.


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        (XXV)(c): Specific requirement: For any offender who is in RTU or inpatient treatment
for serious mental illness, the disciplinary process will be carried out within a mental health
treatment context and in accordance with this Section. Discipline may include loss of privileges or
confinement to cell on the treatment unit for a specified period but may not entail ejecting an
offender from the treatment program.

        Findings: The Quarterly Report of October 2018 correctly questions why the Department
received a rating of non-compliance for this requirement on the 2nd Annual Report when the report
states “IDOC is currently meeting these requirements.” The rating was accurate but the report did
not explain the reasons behind this rating. As Monitor, I take full responsibility for this omission.
The rating was based on the credible reports I received regarding violations of this requirement at
Pontiac.

          During the current reporting period the Department is meeting this requirement.

                       (XXV)(d): Specific requirement: No later than six (6) months after the
approval of this Settlement Agreement, IDOC, in consultation with the Monitor and the IDOC’s
designated expert, shall develop and implement a pilot Behavior Treatment Program (“BTP”) at
Pontiac CC for SMI offenders currently subject to sanction for a serious disciplinary infraction.
IDOC will review this pilot and consider implementation at other facilities.

        Findings: This mythical Behavior Treatment Program remains a source of intrigue for the
Monitoring Team. As noted in the 2nd Annual Report, “Over the duration of the Settlement
Agreement, the Monitor has been presented with several plans regarding this Behavioral Treatment
Program. To date, this program has not been implemented in any IDOC facility.”58 During her tour
of the Joliet Treatment Center on October 22, 2018, Dr. Kapoor reported the existence of a
“Behavioral Management Unit” that had been operating for three weeks. There is no mention of
this Joliet Behavioral Management Unit in the Quarterly Report of October 2018. As Monitor, I
am unaware if this program is meant to fulfill the requirements of this subsection.

        The Quarterly Report of October 2018 devotes a large paragraph on page 30 that discusses
a “pilot Behavior Treatment Program at Pontiac Correctional Center.” The Quarterly Report makes
it sound as if this program will be located in the same space as the putative Pontiac RTU. As
Monitor, I have personally inspected these spaces numerous times during the reporting period and
am able to definitely state that these spaces are nowhere near completion. Regardless of what’s
really happening with this Behavioral Treatment Unit, it was not operating at Pontiac during the
reporting period.




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     2nd Annual Report, page 113.


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XXVI: CONTINUOUS QUALITY IMPROVEMENT PROGRAM (CQI)

         Summary: The Department is meeting all of the requirements of this section.
         The CQI program in its present form still requires improvement. The CQI
         program requires ongoing maintenance to ensure that it helps to facilitate the
         Department meetings all of the clinical requirements of the Amended
         Settlement Agreement.


        (XXVI)(a): Specific requirement: IDOC shall fully implement the requirements of IDOC
Administrative Directive 04.03.125 (Quality Improvement Program), together with the program
described in the section entitled “Mental Health Quality Assurance/Continuous Quality
Improvement Program” in the IDOC Mental Health Protocol Manual (incorporated by reference
into IDOC AD 04.04.101 (Eff. 8/1/2014), section II (E)(2)) and the process described in the section
entitled “Peer Review Process” in the IDOC Mental Health Protocol Manual. As part of this
implementation, there will be particular focus on ensuring that any deficiencies identified by the
required information-gathering and committee review become the basis of further actions to
improve the quality of mental health services at each facility throughout IDOC.

        Findings: As reported in the Quarterly Report of October 2018, the CQI Manager, Dr.
Sim, has been in this position since January 2018. He has developed a audit instrument with a
corrective actions component which meets the requirements of this subsection. This coupled with
successfully meeting the requirements of section XXVI(b), below, the Department is in
compliance with section XXVI.

         It is important to note, however, that despite a rating of compliance, the results of a
particular CQI audit cannot necessarily be used as evidence of compliance with any of the sections
of the Amended Settlement Agreement. That is, as explained in the Quarterly Report of October
2018, the audits are conducted on 20 randomly selected charts at least 15 of which are SMI
patients. A particular requirement, such as section XV(a)(iv) “An MHP shall review any mentally
ill offender no later than forty-eight (48) hours after initial placement in Administrative Detention
or Disciplinary Segregation. Such reviews shall be documented” may only be pertinent in a few of
the audited charts, if any. For example, if one of the audited charts meets this requirement than it
is reported as being in 100% compliance. A more accurate manner to report this finding would be
to say that the requirement was met in the one chart where it was an issue.


        XXVI(b): Specific requirement: The statewide CQI Manager (Section XI(b), above)
shall have the responsibility of ensuring that the steps identified in subsection (a), above, are
taken.

         Findings: The Department was found to be non-complaint with this requirement on the 2nd
Annual Report. This rating was due to Dr. Sim’s lack of authority to implement AD 04.04.104 and
fill the designated mental health authority positions. The Department will continue to receive a
rating of non-compliance for this requirement until such time as AD 04.04.104 is fully
implemented.



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XXVII: MONITORING

Only three specific requirements of this section will be discussed in detail.

       XXVII(d): Specific requirement: Should IDOC, during the life of this Settlement
Agreement, deny any request of the Monitor relating either to the budget or staff he believes are
required for the monitoring, IDOC shall notify the Monitor and Plaintiffs’ counsel of the denial.

       Findings: The Monitor submitted a request for an increase in the hourly compensation for
the members of the monitoring team in June 2017. No formal response has been received by the
time of submission of the 2nd annual report. The Monitor once again is requesting that the
Department seriously review the pay rates for all of the members of the Monitoring Team.

        XXVII(f)(iv): Specific requirement: The Monitor may make recommendations for
modifications or improvements to IDOC operations, policies and procedures related to the
provision of adequate mental health care to class members. Such recommendations should be
justified with supporting data. IDOC shall accept such recommendations, propose an alternative,
or reject the recommendation.

       Findings: The Monitor once again is requesting that the Department develop an evidence-
based protocol for the use of Telepsychiatric services.

        XXVII(f)(v): Specific requirement: The Monitor shall strive to minimize interference
with the mission of IDOC, or any other state agency involved, while at the same time having timely
and complete access to all relevant files, reports, memoranda, or other documents within the
control of IDOC or subject to access by IDOC; having unobstructed access during announced on-
site tours and inspections to the institutions encompassed by this Settlement Agreement; having
direct access to staff and to offenders; and having the authority to request private conversations
with any party hereto and their counsel.

       Findings: The Department has been meeting this requirement.



XXVIII: REPORTING AND RECORDKEEPING

     Summary: The Department has been submitting quarterly reports for the
     duration of the Settlement Agreement implementation. The quarterly reports of
     October 2018 is more objective and of overall better quality from the previous
     reports.

        Specific requirement: Beginning with the first full calendar quarter after the approval of
the Settlement Agreement, IDOC shall submit to Plaintiffs’ counsel and the Monitor, within thirty
(30) days after the end of each calendar quarter during the life of this Settlement Agreement, a
quarterly progress report (“quarterly report”) covering each subject of the Settlement Agreement.
This quarterly report shall contain the following: a progress report on the implementation of the
requirements of the Settlement Agreement, including hiring progress as indicated in Section IX


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(d), supra; a description of any problems anticipated with respect to meeting the requirements of
the Settlement Agreement; and any additional matters IDOC believes should be brought to the
attention of the Monitor.

       Findings: The Department has been submitting quarterly reports to Plaintiffs’ counsel and
the Monitor for the duration of the Settlement Agreement. These reports generally contained the
information required by this subsection of the Settlement Agreement. Prior to the submission of
the quarterly report of October 2018, the reports were not necessarily objective in their descriptions
of the progress that IDOC is allegedly making towards implementing the requirements of the
Settlement Agreement. I am happy to say that the quality of the October 2018 quarterly report is
improved from that of its predecessors. The Monitoring Team looks forward to receiving this type
of high quality report moving forward.

CONCLUSION

        The Department continues to struggle to meet the requirements of the Amended Settlement
Agreement. The Department has many problems with its provision of mental health care. They
include, but are not limited to, clinging to outdated notions about the use of segregated housing
with mentally ill offenders, many serious instances of custody staff interfering with the provision
of mental health care and the fact that the treatment needs of the mentally ill population exceed
that which the Department is safely capable of providing. The data from the first 30 months of
monitoring clearly substantiates that the staffing levels of the Approved Remedial Plan of May
2016 are grossly inadequate to meet the requirements of the Settlement Agreement. Until the
staffing issue is adequately addressed, the Department will continue to flounder in its efforts to
meet the requirements of the Amended Settlement Agreement.



Respectfully submitted,

Pablo Stewart, M.D.59                  Dated: November 30, 2018

Pablo Stewart, MD




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     Indicates electronic signature

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